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 5

 6     Attorneys for Plaintiffs
       WILLIAMS & COCHRANE, LLP, et al.
 7

 8                        IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
        WILLIAMS & COCHRANE, LLP; and                 Case No.: 17-CV-01436 GPC MDD
11
        FRANCISCO AGUILAR, MILO                       FIRST AMENDED COMPLAINT
12      BARLEY, GLORIA COSTA,
        GEORGE DECORSE, SALLY                          CLASS ACTION COMPONENT
13
        DECORSE, et al., on behalf of themselves         JURY TRIAL DEMANDED
14      and all those similarly situated;
15
                                                       [ACTION FILED JULY 17, 2017]
            (All 28 Individuals Listed in ¶ 13)
16
                        Plaintiffs,
17
                            vs.
18

19      QUECHAN TRIBE OF THE FORT
        YUMA INDIAN RESERVATION, a
20      federally-recognized Indian tribe;
21      ROBERT ROSETTE; ROSETTE &
        ASSOCIATES, PC; ROSETTE, LLP;
22      RICHARD ARMSTRONG; KEENY
23      ESCALANTI, SR.; MARK WILLIAM
        WHITE II, a/k/a/ WILLIE WHITE; and
24      DOES 1 THROUGH 100;
25
                          Defendants.
26

27

28
                                                       Case No.: 17-CV-01436 GPC MDD
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 1                                        INTRODUCTION
 2           1. This case concerns the tortious interference of a contract by an individual who
 3     has now done or attempted to do the same with three different clients of the plaintiff over
 4     the span of the past seven years. Last year, the firm of Williams & Cochrane concluded a
 5     gaming compact-based lawsuit in this district against the State of California on behalf of
 6     the Pauma Band of Mission Indians that led to the payment of a $36.3 million judgment
 7     in September 2016. See Pauma Band of Luiseno Mission Indians v. California, No. 09-
 8     01955 (S.D. Cal. 2016) (“Pauma”). A case involving so much money naturally draws a
 9     lot of undesired attention, and, in an unusual turn of events, an attorney by the name of
10     Robert Rosette tried to settle the case with the State of California even though he did not
11     represent the plaintiff tribe in the suit and even admitted as much in his covert communi-
12     cations with the Office of the Governor.1 Lacking these e-mails, the presiding judge in
13     the prior case – Judge Cathy Ann Bencivengo – naturally took issue with the actions of
14     Robert Rosette, but, ultimately refrained from doing anything about his questionable con-
15     duct since he was not formally involved in the proceeding.
16           2. At the time various media outlets around Southern California were reporting on
17     the State paying this once-in-a-generation judgment to Pauma, another tribe situated in
18     this district known as the Quechan Tribe of the Fort Yuma Indian Reservation reached
19     out to Williams & Cochrane and asked if the firm could solve a similar but more compli-
20     cated dispute that the tribe had with the State of California concerning approximately $40
21     million in overpayments under an allegedly void compact.2 After an in-person meeting,
22
             1
23
                A true and correct copy of a series of July 2011 e-mails between Robert Rosette
       and the State of California’s then-compact negotiator Jacob Appelsmith is attached hereto
24     as Exhibit 1.
              2
25
                Williams & Cochrane has carefully reviewed the ethical rules related to
       disclosing confidential information in a dispute with a former client, and the consensus
26     seems to be that an attorney can disclose what he or she “reasonably believes necessary…
27
       to establish a claim or defense on behalf of the lawyer in a controversy between the
       lawyer and the client.” Model Rules of Prof’l Conduct R. 1.6(b)(5) (2016); accord
28     Restatement (Third) of the Law Governing Lawyers § 65 (2000); The Bar Association of
                                                 1           Case No.: 17-CV-01436 GPC MDD
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 1     numerous phone calls, and weeks of discussion and negotiation, Williams & Cochrane
 2     and Quechan ultimately executed an Attorney-Client Fee Agreement that incorporated a
 3     discounted 15% contingency fee in the event the firm was able to find an expedient way
 4     to recover the $40 million in overpayments (or the value thereof) through either negotia-
 5     tion or litigation.3 Along with signing the contract, the Quechan Tribal Council also
 6     executed a tribal resolution indicating that it had voted “5 for,” “0 against” on the issue of
 7     whether to accept the terms of the Attorney-Client Fee Agreement.4
 8           3. With that, Williams & Cochrane got down to work and over the course of the
 9     next nine months, from October 2016 to June 2017, was able to convince the Office of
10     the Governor to provide Quechan with a replacement compact that would eliminate over
11     $120 million in revenue sharing fees during the next 28 years and provide the tribe with
12     the ability to generate another $660 million in additional revenue as a result of new gam-
13     ing rights.
14

15                                       . And yet, on June 27, 2017, just three days before the
16     parties were supposed to execute the compact and the 15% contingency fee would
17     definitively attach without the aid of the premature termination section of the Attorney-
18     Client Fee Agreement, the putative President of Quechan Keeny Escalanti transmitted a
19
       San Francisco Formal Op. 2014-01 (2014) (citing Cal. Evid. Code § 958). Thus, along
20     with citing to information that is in the public realm and obtained outside of the attorney-
       client relationship, Williams & Cochrane will include evidence-based allegations herein
21
       pertaining to the terms of the contract, the tribe’s entitlement to a reduction in revenue
22     sharing from the State, the value of the services rendered, the results obtained, and the
23
       time and labor required to achieve those results since this information may bear on the
       damages resulting from Quechan’s decision to repudiate the Attorney-Client Fee
24     Agreement. After all, the putative President for Quechan Keeny Escalanti, Sr. has already
25
       indicated that Williams & Cochrane should take nothing under the Attorney-Client Fee
       Agreement after evaluating such considerations. See ¶¶ 3 & 112-16; Ex. 4.
              3
26              A true and correct copy of the September 29, 2016 “Attorney-Client Fee
27
       Agreement” between Williams & Cochrane and Quechan is attached hereto as Exhibit 2.
              4
                A true and correct copy of the September 29, 2016 Quechan Resolution No. “R-
28     195-16” is attached hereto as Exhibit 3.
                                                  2            Case No.: 17-CV-01436 GPC MDD
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 1     letter to Williams & Cochrane, via an e-mail on which no other Tribal Councilmembers
 2     were carbon copied, indicating that the tribe was terminating the firm effective immedi-
 3     ately and would not pay either the contingency fee or a reasonable fee in lieu thereof
 4     based upon the value of the services the tribe had received.5 In an apparent effort to
 5     convince Williams & Cochrane to simply walk away from the contract, putative Quechan
 6     President Keeny Escalanti included an extortive threat at the end of the letter that stated,
 7     “[w]e strongly advise you against pressing your luck any further out of concern for the
 8     reputation of your firm in Indian Country and in the State of California” – language that
 9     is reminiscent of what putative Quechan President Keeny Escalanti included in a separate
10     “Demand for Cease and Desist” three days later.6 After conveying the original threat,
11     putative Quechan President Keeny Escalanti then ended the June 27th letter by explaining
12     that Williams & Cochrane could not tell anyone else in the tribe about the message they
13     had just received (i.e., other Tribal Councilmembers, the General Manager of the casino,
14     tribal members, etc.), and simply instructed the firm to turn over all their work product to
15     one Robert Rosette – including the latest draft of the compact that Quechan and the State
16     of California were days away from executing.
17           4. The bizarreness of the situation was not lost on the attorney general representing
18     the State of California in the compact negotiations, who called one of the partners of
19     Williams & Cochrane named Cheryl Williams after receiving a similar letter three days
20     before the conclusion of the negotiations and exclaimed “This has never happened before
21     [in my twenty-plus years of representing the Office of the Governor in tribal compact
22     matters] and we don’t know what to do.” Unfortunately, Williams & Cochrane did know
23     what to do – and that was to turn over its incalculably valuable work product and simply
24     step away from the situation. While it does not know the full extent of the fraud in this
25
             5
26            A true and correct copy of a June 26, 2017 letter from putative Quechan President
27
       Keeny Escalanti to Williams & Cochrane is attached hereto as Exhibit 4.
            6
              A true and correct copy of a June 30, 2017 letter from putative Quechan President
28     Keeny Escalanti to Williams & Cochrane is attached hereto as Exhibit 5.
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 1     matter, what Williams & Cochrane does know is that Robert Rosette actually advertises
 2     on his website that he was responsible for litigating the Pauma case that resulted in the
 3     $36.3 judgment, and he presumably solicited Quechan with similar misrepresentations
 4     about his role in the case and then told the tribe to fire Williams & Cochrane once a
 5     compact in principle had been reached so he could swoop in and take credit for the
 6     outcome.7 8 This is the only logical telling of the basics of a story that involves a person
 7     who either has or has tried to interfere with significant contracts between Williams &
 8     Cochrane and third parties on at least four separate occasions this decade. Unfortunately,
 9     the only forum for resolving this issue is in federal court because Robert Rosette has a
10     long and well-documented history of coming in to tribes through dubious means – like by
11     representing singular persons or “factions” and then claiming he represents the tribe as a
12     whole – and then doing whatever it takes to assume control and advance his agenda, even
13     if it means the divided tribal members turn against each other and resort to mass armed
14     violence. See Section II(A), infra.
15           5. Thus, in order to rectify a situation with no extra-judicial remedy, Williams &
16     Cochrane has filed the instant complaint alleging various contract-related claims against
17     Quechan in order to obtain the remaining $6,209,916.10 due on the Attorney-Client Fee
18     Agreement that both the tribal government and membership led the firm to believe they
19     would honor. In addition, this complaint also advances a number of claims under the
20     Lanham Act, 15 U.S.C. § 1051 et seq., and the Racketeer Influenced and Corrupt Organ-
21     izations Act, 18 U.S.C. § 1961 et seq. to obtain treble damages or a punitive analog of the
22     aforementioned amount from the duplicitous individuals associated with Rosette, LLP
23     who tortuously and fraudulently interfered with Williams & Cochrane’s contract rights.
24           6. On the compact front, it is worth bringing to the Court’s attention the fact that
25           7
               A true and correct copy of a June 28, 2017 screen capture of the website
26     biography for Robert Rosette is attached hereto as Exhibit 6.
             8
27
               A true and correct copy of an August 25, 2014 screen capture of the website
       biography for Robert Rosette from the Internet Archive (see https://archive.org/web/) is
28     attached hereto as Exhibit 7.
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 1     Quechan has now received the full benefit of the bargain it struck under the Attorney-
 2     Client Fee Agreement. As to that, on September 5, 2017, Robert Rosette issued a press
 3     release that he contemporaneously uploaded to his website announcing that “Governor
 4     Edmund G. Brown and the Fort Yuma Quechan Indian Tribe… have signed a new
 5     Tribal-State Gaming Compact” that will “reduce the Tribe’s revenue sharing obligations
 6     by approximately four million ($4,000,000) per year, and simultaneously increase the
 7     Tribe’s ability to generate revenues through its gaming operations.” The following day,
 8     the Office of the Governor posted the compact executed by Quechan and the State of
 9     California on its own website, with the terms therein revealing that the agreement in all
10     positive material respects is the one Williams & Cochrane had negotiated for Quechan –
11     from eliminating all non-regulatory revenue sharing fees on Quechan’s preexisting allot-
12     ment of 1,100 machines, to allowing for the operation of 500 additional machines, to in-
13     creasing the number of gaming facilities the tribe can run from one to three. Even lan-
14     guage as insignificant as the Recitals at the outset of the compact is virtually indistin-
15     guishable from what Williams & Cochrane authored and included in its final draft com-
16     pact that it sent to the State of California. Thus, the best Robert Rosette did during his
17     two-month involvement in this situation was to try and “hold the line” and oversee the
18     execution of the compact negotiated by Williams & Cochrane. Lest there be any doubt
19     about the value of the concessions that Williams & Cochrane negotiated on Quechan’s
20     behalf, both the press release (as indicated above) and the compact memorialize that the
21     reduction in revenue sharing obtained by Williams & Cochrane will save the tribe around
22     $4,000,000 per year for the entire course of the twenty-eight year agreement, with the
23     latter document stating in material part:
24           This Compact reduces the Tribe’s revenue sharing obligations by approxi-
             mately four million dollars ($4,000,000) per year, and simultaneously
25
             increases the Tribe’s ability to generate revenues through its Gaming
26           Operation by providing the right to operate additional Gaming Facilities and
             Gaming Devices.
27
       Thus, with the benefits of the Attorney-Client Fee Agreement in hand, the only thing left
28
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 1     for Quechan to do is to pay the remaining $6,209,916.10 that is due under its contract
 2     with Williams & Cochrane. The damages owed by Robert Rosette and the others who
 3     schemed to interfere with the Attorney-Client Fee Agreement are a whole different mat-
 4     ter, however. To show the entitlement to these damages, the first two acts of the narrative
 5     that follows first focuses on Williams & Cochrane’s contractual relationship with Que-
 6     chan before shifting gears to detail Robert Rosette’s seven-year quest to put Williams &
 7     Cochrane out of business – a pursuit that ultimately concludes with him emerging at Que-
 8     chan and inducing a total repudiation of a contract just days before Williams & Cochrane
 9     was set to settle an immense and highly-delicate dispute between the tribe and the State
10     of California. These final allegations and those in the two acts of the narrative thereafter
11     go to show the harms suffered by the general membership of Quechan (“General Coun-
12     cil”), as Robert Rosette negligently interfered in the California compact negotiations and
13     then defiantly sought to retain his position in the tribe afterwards for untold and seeming-
14     ly untoward reason. After all, the contract interference that is at the heart of this suit ap-
15     pears to have less to do with insatiable spite than it does with something much more ba-
16     sic.
17            7. Speaking of which, vindictiveness is a powerful emotion, but perhaps not strong
18     enough to compel an individual to take over an unfamiliar, high-stakes representation at
19     the last moment for supposedly $10,000 a month when the interference will likely require
20     him to spend one-hundred times as much retaining a powerhouse law firm like O’Mel-
21     veny & Myers to try and justify his conduct before a state or federal court. The com-
22     pulsive force in this case, though, has less to do with vindictiveness than it does with lust
23     for power and avarice. In reality, the tortious interference with the Attorney-Client Fee
24     Agreement is just one piece of a much larger picture, and one that can be seen at tribe
25     after tribe at this point. What Robert Rosette has a documented history of doing is finding
26     some covert side door into a tribe so he can implement a get-rich-quick scheme, the most
27     recent incarnation of which is the online payday lending business that he sells to tribes. A
28     common playbook exists for carrying out this particular scheme, with Robert Rosette first
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 1     offering to have his twenty-plus-attorney firm take on some substantial form of work for
 2     a remarkably insubstantial rate, then displacing all legal oversight, and then setting up an
 3     illicit enterprise for which 97% of the money goes to shadow entities – like himself and
 4     his select Tribal Council allies – while the general membership of the tribe remains bliss-
 5     fully ignorant of what is taking place behind the scenes, at least initially. This pattern of
 6     subversiveness is plainly evident in the course of events at Quechan, as Robert Rosette
 7     somehow convinced his Tribal Council allies to disregard the directive of the General
 8     Council and fire Williams & Cochrane at the last moment, then found a way to displace
 9     the tribe’s long-standing general counsel, and then protected his Tribal Council allies
10     from recall when the Quechan general membership voted them out of office shortly after
11     the service of the complaint in this case. All the while, Robert Rosette has ensured that all
12     of the basic legal documents pertaining to his representation of Quechan remained hidden
13     until the filing of the initial responsive motions in this case so the General Council could
14     not invalidate his contract and oust him from the tribe. As has been the case with count-
15     less other tribes where Robert Rosette has put the interests of the few above the whole,
16     internal strife is now boiling over, with the harms befalling Quechan being both final and
17     concrete (i.e., the damages caused by interfering with the California compact work) and
18     continuing and mounting, as communal governmental processes have broken down in the
19     individual pursuit for obtaining discreet payday loan profits. This course of events shows
20     why the interference with the Attorney Client Fee Agreement was just a single harm of a
21     much larger fraudulent scheme, and also why a number of Quechan General Council-
22     members have sought to advance professional malpractice claims against Robert Rosette,
23     on behalf of themselves and their absent tribal members, for mishandling the conclusion
24     of the California compact negotiations and costing the tribe many millions of dollars in
25     the process.
26                                          JURISDICTION
27           8. The district court has jurisdiction over this matter pursuant to the Racketeer
28     Influenced and Corrupt Organizations Act, 18 U.S.C. § 1961 et seq. (“RICO”); the Lan-
                                             7           Case No.: 17-CV-01436 GPC MDD
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 1     ham Act, 15 U.S.C. § 1051 et seq.; the Indian Gaming Regulatory Act, 25 U.S.C. § 2701
 2     et seq. (“IGRA”) (see, e.g., Cabazon Band of Mission Indians v. Wilson, 124 F.3d 1050,
 3     1056 (9th Cir. 1997)); 28 U.S.C. § 1331 (“Federal Question Jurisdiction”); and 28 U.S.C.
 4     § 1367 (“Supplemental Jurisdiction”).
 5           9. Venue is proper in this district under Section 1965(a) of RICO since Robert
 6     Rosette represents a number of tribes in and around San Diego County and Imperial
 7     County – presumably including Quechan – and thus “transacts his affairs” in the district
 8     for purposes of the statute. See 18 U.S.C. § 1965(a) (explaining a RICO action may be
 9     instituted against a person in any district in which “such person resides, is found, has an
10     agent, or transacts his affairs”); see also Yavapai-Apache Nation v. La Posta Band of
11     Diegueno Mission Indians, 2017 Cal. App. Unpub. LEXIS 4430 (4th Dist. June 28, 2017)
12     (indicating Rosette represents the Southern District-based La Posta tribe in a more than
13     four-year-old breach of contract action in which the San Diego Superior Court entered a
14     final judgment against La Posta in the amount of $48,893,407.97); Yavapai-Apache
15     Nation v. Iipay Nation of Santa Ysabel, 201 Cal. App. 4th 190 (4th Dist. 2011) (indicating
16     Rosette has defended the Southern District-based Santa Ysabel tribe in a nearly identical
17     breach of contract action involving $30+ million in damages). Furthermore, jurisdiction
18     is also proper under the general venue statute since a substantial part of the events giving
19     rise to this suit occurred in this district – including the execution of the Attorney-Client
20     Fee Agreement, the termination of said agreement, and a multitude of acts comprising the
21     long-running series of wire and mail fraud in this case. See 28 U.S.C. § 1391(b)(2)
22     (explaining “[a] civil action may be brought in… a jurisdiction district in which a
23     substantial part of the events or omissions giving rise to the claim occurred…”). It is also
24     worth noting for venue purposes that this district is uniquely situated to hear this case
25     since three of its judges dealt with the issues discussed herein while presiding over the
26     prior action entitled Pauma Band of Luiseno Mission Indians of Pauma & Yuima Reser-
27     vation v. California, No. 09-01955 CAB MDD (S.D. Cal. 2016).
28           10. Quechan has waived its sovereign immunity to suit in federal court pursuant to
                                              8          Case No.: 17-CV-01436 GPC MDD
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 1   Section 13 of the Attorney-Client Fee Agreement between Quechan and Williams &
 2   Cochrane. See Ex. 2, § 13. This waiver would also extend to the two putative Quechan
 3   Tribal Councilmembers who are named defendants in this case if they ultimately acted in
 4   their official capacities rather than the ultra vires manner that is alleged.
 5         11. This action presents an actual and live controversy as to whether Quechan
 6   repudiated the Attorney-Client Fee Agreement at the direction of and with the assistance
 7   of Robert Rosette, an attorney that has used the mail and wires to perpetuate an ongoing
 8   series of fraud against Williams & Cochrane for the past seven years in large part to per-
 9   sonally enrich himself at the expense of Williams & Cochrane’s tribal clients. This action
10   also presents an actual and live controversy as to whether Robert Rosette mishandled the
11   conclusion of the California compact negotiations to the considerable detriment of the
12   general membership of Quechan. The district court has the power to remedy the dispute
13   in accordance with the Prayer for Relief, infra.
14                                             PARTIES
15         12. Williams & Cochrane, LLP is a partnership registered in the State of California
16   to provide legal services, with offices in both San Diego and Temecula, California.
17         13. Francisco Aguilar, Milo Barley, Gloria Costa, George DeCorse, Sally DeCorse,
18   Charles Denard, Gailla Golding, Jessica Golding, Tracey Hartt, Michael Jack, James
19   Jackovich, Tashena Johns, Leon Machada, Kenneth Meeden, Melissa Mills, Cecil Palone,
20   Dwayne Porter, Lamuel Porter, Louis Rosevelt, Priscilla San Miguel, Daniel Sestiaga,
21   James Slaughter, Kyle Slaughter, Kara Slaughter, Franklin Smith, Pascha Stoit, Ray
22   Valenzuela, and Frank White are individuals and enrolled members of the Quechan Tribe
23   of the Fort Yuma Indian Reservation.
24         14. The Quechan Tribe of the Fort Yuma Indian Reservation is a federally-
25   recognized Indian tribe identified in the January 17, 2017 Federal Register as the
26   “Quechan Tribe of the Fort Yuma Indian Reservation, California & Arizona.” See 82
27   Fed. Reg. 4918 (Jan. 17, 2017), available at https://www.gpo.gov/fdsys/pkg/FR-2017-01-
28   17/pdf/2017-00912.pdf (last visited June 30, 2017). According to its website, the address
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 1   for Quechan’s tribal administration building that houses “the offices of the President,
 2   Vice-President, and the Tribal Council Members” is 350 Picacho Road, Winterhaven,
 3   California 92283. See Fort Yuma Quechan Indian Tribe, Departments – Administration,
 4   available at https://www.quechantribe.com/departments-administration.html (last visited
 5   July 2, 2017).
 6         15. Robert Rosette is an individual and attorney licensed to practice law in the
 7   States of Arizona and California and a number of federal courts, including the United
 8   States District Court for the Southern District of California. Rosette has a California Bar
 9   number of 224437. See The State Bar of California, Attorney Search Results for Robert
10   A. Rosette, available at http://members.calbar.ca.gov/fal/Member/Detail/224437 (last
11   visited July 1, 2017). Rosette is the President and Director of Rosette & Associates, PC,
12   which is in turn a general partner of a parent entity named Rosette, LLP, and is identified
13   as working out of the firm’s principal office at 565 West Chandler Boulevard, Suite 212,
14   Chandler, Arizona 85225. See Rosette, LLP, Biography of Robert A. Rosette, available at
15   https://www.rosettelaw.com/professionals/robert-rosette/ (last visited July 10, 2017).
16         16. Rosette & Associates, PC is a corporation organized in the State of Arizona to
17   provide legal services. See Arizona Corporation Commission, File Detail for Rosette &
18   Associates P.C., available at http://ecorp.azcc.gov/Details/Corp?corpId=11084750 (last
19   visited June 30, 2017). Its principal office is at 565 West Chandler Boulevard, Suite 212,
20   Chandler, Arizona 85225.
21         17. Rosette LLP is also an entity registered in the State of Arizona to provide legal
22   services. See Arizona Secretary of State, Result Detail for Rosette, LLP, available at
23   https://apps.azsos.gov/apps/tntp/r/2LP/4003535 (last visited June 30, 2017). It has five
24   offices – one apiece in California, Arizona, Oklahoma, Michigan, and Washington, D.C.
25   – and employs at least twenty attorneys. See, e.g., Rosette, LLP, Professionals, available
26   at https://www.rosettelaw.com/professionals/ (last visited Mar. 2, 2018). Like Rosette &
27   Associates, PC, the principal office for Rosette, LLP is at 565 West Chandler Boulevard,
28   Suite 212, Chandler, Arizona 85225.
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 1         18. Richard Armstrong is an individual and attorney licensed to practice law in the
 2   States of Arizona and California and a number of federal courts, including the United
 3   States District Court for the Southern District of California. Armstrong has a California
 4   Bar number of 225191. See The State Bar of California, Attorney Search Results for
 5   Richard J. Armstrong, available at http://members.calbar.ca.gov/fal/Member/Detail/
 6   225191 (last visited July 1, 2017). Armstrong is a senior of counsel with Rosette, LLP
 7   who has been with the firm since before 2009 and presently oversees the firm’s Sacra-
 8   mento office at 193 Blue Ravine Road, Suite 255, Folsom, California 95630. See Rosette,
 9   LLP, Biography of Richard J. Armstrong, available at https://www.rosettelaw.com/
10   professionals/ (last visited July 10, 2017).
11         19. Keeny Escalanti, Sr., is an individual and the putative Tribal Chairman of
12   Quechan.
13         20. Mark William White II, a/k/a Willie White, is an individual and a putative
14   Tribal Councilmember of Quechan. White is also a self-styled entrepreneur with apparent
15   connections to the marijuana industry, which he is either actively involved in or attempt-
16   ed to get into through a corporate entity entitled Sovereign Hempire. See Arizona Corp-
17   oration Commission, File Detail for Sovereign Hempire LLC, available at http://ecorp.
18   azcc.gov/Details/Corp?corpid=N21086999 (last visited July 10, 2017).
19         21. Does 1 through 100 are other individuals or entities associated with Robert Ro-
20   sette (and his law firm) or Quechan who partook in the fraudulent conduct in this case,
21   including precipitating the breach of the Attorney-Client Fee Agreement and conspiring
22   to set up a sham online payday lending entity at Quechan that, on information and belief,
23   is intended for the personal enrichment of a select few individuals. The “Doe” designa-
24   tions represent fictitious names, with Williams & Cochrane ignorant of the true names on
25   account of the material evidence revealing the identities of the implicated parties being in
26   the exclusive possession of those parties or the presently-named defendants in this action.
27   ///
28   ///
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 1                                  GENERAL ALLEGATIONS
 2   I.    THE CONTRACT BETWEEN QUECHAN AND WILLIAMS & COCHRANE
 3         A. Background on Indian Gaming
 4         22. Indian gaming in the State of California began to take off during the 1980s
 5   when a number of tribes with reservations near urban centers started operating bingo
 6   facilities and card rooms on their reservations. See, e.g., California v. Cabazon Band of
 7   Mission Indians, 480 U.S. 202, 205 (1986) (“Cabazon”).
 8         23. The State of California soon became disgruntled with the emergence of these
 9   tribal bingo operations and began to demand that the operating tribes comply with State
10   laws, which at the time had special rules related to the type of entities that could offer
11   such gaming, the handling of gaming revenues, and the amount of prizes that could be
12   awarded to the participants. See Cabazon, 480 U.S. at 205.
13         24. However, the Supreme Court of the United States held that the State of Califor-
14   nia could not use its “criminal jurisdiction over offenses committed by or against Indians
15   within all Indian Country within the State” that it obtained pursuant to Public Law 280,
16   18 U.S.C. § 1162, to civilly regulate tribal activities that were not outright proscribed as a
17   matter of State law. See Cabazon 480 U.S. at 212. According to the Supreme Court, the
18   State of California did “not prohibit all forms of gambling… and daily encourages its citi-
19   zens to participate in this state-run gambling.” Id. at 210. Since “California regulates rath-
20   er than prohibits gambling in general and bingo in particular,” the Supreme Court held
21   that the State of California could not enforce its regulatory bingo law at Penal Code §
22   326.5 against the two tribal parties in the case. Id. at 212.
23         25. The decision by the Supreme Court in Cabazon led Congress to pass IGRA the
24   following year to define the rules that would apply for any federally-recognized Indian
25   tribe interested in engaging in gaming.
26         26. IGRA divides the potential forms of gaming into three separate categories that
27   require differing amounts of regulation depending on the type (and potential profitability)
28   of the game at issue. Class I encompasses “social games solely for prizes of minimal
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 1   value or traditional forms of Indian gaming” (see 25 U.S.C. § 2703(6)), and falls under
 2   the “exclusive jurisdiction of the Indian tribes.” 25 U.S.C. § 2710(a)(1). Class II includes
 3   bingo and non-banked card games (see 25 U.S.C. § 2703(7)(A)), and is subject to both
 4   tribal regulation and federal regulation in accordance with the provisions of IGRA. 25
 5   U.S.C. § 2710(a)(2). And Class III is a catch-all category that includes “all forms of
 6   gaming that are not class I gaming or class II gaming” (see 25 U.S.C. § 2703(8)), such as
 7   banked card games and slot machines, and comes under a tripartite regulatory scheme
 8   that requires involvement from the tribe, the state, and the federal government. See, e.g.,
 9   25 U.S.C. § 2710(d).
10         27. Since a state typically does not have a role in the regulation of tribal activities
11   that occur on reservation lands, IGRA creates a role for the states by devising a compact-
12   ing mechanism that allows a state to negotiate for certain types of regulations that it
13   would like to apply to the gaming facility at issue. See, e.g., 25 U.S.C. § 2710(d)(3)(C).
14         28. IGRA also includes a requirement that the State negotiate for a compact in
15   good faith. Thus, amongst other requirements, if a tribe requests to commence compact
16   negotiations for a class III game that the state has permitted any other person, organ-
17   ization, or entity to conduct (see 25 U.S.C. § 2710(d)(1)(B)), then the “State shall nego-
18   tiate with the Indian tribe in good faith to enter into such a compact.” 25 U.S.C. §
19   2710(d)(3)(A).
20         29. To breathe life into this good faith requirement, Congress included a provision
21   in IGRA that waives the States’ Eleventh Amendment immunity to suit in federal court
22   for “any cause of action initiated by an Indian tribe arising from the failure of a State to
23   enter into negotiations with the Indian tribe for the purpose of entering into a Tribal-State
24   compact… or to conduct such negotiations in good faith.” 25 U.S.C. § 2710(d)(7)(A)(i).
25         30. A federal district court holding that a state negotiated in bad faith for a class III
26   gaming compact with a tribe would trigger a tripartite remedial scheme whereby a tribe
27   can obtain a compact or a compact-like mechanism through, in succession, renewed
28   negotiations with the state, baseball-style arbitration before a “mediator,” or consultations
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 1   with the Secretary of Interior during which the federal official would proscribe regulatory
 2   “procedures… under which class III gaming may be conducted on the Indian lands over
 3   which the Indian tribe has jurisdiction.” 25 U.S.C. § 2710(d)(7)(B)(iv)-(vii).
 4         31. The Supreme Court soon thereafter frustrated the compacting scheme in IGRA
 5   by holding that Congress did not act pursuant to a “valid exercise of power” in abrogating
 6   the States’ Eleventh Amendment immunity from suits brought by tribes alleging that the
 7   surrounding states had either refused or failed to negotiate in good faith for a class III
 8   gaming compact. See Seminole Tribe of Fla. v. Florida, 517 U.S. 44 (1996).
 9         32. The people of the State of California fixed the statutory hole created by the
10   Supreme Court in Seminole for resident tribes in 1998 with the passage of Proposition 5,
11   a measure containing a model compact that included a waiver of sovereign immunity for
12   actions related to the State’s refusal to execute that particular gaming compact with any
13   interested tribe or to conduct negotiations for any other gaming compact in good faith.
14   See Cal. Gov’t Code § 98005.
15         B. The 1999 Compacts and the ensuing License Pool Dispute
16         33. With the good faith negotiation requirement back in effect for gaming compact
17   negotiations in the State of California, Governor Gray Davis commenced mass negoti-
18   ations the ensuing years with upwards of sixty tribes to devise a model compact for class
19   III gaming rights, including slot machines.
20         34. The resultant agreement (“1999 Compact”) contains a uniform system for
21   determining the number of slot machines that each signatory tribe could operate.9
22         35. For starters, each signatory tribe would start with a baseline entitlement of slot
23   machines equivalent to the greater of the number of machines the tribe operated illegally
24   before the compact went into effect or 350. See Ex. 8 at § 4.3.1.
25         36. From there, each one of the sixty-plus signatory tribes could submit an appli-
26
           9
27
             A true and correct copy of excerpts of the “Tribal-State Compact between the
     State of California and the Quechan Indian Nation” (i.e., one of the many substantively-
28   identical 1999 Compacts) is attached hereto as Exhibit 8.
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 1   cation to obtain machine-specific licenses to increase its device count up to a maximum
 2   of 2,000. See Ex. 8 at § 4.3.2.2(a).
 3         37. The only catch was that the 1999 Compact did not expressly state the total
 4   number of licenses that were available to the signatory tribes, with that figure instead be-
 5   ing the output of the following opaque formula in Section 4.3.2.2(a)(1) of the agreement:
 6         (1). The maximum number of machines that all Compact Tribes in the
           aggregate may license pursuant to this Section shall be a sum equal to 350
 7
           multiplied by the number of Non-Compact tribes as of September 1, 1999,
 8         plus the difference between 350 and the lesser number authorized under
           Section 4.3.1.
 9
     See Ex. 8 at § 4.3.2.2(a)(1).
10
           38. During the summer of 2002, approximately two-and-a-half years into the
11
     performance of the agreements, the California Gambling Control Commission (“CGCC”)
12
     unilaterally determined that the “license pool” formula in Section 4.3.2.2(a)(1) of the
13
     1999 Compacts provided for 32,151 licenses, and applied this number when reviewing
14
     future tribal applications for slot machine licenses. See, e.g., Cachil Dehe Band of Wintun
15
     Indians of Colusa Indian Cmty. v. California, 618 F.3d 1066, 1071 (9th Cir. 2010).
16
           39. Yet, on April 22, 2009, the United States District Court for the Eastern District
17
     of California held that the license pool actually contains upwards of 10,549 more licenses
18
     than the CGCC had determined some seven years prior, and directed the Commission to
19
     make these additional licenses available to the signatory tribes. See Cachil Dehe Band of
20
     Wintun Indians of Colusa Indian Cmty. v. California, 629 F. Supp. 2d 1091 (E.D. Cal.
21
     2009) (“Colusa”).
22
           C. The Pauma Band and its Compact Suit against the State of California
23
           40. The Pauma Band of Mission Indians (“Pauma”) was one of the sixty-plus
24
     original tribal signatories to the 1999 Compact – an agreement they amended in 2004
25
     (“2004 Amendment”) to obtain the ability to operate 2,000 slot machines after the CGCC
26
     had determined they could not obtain the necessary licenses under the 1999 Compact
27
     given its restrictive interpretation of the license pool formula. See Pauma Band of Luise-
28
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 1   no Mission Indians of Pauma & Yuima Reservation v. California, 813 F.3d 1155, 1161-
 2   1162 (9th Cir. 2015) (“Pauma”). The result of the amendment was that Pauma ended up
 3   paying approximately twenty-four times as much revenue sharing each year in order to
 4   operate machines that should have been available under its original compact. Id. at 1162.
 5         41. After learning about the ruling by the Eastern District of California in Colusa,
 6   Pauma filed a complaint in the Southern District of California on September 4, 2009
 7   requesting rescission of the 2004 Amendment and restitution of the heightened fees paid
 8   thereunder on the basis of any one of seven claims: unilateral and mutual mistake of fact,
 9   unilateral and mutual mistake of law, frustration of purpose/failure of consideration, and
10   two types of revenue-sharing-based violations under IGRA. See Pauma, No. 09-01955,
11   Dkt. No. 1, pp. 19-26 (S.D. Cal. Sept. 4, 2009).
12         42. At the time, Pauma was represented in the lawsuit by a law firm named Rosette
13   & Associates. The two attorneys who were exclusively responsible for preparing and
14   filing the complaint in the case were Cheryl A. Williams and Kevin M. Cochrane.
15         43. In fact, Cheryl Williams and Kevin Cochrane performed all the litigation work
16   in the case – from drafting the pleadings/motions to appearing at in-person hearings or
17   telephonic conferences with the district court – from the outset of the proceeding until
18   their eventual departure from the firm the ensuing year. This allegation is verified by
19   Robert Rosette’s October 26, 2010 deposition testimony in the antecedent case of Pauma
20   Band of Luiseno Mission Indians of the Pauma Yuima Reservation, Cal. v. Harrah’s
21   Operating Co., No. GIC847406 (San Diego County Sup. Ct. 2012). After suggesting that
22   he was the lead strategist for the case, Robert Rosette responded as follows when asked
23   about his specific involvement in the compact litigation by the deposing attorney for
24   Harrah’s:
25         Q. Now, in terms of the [compact] litigation, the drafting and filing of the
           complaint and the arguing, did you do all that yourself up to the time you
26
           were removed from the case?
27
           A. No, I – I have employees that work for me that conduct research, draft,
28         make court appearances, so on and so forth.
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 1         Q. All right. So outside of being sort of the lead strategist, did you make any
 2         appearances or become an attorney of record at all?

 3
           A. I was an attorney of record. There was only one appearance that was
           actually showing up, the oral argument for the preliminary injunction. And I
 4         had a conflict that day.
 5         Q. Who argued that case from your firm?
 6         A. Cheryl Williams.
 7         44. Shortly after the filing of its complaint, Pauma moved for a preliminary injunc-
 8   tion to reduce the revenue sharing fees of the 2004 Amendment to the prior rates of the
 9   1999 Compact.
10         45. The initial district judge assigned to the action – Judge Larry Alan Burns –
11   granted Pauma’s motion for preliminary injunction in an order that indicated that “Pauma
12   has made a strong showing of likelihood of success on the merits.” Pauma, No. 09-
13   01955, Dkt. No. 44, p. 2 (S.D. Cal. Apr. 12, 2010). On the basis of this “strong” showing
14   and a “satisfactory” showing on the other three factors under Winter v. NRDC, 555 U.S. 7
15   (2008), Judge Burns ordered that “Pauma shall pay only those payments required under
16   the terms of the original compact between the parties[.]” Id.
17         46. Approximately one month after Judge Burns’ issued his injunction order, on or
18   about May 15, 2010, both Cheryl Williams and Kevin Cochrane departed Rosette & As-
19   sociates, leaving the case in the care of their prior firm.
20         47. As the two attorneys were departing, the State of California filed a notice of ap-
21   peal of the injunction order on May 4, 2010 (see Pauma, No. 09-01955, Dkt. No. 50
22   (S.D. Cal. May 4, 2010)), and then followed this up with a motion to stay the injunction
23   order pending appeal in the United States Court of Appeals for the Ninth Circuit. See
24   Pauma Band of Luiseno Mission Indians of Pauma & Yuima Reservation v. California,
25   No. 10-55713, Dkt. No. 7 (9th Cir. May 21, 2010).
26         48. Though having left the firm, Cheryl Williams nevertheless offered to assist Ro-
27   sette & Associates in preparing the opposition to the State’s motion to stay in the Ninth
28   Circuit so Pauma’s interests would not be harmed. However, this request was quickly re-
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 1   buffed and the replacement attorneys with Rosette & Associates filed Pauma’s opposition
 2   to the State’s motion to stay the injunction pending appeal on June 11, 2010. See Pauma,
 3   No. 10-55713, Dkt. No. 15 (9th Cir. June 11, 2010).
 4         49. On July 28, 2010, the motions panel of the Ninth Circuit granted the State’s
 5   request to stay the injunction in a one paragraph order that simply stated that “Appellants’
 6   motion to stay the district court’s April 12, 2010 order pending appeal is granted,” along
 7   with citing to two cases entitled Hilton v. Braunskill, 481 U.S. 770, 776 (1987); and
 8   California Pharmacists Association v. Maxwell-Jolly, 563 F.3d 847, 849-850 (9th Cir.
 9   2009). See Pauma, 10-55713, Dkt. No. 39 (9th Cir. July 28, 2010).
10         50. Just two days after Rosette & Associates filed its ineffective opposition brief,
11   on or about Sunday June 13, 2010, the Pauma General Council held a meeting and voted
12   to terminate Rosette & Associates from the compact litigation and replace the firm with
13   Cheryl Williams and Kevin Cochrane, who had just previously formed their own law
14   firm named Williams & Cochrane, LLP. This allegation that Rosette & Associates was
15   removed from the case is again verified by Robert Rosette’s October 26, 2010 deposition
16   testimony in the antecedent Pauma v. Harrah’s case. When the deposing attorney for
17   Harrah’s asked him to generally describe the status of the compact litigation as of that
18   date (i.e., just four months after his termination), Robert Rosette explained that he did not
19   know because he was removed from the case in an exchange that went as follows:
20         Q. And then what is the current status of that case?
21         A. I don’t know. I’m not – I was removed.
22         […]
23         Q. And why were you terminated from representing Pauma?
           A. They chose different legal counsel. Specifically, Cheryl Williams had left
24
           my firm and started her own firm and took the case with her.
25
           Q. Is she a solo practitioner now?
26         A. She’s got a law partner, but I don’t – I don’t know how they’re formed or
27         structured or anything. I don’t – I don’t care.
28         Q. And so she left your firm and simultaneously the matter transferred with
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 1         her; is that right?
 2         A. No, I had the matter for probably over a month. I actually filed the initial
 3
           – I took it over myself for a while, just because I was the main attorney. I
           just handled it myself for about 45 days and actually filed the preliminary
 4         answers in federal court, and then I was told shortly thereafter that I was
 5
           being removed.
           Q. And who told you that?
 6
           A. The chair – I was actually at – you know, my father had just passed away.
 7
           I was at his funeral in Montana. That’s why I couldn’t go to the general
 8         council meeting. And the chairman had called me on – I think their general
           council meetings are the first Sunday of every month. He called me on
 9
           Monday, when I was at home at Rocky Boy, Montana, and told me that the
10         general council made a decision to remove me.
11         Q. Was there any claim that you had some conflict in going ahead with this
           case or any other reason other than simply going ahead with Cheryl?
12
           […]
13
           A. I told you earlier that I respect tribal decisions, don’t question them, don’t
14         pry. I told them thank you for letting me know and that I would transfer the
15
           files and I didn’t ask any other – and, you know, like I said, I don’t care. I
           got other things I could do.
16
           51. After resuming their role as counsel of record in the case, Cheryl Williams and
17
     Kevin Cochrane were able to convince the Ninth Circuit to vacate its stay order and re-
18
     instate the preliminary injunction. See Pauma, No. 10-55713, Dkt. No. 62 (9th Cir. Aug.
19
     23, 2010).
20
           52. The Ninth Circuit then followed this order up with another one disposing of the
21
     interlocutory appeal entirely that kept the injunction in place pending any further consid-
22
     eration by the district court. See Pauma Band of Luiseno Mission Indians of Pauma &
23
     Yuima Reservation v. California, 410 F. App’x 20 (9th Cir. Nov. 30, 2010).
24
           53. The procedural handling of the case following remand involved multiple tran-
25
     sfers as magistrates were promoted to district judgeships, with the case first going from
26
     Judge Burns to Judge Battaglia (see Pauma, No. 09-01955, Dkt. No. 104 (S.D. Cal. Mar.
27
     22, 2011)), and then again from Judge Battaglia to Judge Bencivengo. See Pauma, No.
28
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 1   09-01955, Dkt. No. 176 (S.D. Cal. Mar. 6, 2012)).
 2         54. In the midst of these transfers, Williams & Cochrane filed a First Amended
 3   Complaint on Pauma’s behalf with Judge Battaglia on September 9, 2011. See Pauma,
 4   No. 09-10955, Dkt. No. 130 (S.D. Cal. Sept. 9, 2011). Along with adding a wealth of new
 5   allegations, the amended pleading also included a new claim for relief based on misrepre-
 6   sentation under federal contract law as embodied in the Restatement (Second) of Con-
 7   tracts and other general principles. See id. at pp. 55-56.
 8         55. When the case finally ended up before Judge Bencivengo, the court decided the
 9   case on cross-motions for summary judgment, resolving the case in Pauma’s favor on the
10   basis of the misrepresentation claim that Williams & Cochrane had added in September
11   2011. See Pauma, No. 09-01955, Dkt. No. 227 (Mar. 18, 2013). As a result of obtaining
12   summary judgment on the basis of the misrepresentation claim, Pauma was immediately
13   “entitled to rescission of the 2004 Amendment” and also subsequently received an order
14   allowing it to recoup the approximately $36.3 million in overpayments the tribe made to
15   the State under the amendment as a form of specific performance of the original 1999
16   Compact. See Pauma, No. 09-01955, Dkt. Nos. 238 & 245 (S.D. Cal. June 11, 2013 &
17   Dec. 2, 2013).
18         56. Along with that, the initial summary judgment order from Judge Bencivengo
19   also contained a sua sponte statute of limitations analysis that the State of California
20   failed to argue, presumably to stave off any copycat suits from arising in the years
21   following entry of judgment. See Pauma, No. 09-01955, Dkt. No. 227, pp. 17-18 (S.D.
22   Cal. Mar. 18, 2013).
23         57. However, before the district court would calculate and award the specific
24   performance remedy, Judge Bencivengo ordered Pauma and the State of California to
25   participate in a settlement conference with Magistrate Judge Mitchell Dembin to see if
26   the dispute could be resolved without the need for an appeal. See Pauma, No. 09-01955,
27   Dkt. No. 227, p. 31 (S.D. Cal. Mar. 18, 2013) (indicating the parties were to contact
28   Magistrate Judge Dembin to schedule a settlement conference before the district court
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 1   would consider the issue of “the heightened revenue sharing payments under the 2004
 2   Amendment”).
 3         58. The Pauma General Council met in advance of the settlement conference and
 4   voted to try and negotiate an extension on the term of the largely-revenue-sharing-free
 5   1999 Compact with the State of California, using the $36.3 million it was about to re-
 6   ceive as a bargaining chip. See Pauma, No. 09-01955, Dkt. No. 256-1, ¶ 4 (S.D. Cal. Jan.
 7   30, 2014).
 8         59. The parties met for settlement conferences with Magistrate Judge Dembin
 9   twice between May 9, 2013 and May 20, 2013, but unfortunately “[n]o settlement was
10   reached.” Pauma, No. 09-01955, Dkt. Nos. 234 & 235 (S.D. Cal. May 9, 2013 & May
11   20, 2013).
12         60. On appeal, the Ninth Circuit affirmed the summary judgment orders of the
13   district court, reclassifying the $36.3 million award as a form of restitution rather than
14   specific performance in the process. See Pauma, 813 F.3d 1155.
15         61. The State of California subsequently chose to petition the Supreme Court for a
16   writ of certiorari, but the Court ultimately declined to hear the petition after Williams &
17   Cochrane filed a competing one on Pauma’s behalf in the hopes of defusing the State’s
18   petition. Compare California v. Pauma Band of Luiseno Mission Indians of Pauma &
19   Yuima Reservation, __ U.S. __, 136 S. Ct. 2511 (2016) with Pauma Band of Luiseno
20   Mission Indians of Pauma & Yuima Reservation v. California, __ U.S. __, 136 S. Ct.
21   2512 (2016).
22         62. Following the termination of the appeal process, the State of California satis-
23   fied the judgment in full during September 2016.
24         63. This $36.3 million payment marked the first time that the State of California
25   has paid a monetary remedy to a tribe as part of a compact dispute since the late 1990s,
26   and even then the amount of funds at issue was a small fraction of those involved in
27   Pauma’s case. See Cabazon v. Wilson, 124 F.3d at 1053-55 (explaining that the State had
28   to return license fees for simulcast wagering facilities).
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 1         64. When all was said and done, the Pauma case involved more than three-hundred
 2   docket entries in the district court, two motions to dismiss, four summary judgement
 3   processes, two appeals, and competing petitions for writs of certiorari to the Supreme
 4   Court during the seven-plus-year history of the case.
 5         65. At the culmination of the suit, Williams & Cochrane turned its attention to liti-
 6   gating other complex and novel questions on behalf of Pauma that touch on weighty is-
 7   sues of federal Indian law and federal labor law, some of which are at the heart of two
 8   additional suits against the State of California. See, e.g., Casino Pauma v. NLRB, No. 16-
 9   70397, Dkt. No. 23-1 (9th Cir. Oct. 31, 2016) (initial opening brief questioning, in part,
10   whether the NLRB can exert authority over Indian-owned entities based on Con-
11   gressional silence); Pauma Band of Luiseno Mission Indians of Pauma & Yuima Reserva-
12   tion v. UNITE HERE Int’l Union et al., No. 16-02660, Dkt. No. 1 (9th Cir. Oct. 27, 2016)
13   (initial complaint questioning, in part, whether a union is bound to follow an arbitration
14   process for unfair labor practice charges that it negotiated for the State of California as
15   part of a class III gaming compact).
16         66. Thus, Williams & Cochrane went back to work, whereas Robert Rosette was
17   busy championing the Pauma victory, advertising on his website that he “successfully
18   litigated a case saving the Pauma Band of Luiseno Mission Indians over $100 Million in
19   Compact payments allegedly owed to the State of California against then Governor
20   Schwarzenegger.” See Exs. 6 & 7.
21         D. The Quechan Tribe Hires Williams & Cochrane in the Wake of Pauma Be-
              coming Final
22
           67. The decision by the Supreme Court to deny the State’s petition for a writ of
23
     certiorari in Pauma garnered a significant amount of media attention, as it was picked up
24
     by the Associated Press and also independently reported by a number of other news and
25
     law-related outlets around California. See, e.g., California pays tribe $36 million to settle
26
     years-old fight, SAN DIEGO UNION-TRIBUNE, Sept. 9, 2016, available at http://www.san
27
     diegouniontribune.com/sdut-california-pays-tribe-36-million-to-settle-years-2016sep09-
28
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 1   story.html (last visited July 2, 2017); A Schwarzenegger-era casino deal will cost state
 2   $36.3 million, SACRAMENTO BEE, Aug. 23, 2016, available at http://www.sacbee.com/
 3   news/politics-government/capitol-alert/article97452877.html (last visited July 2, 2017);
 4   Calif. Gov. Signs Off On $36M to Tribe for Slots Repayment, Law360, Sept. 9, 2016,
 5   available   at   https://www.law360.com/articles/838630/calif-gov-signs-off-on-36m-to-
 6   tribe-for-slots-repayment (last visited July 2, 2017).
 7         68. Shortly after these news articles became public, the President of Quechan Mike
 8   Jackson contacted Cheryl Williams to find out whether Williams & Cochrane was inter-
 9   ested in representing his tribe to solve a similar compact dispute with the State of Califor-
10   nia, and invited her and her partner Kevin Cochrane to come out to the tribe’s reservation
11   near Yuma, Arizona to discuss the situation with the Tribal Council.
12         69. Quechan has a long history of political infighting. See, e.g., Quechan Tribe
13   awaits results of Monday’s elections, YUMA SUN, June 16, 2015, available at https://
14   www.pressreader.com/usa/yuma-sun/20150616/281565174391817 (last visited July 2,
15   2017); Elders call for probe of Quechan Nation election, YUMA SUN, June 29, 2007,
16   available at https://indianz.com/News/2007/003686.asp (last visited July 2, 2017).
17         70. However, the one constant and stabilizing force for Quechan through the years
18   has been President Mike Jackson, a military veteran and son and grandson of tribal
19   leaders who, aside from a single four-year hiatus, occupied the office of President
20   continuously from 1995 through 2016. President Jackson, who was profiled by the New
21   York Times in 2007 as he sought to protect Quechan’s sacred sites from the potential
22   harms of a $4 billion oil refinery (see Far from the Reservation, but Still Sacred?, NEW
23   YORK TIMES, Aug. 12, 2007, available at http://www.nytimes.com/2007/08/12/business/
24   yourmoney/12tribe.html (last visited July 2, 2017)), is the signatory for both the tribe’s
25   original and amended compacts with the State of California and held the position of
26   President when the tribe opened its original casino in California, the permanent resort
27   facility that replaced it, its casino in Arizona, and also when the tribe broke ground on a
28
                                          23      Case No.: 17-CV-01436 GPC MDD
                                 FIRST AMENDED COMPLAINT
 Case 3:17-cv-01436-RSH-DEB Document 39 Filed 03/02/18 PageID.2999 Page 25 of 122



 1   health clinic that is designed to serve all the tribes in the Yuma-area.10 See Ex. 8; Ground
 2   finally broken on clinic for local tribes, YUMA SUN, Jan. 28, 2016, available at https://
 3   www.pressreader.com/usa/yuma-sun/20160128/281479275438281 (last visited July 2,
 4   2017).
 5         71. As mentioned above, Quechan has an amended compact with the State of
 6   California that was approved by the Bureau of Indian affairs on January 4, 2007 (“2007
 7   Amendment”), or roughly two-and-a-half years after Pauma’s amendment and four-and-
 8   a-half years after the CGCC restricted the size of the license pool under the 1999
 9   Compacts. See 72 Fed. Reg. 2007-08 (Jan. 17, 2007), available at https://www.gpo.gov/
10   fdsys/pkg/FR-2007-01-17/pdf/E7-514.pdf (last visited July 2, 2017). The 2007 Amend-
11   ment allows Quechan to operate up to 1,100 slot machines inside of one reservation-
12   based gaming facility until December 31, 2025 in exchange for a base revenue sharing
13   fee of 10% of the first $50 million in net win the tribe generates each year. See Ex. 9 at §
14   4.3.3(a). For all intents and purposes, the practical effect of this revenue sharing structure
15   is that Quechan pays 10% of its net win to the State of California off of the
16            in revenues the tribe typically generates each year at its California casino.
17         72. Williams & Cochrane initially met with Quechan about its issues with its 2007
18   Amendment on or about September 14, 2016. Along with the partners for Williams &
19   Cochrane, the individuals present at the meeting included President Jackson, four of the
20   five Tribal Councilmembers, the Tribal Council Secretary Regina Escalanti, the General
21   Manager of the Quechan Casino Resort Charles Montague (who is himself a Quechan
22   tribal member), and the Chief Financial Officer for the Quechan Casino Resort Phil
23   Simons.
24         73.
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             A true and correct copy of excerpts of the “Amendment to Tribal-State Compact
     between the State of California and the Quechan Tribe of the Fort Yuma Indian
28   Reservation” is attached hereto as Exhibit 9.
                                             24           Case No.: 17-CV-01436 GPC MDD
                                FIRST AMENDED COMPLAINT
 Case 3:17-cv-01436-RSH-DEB Document 39 Filed 03/02/18 PageID.3000 Page 26 of 122



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 3         74. The cessation of revenue sharing payments is extremely dangerous under the
 4   2007 Amendment, as the agreement states that the “[f]ailure to make timely payment
 5   shall be deemed a material breach of the Amended Compact,” which enables the State of
 6   California to bring suit in federal court to terminate the tribe’s compact rights. See Ex. 9
 7   at § 4.3.3(e). Even if the State refrained from taking such extreme action, the 2007
 8   Amendment requires Quechan to essentially shut down the gaming floor of its casino
 9   until it becomes current on its revenue sharing obligations if it is behind in making a pay-
10   ment by more than sixty days from the due date. See Ex. 9 at § 4.3.3(f). This requirement
11   becomes even more punitive if Quechan’s revenue sharing payments are “overdue… on
12   more than two occasions,” in which case the prohibition on operating slot machines
13   would continue for “an additional 30 days after full payment of all outstanding amounts
14   has been made.” See Ex. 9 at § 4.3.3(f). For a tribe like Quechan, the enforcement of this
15   provision could result in the deprivation of at least              in gaming revenue, and
16   that assumes the tribe made immediate payment after the State of California shuttered the
17   casino’s slot floor. The pertinent part of the subsection of the 2007 Amendment detailing
18   the State’s rights in the event of non-payment by Quechan is set forth below:
19         (f) Notwithstanding anything to the contrary in Section 9.0, if any portion of
           the payments referenced in subdivision (a) pursuant to subdivisions (b) and
20
           (d), is overdue after the State Gaming Agency has provided written notice to
21         the Tribe of the overdue amount with an opportunity to cure for at least 15
           business days, and if more than 60 days has passed from the due date, then
22
           the Tribe shall cease operating all Gaming Devices until full payment is
23         made; provided further than if any portion of the payments is overdue as
           specified above on more than two occasions, the Tribe shall be required to
24
           cease operating all Gaming Devices for an additional 30 days after full
25         payment of all outstanding amounts has been made.
26   See Ex. 9 at § 4.3.3(f).
27         75.
28
                                          25      Case No.: 17-CV-01436 GPC MDD
                                 FIRST AMENDED COMPLAINT
 Case 3:17-cv-01436-RSH-DEB Document 39 Filed 03/02/18 PageID.3001 Page 27 of 122



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24       Sec. 12.1. The terms and conditions of this Gaming Compact may be amend-
         ed at any time by the mutual and written agreement of both parties.
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              A true and correct copy of a

28                                               , is attached hereto as Exhibit 10.
                                       26      Case No.: 17-CV-01436 GPC MDD
                              FIRST AMENDED COMPLAINT
 Case 3:17-cv-01436-RSH-DEB Document 39 Filed 03/02/18 PageID.3002 Page 28 of 122



 1   Ex. 8 at § 12.1.
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 7         78. As for the terms of the fee agreement between the parties, the Quechan Tribal
 8   Council explained that they were exceedingly familiar with the costs of matters that had a
 9   high likelihood of spiraling into federal litigation (see, e.g., Quechan Tribe of Fort Yuma
10   Indian Reservation v. U.S. DOI, 2012 U.S. Dist. LEXIS 71248 (S.D. Cal. 2012); Quechan
11   Indian Tribe v. United States, 535 F. Supp. 2d 1072 (S.D. Cal. 2008)), and preferred to
12   create a hybrid structure whereby the tribe would pay a discounted rate going forward
13   and then combine that with a contingency fee that was less than the normal 30 to 35%
14   that a firm would normally command. In response, Cheryl Williams explained that she
15   would provide the Quechan Tribal Council with two different proposals by the end of the
16   week, and the parties could then negotiate the final terms of a services agreement once
17   the Quechan Tribal Council selected the proposal with the general structure it preferred.
18         79. On September 16, 2016, Cheryl Williams sent an e-mail to the Quechan Tribal
19   Secretary Regina Escalanti and President Jackson to convey two different hybrid fee
20   proposals. As explained by Cheryl Williams, the fee structures were meant to be “a fair
21   middle ground choice on the spectrum of fee arrangements that range from purely hourly
22   on one end (i.e., $475-$500 per hour) to purely contingency on the other (i.e., 33%-35%
23   of net recovery).” Further, they were also designed taking into account (1) the potential
24   liability for the firm given the millions of dollars at issue, and (2) the massive amount of
25   work that a representation of this nature would likely require given Williams & Coch-
26   rane’s experience representing Pauma in negotiations and litigation during its seven-year
27   dispute with the State of California. As for the terms of the proposals, both contained a
28   progressive contingency fee structure that started at 5% of any recovered value of the
                                            27            Case No.: 17-CV-01436 GPC MDD
                               FIRST AMENDED COMPLAINT
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 1   excess revenue sharing payments Quechan made under the 2007 Amendment “if the
 2   matter is resolved before the filing of a lawsuit or within 12 months thereof” and
 3   gradually increased to 15% “[i]f the matter is resolved after 36 months of filing a law-
 4   suit.” Along with this contingency fee, one of the fee proposals was based on a discount-
 5   ed hourly rate of $350 per hour while the other incorporated a monthly flat fee of $50,000
 6   in lieu of the hourly rate.
 7         80. On the ensuing Wednesday, September 21, 2016, President Jackson called
 8   Cheryl Williams and explained that the Quechan Tribal Council had discussed the terms
 9   of the proposal fee agreements amongst themselves and an independent attorney and
10   decided that they wanted to go with the proposal containing the flat monthly fee arrange-
11   ment. However, since Quechan wanted to fix the situation as quickly as possible, Presi-
12   dent Jackson stated that the Tribal Council desired to modify the contingency fee struc-
13   ture to provide Williams & Cochrane with the 15% contingency fee if the firm was some-
14   how able to resolve the matter expediently through negotiations. Upon hearing this com-
15   ment, Cheryl Williams double checked whether President Jackson and the Quechan Tri-
16   bal Council wanted this change (they did), inquired whether they wanted to negotiate any
17   other provisions of the proposed agreement (they did not), and then explained that she
18   would get them a revised and final version of the Attorney-Client Fee Agreement to re-
19   review the ensuing week.
20         81. On Monday, September 26, 2016, Cheryl Williams e-mailed a copy of the final
21   version of the Attorney-Client Fee Agreement to Tribal Secretary Regina Escalanti, an
22   Executive Secretary named Linda Cruz, and President Jackson.
23         82. As previously mentioned, the Attorney-Client Fee Agreement contains a
24   “Monthly Flat Fee” in Section 4, which explains that the “Client agrees to pay a flat fee
25   of $50,000 per month for Firm’s services under this Agreement.” See Ex. 2 at § 4.
26         83. In addition, Section 5 of the Attorney-Client Fee Agreement contains a
27   contingency fee provision that explains Quechan will pay Williams & Cochrane a 15%
28   contingency fee on any revenue sharing discount Quechan receives under a negotiated
                                          28          Case No.: 17-CV-01436 GPC MDD
                              FIRST AMENDED COMPLAINT
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 1   successor compact as a result of the heightened payments the tribe made under the 2007
 2   Amendment, and that such fee attaches the moment the tribe signs the new agreement.
 3   See Ex. 2 at § 5. The pertinent part of Section 5 of the Attorney-Client Fee Agreement
 4   states:
 5             Firm’s contingency fee will be calculated as follows if the representation
               matter is resolved through settlement or negotiation:
 6
               (a)   If the matter is resolved before the filing of a lawsuit or within 12
 7
                     months thereof, then Firm’s contingency fee will be fifteen percent of
 8                   the net recovery.
 9             […]
10             (b)   For purposes of subsection (a) alone, the matter is resolved at the
                     point in time that the Client signs a successor compact (whether new
11                   or amended), which subsequently obtains the requisite State and
12                   federal approvals and takes effect under the Indian Gaming
                     Regulatory Act, 25 U.S.C. § 2701 et seq.
13             (c)   The contingency fee above is higher than the formative rates for
14                   resolving the case through court action set forth in the ensuing
                     subsections below based upon the Client’s express request after
15                   consultation and stated need to resolve the situation in as effective and
16                   expeditious a manner as possible.

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     See Ex. 2 at § 4.

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               84. To address opportunistic early termination, the Attorney-Client Fee Agreement

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     also contains a Section 11 that explains that in the event Williams & Cochrane is

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     discharged before the contingency fee normally attaches, Quechan would still have to pay

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     this fee if it had become “entitled” to any amounts constituting the “net recovery” for

22
     contingency fee purposes. See WEBSTER’S THIRD NEW INTERNATIONAL DICTIONARY 758

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     (2002) (defining “entitle” as “furnish with proper grounds for seeking or claiming some-

24
     thing”); accord MERRIAM-WEBSTER, Definition of Entitle, available at https://www.

25
     merriam-webster.com/dictionary/entitle (last visited July 15, 2017) (defining “entitle” the

26
     same, as “to furnish with proper grounds for seeking or claiming something”). For other

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     situations, Section 11 states that “Client agrees that Firm will be… paid by Client a

28
     reasonable fee for the legal services provided in lieu of the contingency fee set forth in
                                             29      Case No.: 17-CV-01436 GPC MDD
                                    FIRST AMENDED COMPLAINT
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 1   paragraph 5 of this Agreement,” the amount of which “will be determined by consider-
 2   ing” a list of factors that predominantly turns upon the value of the services performed
 3   for the tribe:
 4          (1) The amount of the fee in proportion to the value of the services per-
                formed;
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            (2) The relative sophistication of the Firm and the Client;
 6
            (3) The novelty and difficulty of the questions involved and the skill re-
 7              quisite to perform the legal service properly;
 8          (4) The likelihood, if apparent to the Client, that the acceptance of the par-
 9              ticular employment will preclude other employment by the Firm;
            (5) The amount involved and the results obtained;
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            (6) The time limitations imposed by the Client or by the circumstances;
11
            (7) The nature and length of the professional relationship with the Client;
12
            (8) The experience, reputation, and ability of the Attorney;
13
            (9) The time and labor required;
14
            (10) The informed consent of the Client to the fee.
15   See Ex. 2 at § 11.
16          85. Finally, in order to enforce the financial obligations of the proposed contract,
17   the Attorney-Client Fee Agreement also contains a waiver of sovereign immunity that
18   provides in relevant part that the “Client hereby expressly and irrevocably waives its
19   sovereign immunity (and any defense based thereon) from any suit, action, or proceeding
20   or from any legal process with respect to any claims the Firm may bring seeking payment
21   under the terms of this Agreement.” See Ex. 2 at § 13(a).
22          86. As for the execution of the Attorney-Client Fee Agreement, on the same date
23   Cheryl Williams transmitted the document to Quechan (i.e., Monday, September 26,
24   2016), President Jackson signed the document at a Special Tribal Council Meeting,
25   during which the Tribal Council passed a resolution by a vote of “5 for” and “0 against”
26   to “approve the attorney-client fee agreement between the Quechan Indian Tribe and
27   Williams & Cochrane.” See Ex. 3. The attorneys for Williams & Cochrane countersigned
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                                          30      Case No.: 17-CV-01436 GPC MDD
                                 FIRST AMENDED COMPLAINT
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 1   and thereby executed the Attorney-Client Fee Agreement on September 29, 2016, provid-
 2   ing Quechan with a copy of the fully-executed contract afterwards.
 3         E. Williams & Cochrane gets Quechan a Compact Offer that Excises $120
              Million in Revenue Sharing Payments and Enables the Generation of
 4
              around $660 Million in New Gaming Revenues
 5
           87. With the Attorney-Client Fee Agreement executed, Williams & Cochrane
 6
     began preparing a notice of dispute for the Office of the Governor that would hopefully
 7
     convince it to sit down with Quechan and negotiate a replacement compact for the 2007
 8
     Amendment. Ultimately, Williams & Cochrane sent out this letter on October 12, 2016.
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           88. On October 17, 2016, just five days later and approximately one month after
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     the State paid $36.3 million to Pauma, the Office of the Governor agreed to “enter into
11
     negotiations for a new tribal state gaming compact between the State of California and
12
     the Quechan Tribe of the Fort Yuma Indian Reservation,” in a letter signed by the Office
13
     of the Governor’s Senior Advisor for Tribal Negotiations Joginder (“Joe”) Dhillon.12
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           89. As a result of this letter, the parties held their first negotiation session on No-
15
     vember 9, 2016 at the State Capitol. Appearing on behalf of the Office of the Governor
16
     was Senior Advisor Joe Dhillon, Senior Assistant Attorney General Sara Drake, and
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     Deputy Attorney General Jennifer Henderson. For Quechan, all seven members of the
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     Tribal Council were present as well as Cheryl Williams and Kevin Cochrane from
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     Williams & Cochrane.
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              A true and correct copy of an October 17, 2016 letter from the Office of the
     Governor’s Senior Advisor for Tribal Negotiations Joe Dhillon to Cheryl A. Williams is
26   attached hereto as Exhibit 11.
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27
              A true and correct copy of the December 6, 2016 draft “Tribal-State Compact
     between the State of California and the Quechan Tribe of the Fort Yuma Indian
28   Reservation” is attached hereto as Exhibit 12.
                                             31         Case No.: 17-CV-01436 GPC MDD
                                FIRST AMENDED COMPLAINT
 Case 3:17-cv-01436-RSH-DEB Document 39 Filed 03/02/18 PageID.3007 Page 33 of 122



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              A true and correct copy of the sample “Regulatory Cost Reimbursement
     Invoice” that accompanied the December 6th draft compact is attached hereto as Exhibit
26   13.
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              A true and correct copy of a December 6, 2016 letter from the Office of the
     Governor’s Senior Advisor for Tribal Negotiations Joe Dhillon to Quechan President
28   Mike Jackson is attached hereto as Exhibit 14.
                                            32          Case No.: 17-CV-01436 GPC MDD
                               FIRST AMENDED COMPLAINT
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 4         91. From a substantive perspective, the revenue sharing terms of the December 7th
 5   initial draft compact were quite a victory to Williams & Cochrane because the State’s
 6   general practice is to demand a revenue sharing fee that totals at least six percent of net
 7   win on all machines over 350 in addition to the basic SDF payment that was included in
 8   Quechan’s draft proposal. See, e.g., California Gambling Control Commission, Tribal-
 9   State Compact between the State of California and the Pala Band of Mission Indians §
10   5.2(a) (May 6, 2016) (imposing a 6% revenue sharing fee on all machines above 350 into
11   the Revenue Sharing Trust Fund, available at http://www.cgcc.ca.gov/documents/
12   compacts/amended_compacts/Pala_Compact_2016.pdf (last visited July 2, 2017). And
13   this basic arrangement of requiring a large revenue sharing fee does not even account for
14   the intergovernmental agreements that tribes are required to execute with the local
15   communities to cover the cost of public services – something that hardly effects Quechan
16   since its location (at least on the California side of the border) is far removed from other
17   municipalities. See id. at § 4.4.
18         92. From a procedural standpoint, the December 7th initial draft compact came
19   about much quicker than any tribe should expect. For instance, a coalition of dozens of
20   tribes called the 1999 Compact Tribes Steering Committee has been negotiating new
21   compacts with the Office of the Governor since the spring of 2013 and, based on infor-
22   mation and belief, these tribes are, at best, expected to execute compacts towards the end
23   of the 2018 legislative session. Quite simply, compact negotiations around the Nation are
24   traditionally rather time-consuming processes, a fact Congress realized when it inserted a
25   clause into IGRA stating that a tribe could not bring a “bad faith” negotiation suit against
26   the state across the bargaining table until at least one hundred and eighty (180) days pass-
27   ed from “the date on which the Indian tribe requested the State to enter into negotiations.”
28   25 U.S.C. § 2710(d)(7)(B)(i). In fact, the factual backgrounds of successful bad faith suits
                                               33           Case No.: 17-CV-01436 GPC MDD
                               FIRST AMENDED COMPLAINT
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 1   are littered with indications that failed rounds of negotiations went on for years. See, e.g.,
 2   Big Lagoon Rancheria v. California, 759 F. Supp. 2d 1149, 1154-56 (N.D. Cal. 2010)
 3   (revealing the last round of compact negotiations took place from “September 18, 2007…
 4   [to] April 3, 2009, [when] the Tribe filed its complaint, alleging that the State failed to
 5   negotiate in good faith, in violation of IGRA”); North Fork Rancheria of Mono Indians v.
 6   California, 2015 U.S. Dist. LEXIS 154729, *5-*6 (E.D. Cal. 2015) (indicating the first
 7   round of compact negotiations went on from “July of 2004… [to] April of 2008[,] when
 8   Governor Schwarzenegger and the Tribe executed a gaming compact”); Rincon Band of
 9   Luiseno Mission Indians of Rincon Reservation v. Schwarzenegger, 2008 WL 6136699,
10   *3 & *7 (S.D. Cal. 2008) (revealing the unfinished compact negotiations under review
11   took place from February 26, 2004 to “November 3, 2006, [when] Rincon informed the
12   State by detailed letter that it could not accept its October 31, 2006 proposal”).
13         93. On or about December 28, 2016, Williams & Cochrane met with the Quechan
14   Tribal Council,
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                                          34      Case No.: 17-CV-01436 GPC MDD
                                 FIRST AMENDED COMPLAINT
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 1         94. With their marching orders in hand, Williams & Cochrane scheduled a follow-
 2   up meeting with the Office of the Governor on January 31, 2016 at the State Capitol to go
 3   through the December 7th initial draft compact and find out what the State was willing to
 4   negotiate above and beyond the base offer it provided.
 5         95. However, before this meeting could take place, election chaos erupted at Que-
 6   chan. President Jackson and Vice President Michael Jack were in the midst of four-year
 7   terms and not up for reelection during the midterm election that took place in December
 8   2016. However, all five biannual Councilmember seats were up for vote, and one existing
 9   Councilmember (i.e., Juliana Comet) had decided to retire rather than seek reelection.
10   The initial election results reportedly indicated that challengers or aspirants won four of
11   the five Council seats that were on the ballot. A recount of the vote was soon ordered and
12   Quechan spent the next two months mired in intractable infighting. See Quechan Tribe to
13   re-do vote, YUMA SUN, Feb. 9, 2017, available at https://www.pressreader.com/usa/
14   yuma-sun/20170209/281509340930239 (last visited June 30, 2017).
15         96. Ultimately, the four new challengers were sworn into office on or about March
16   3, 2017. See New Quechan Tribe Council Members sworn in nearly two months after
17   election, KYMA-TV, Mar. 3, 2017, available at http://www.kyma.com/news/new-
18   quechan-tribe-council-members-sworn-in-nearly-two-months-after-election/372997144
19   (last visited June 30, 2017). In succession, President Jackson resigned from his position
20   almost instantaneously with the swearing in of the new councilmembers and then Vice
21   President Jack stepped down in the ensuing months.
22         97. As the political turmoil at Quechan raged on, Cheryl Williams and Kevin
23   Cochrane met with the Office of the Governor at the planned January 31, 2016 negoti-
24   ation session to see if any further progress could be made on the draft compact.
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                                         35      Case No.: 17-CV-01436 GPC MDD
                                FIRST AMENDED COMPLAINT
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12         98. After the election turmoil at Quechan died down, Cheryl Williams and Kevin
13   Cochrane travelled out to the reservation to meet with the reconstituted Tribal Council on
14   March 24, 2017.
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              A true and correct copy of a March 9, 2017 letter from CGCC Executive
28   Director Stacy Luna Baxter to President Jackson is attached hereto as Exhibit 15.
                                             36            Case No.: 17-CV-01436 GPC MDD
                               FIRST AMENDED COMPLAINT
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              A true and correct copy of an April 12, 2017 letter from CGCC Executive
     Director Stacy Lunda Baxter to the “Honorable Keeny Escalanti Sr., President Quechan
28   Indian Nation” is attached hereto as Exhibit 16.
                                             37       Case No.: 17-CV-01436 GPC MDD
                                 FIRST AMENDED COMPLAINT
 Case 3:17-cv-01436-RSH-DEB Document 39 Filed 03/02/18 PageID.3013 Page 39 of 122



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23                                          .19 After relaying the compact, Senior Assistant
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              A true and correct copy of excerpts of the May 12, 2017 draft “Tribal State
     Compact between the State of California and the Quechan Tribe of the Fort Yuma Indian
26   Reservation” is attached hereto as Exhibit 17.
           19
27
              A true and correct copy of the May 19, 2017 draft “Tribal State Compact
     between the State of California and the Quechan Tribe of the Fort Yuma Indian
28   Reservation” is attached hereto as Exhibit 18.
                                             38         Case No.: 17-CV-01436 GPC MDD
                                FIRST AMENDED COMPLAINT
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 1   Attorney General Sara Drake set up another negotiation session between the attorneys for
 2   the parties on June 14, 2017 at the Office of the Attorney General in Sacramento, Califor-
 3   nia.
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13          107.
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10                 Thus, the State of California had not only offered an agreement that would
11   eliminate at least $112 million in revenue sharing payments over the next 28 years, but
12   one that could generate another $661,000,000 in new gaming revenue.
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 1                                                                                            .
 2         F. The Putative President of Quechan Keeny Escalanti Terminates Williams
              & Cochrane Three Days before the Conclusion of Compact Negotiations to
 3
              Avoid Paying the Contingency Fee under the Attorney-Client Fee Agree-
 4            ment, Demanding that the Firm Turn Over its Work Product to Robert
              Rosette by Using Threats to its Reputation and Professional Standing
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           109.
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                                   See Capitol Weekly, Capitol Weekly’s Top 100, available at
24
     http://capitolweekly.net/capitol-weeklys-top-100/ (last visited July 5, 2017) (listing Quin-
25
     tana and Sloat as numbers 55 and 62 on the list of assorted Sacramento power players,
26
     respectively).
27
           110. In keeping with the schedule agreed upon by the attorneys during the June
28
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 1   14th negotiation session, Cheryl Williams transmitted the final set of redlines to the State
 2   of California at 1:12 a.m. in the morning of Wednesday, June 21, 2017.20
 3         111. However, the next conversation between Cheryl Williams and Senior
 4   Assistant Attorney General Sara Drake did not begin with a discussion about finalizing
 5   the Quechan compact. Rather, on Tuesday, June 27, 2016, Ms. Drake – who has been one
 6   of (if not) the principal attorney representing the State of California in tribal matters since
 7   the mid to late 1990s (see Cabazon Band of Mission Indians v. Wilson, No. 90-01118,
 8   Dkt. Nos. 159 & 177 (E.D. Cal. Feb. 12, 1999 & Mar. 23 1999)) – began the conver-
 9   sation by stating, “This has never happened before and we don’t know what to do.” With
10   that, Ms. Drake then informed Cheryl Williams that the State had just received a letter
11   indicating that Williams & Cochrane had been terminated from the compact negotiations,
12   just three days before the negotiations were set to conclude, and replaced by Robert
13   Rosette.
14         112. That same day Cheryl Williams received a similar letter. The letter was sent
15   by e-mail from the Quechan Executive Secretary Linda Cruz to Cheryl Williams with no
16   other individuals carbon copied on the message. The June 26, 2017 letter enclosed therein
17   was entitled “Termination of Attorney-Client Relationship” and signed by the putative
18   Quechan President Keeny Escalanti, Sr., who had purportedly assumed the seat left
19   vacant following President Jackson’s departure. See Ex. 4. The June 26th letter began by
20   explaining “[t]he Fort Yuma Quechan Indian Tribe… is terminating the services of
21   Williams & Cochrane… effective immediately upon your receipt of this letter.” See id.
22         113. Around the same time as the Quechan Executive Secretary had transmitted
23   this letter, Quechan had also sent four paychecks to Williams & Cochrane to cover the
24   base monthly fees for February 2017 to May 2017 that the tribe was behind in paying.
25   With that, the June 26th letter went on to explain that the tribe intended to pay a “pro-
26
           20
27
              A true and correct copy of the June 21, 2017 draft “Tribal State Compact
     between the State of California and the Quechan Tribe of the Fort Yuma Indian
28   Reservation” is attached hereto as Exhibit 19.
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 1   rated [portion of the monthly flat] fee for your services” for the month of June (which it
 2   never did), but that it would “not pay any contingency fee or ‘reasonable fee for the legal
 3   services provided in lieu’ thereof.” See Ex. 4.
 4         114. As for the reasons for repudiating the Attorney-Client Fee Agreement at the
 5   eleventh hour, the June 26th letter stated that Williams & Cochrane had already been
 6   “grossly overcompensated” given its failure to “produce better-than-boilerplate terms in
 7   your negotiations so far with the State.” As such, the June 26th letter explained that the
 8   payment of fees to date was “more than fair” and then warned, “We strongly advise you
 9   against pressing your luck further out of concern for the reputation of your firm in
10   Indian Country and in the State of California.” See Ex. 4.
11         115. After conveying this threat, the June 26th letter that was signed only by
12   putative Quechan President Keeny Escalanti explained that Williams & Cochrane could
13   not relay the message conveyed by this letter (or any other information obtained during
14   their representation, like the draft compacts) to anyone else within the tribe:
15         Finally, I remind you of the… confidentiality provisions which govern
           attorney-client relations and that you not disclose to any employee, officer,
16
           or official of the Tribe or any subdivision, agency, or enterprise of the Tribe
17         regarding any matter that was the subject of your engagement.
18   See Ex. 4.
19         116. Nevertheless, the June 26th letter then concludes by explaining that Williams
20   & Cochrane should “direct all communications regarding this matter to Robert A.
21   Rosette” and promptly provide him with a copy of Quechan’s entire case file – the very
22   “confidential” materials that no one else within the tribe was supposedly permitted to see.
23   See Ex. 4.
24         117. Though signed by putative Quechan President Keeny Escalanti, Williams &
25   Cochrane is informed and believes that the June 26th letter was actually drafted by Rob-
26   ert Rosette or one of the attorneys in his employ at Rosette, LLP.
27         118. Unlike the execution of the Attorney-Client Fee Agreement, the June 26th
28   letter was not accompanied by a resolution indicating how the Quechan Tribal Council
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 1   members voted on the issue – or if the other Councilmembers even knew about putative
 2   Quechan President Keeny Escalanti’s actions at all.
 3         119. The lack of any corroborating tribal resolution led Cheryl Williams to ask
 4   Senior Assistant Attorney General Sara Drake whether she had received a resolution
 5   removing Williams & Cochrane from the matter. In response, Ms. Drake indicated that
 6   she had not but she planned on asking Mr. Rosette to provide one before the negotiations
 7   would go forward. Further, before the call ended, Ms. Drake explained that she thought
 8   the compact negotiation materials in the State’s possession were protected by the work
 9   product privilege, and suggested Cheryl Williams carefully review the applicable case
10   law and ethical rules to determine whether she could lawfully disclose the compact nego-
11   tiation materials in this highly unusual situation given her duties to her actual client and,
12   supposedly, the State of California.
13         120. Following this call, on June 27, 2017, a second-year associate attorney with
14   Rosette, LLP who works under the supervision of Richard Armstrong in the Folsom,
15   California office sent Cheryl Williams an e-mail demanding that she immediately turn
16   over a copy of the June 21st draft compact:
17         Ms. Williams,
18         As you know, our firm has been retained to represent the Fort Yuma
           Quechan Indian Tribe in their compact negotiations with the State. While
19
           there is a formal file request forthcoming, it is imperative that we receive,
20         immediately, the last compact, with any redlines, that was transmitted to the
           State during your negotiations. Please provide said compact as soon as
21
           possible. I am available to discuss any questions or concerns.
22         Thank you,
23         Cecilia Guevara Zamora
24         Rosette, LLP
           Attorneys at Law
25         193 Blue Ravine Road, Suite 255
26         Folsom, California, 85630
           […]
27
           121. While Cheryl Williams was considering the propriety of this request, Wil-
28
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 1   liams & Cochrane is informed and believe that on either June 28, 2017 or June 29, 2017,
 2   Senior Assistant Attorney General Sara Drake spoke with Robert Rosette (or one of his
 3   attorneys at Rosette, LLP) and asked him to provide an authenticating tribal resolution for
 4   his involvement in the compact negotiations, explaining that she would not turn over the
 5   most recent redlined draft of the compact until she received one.
 6         122. Shortly thereafter, on June 30, 2017, Cheryl Williams received a second email
 7   from the Quechan Executive Secretary, this time containing a “Demand for Cease and
 8   Desist” letter that was signed by putative President Keeny Escalanti and again written by
 9   Robert Rosette or an attorney in his employ at Rosette, LLP. See Ex. 5.
10         123. Since Robert Rosette was seemingly unable to obtain any of the negotiation
11   materials in his conversation with Senior Assistant Attorney General Sara Drake, the
12   June 30th letter demanded under threat of legal action that Williams & Cochrane refrain
13   from speaking with anyone from the State and “immediately furnish all work-product
14   belonging to the tribe, including, but not limited to, the most recent redlined changes to
15   the draft State-Tribal Compact, including any comments incorporated therein” See Ex. 5.
16   Though the previous June 26th letter purportedly terminated Williams & Cochrane on the
17   basis that it did not “produce better-than-boilerplate terms in your negotiations so far with
18   the State,” the June 30th letter reversed course and indicated that the failure to produce
19   the most recent redlines and comments would “result in irreparable harm to the Tribe,
20   particularly given the California legislative deadlines associated with timely consider-
21   ation of the Tribe’s Gaming Compact.” See Ex. 5.
22         124. Much like the prior June 26th letter, this second June 30th letter was not with-
23   out its own threats based on misrepresentations (i.e., “Should you continue your obstruc-
24   tion of the Tribe’s interests, the Tribe will be left with no other choice than to pursue the
25   legal remedies available to it. We trust that the Firm will see the wisdom in promptly
26   complying with these demands.”) and hyperbolic if not slanderous accusations (“Through
27   its decades of dealings with numerous attorneys and law firms across the country, the
28   Tribe has not witnessed these types of outlandish actions or this level of unprofessional-
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 1   ism as it has from your Firm.”).
 2         125. After spending the ensuing July 4th weekend reviewing the ethical rules per-
 3   taining to “Termination of Employment” under California Rule of Professional Conduct
 4   3-700(A)(2) and Robert Rosette’s well-documented history of exacerbating intra-tribal
 5   strife when his position is threatened (see Section II(A), infra), the attorneys at Williams
 6   & Cochrane decided that the best way to “avoid reasonably foreseeable prejudice” to the
 7   rights and interests of Quechan was to provide Rosette, LLP and the tribe (principally
 8   through its Executive Secretary Linda Cruz) with a copy of the June 21st draft compact in
 9   the hopes that they could still convince the State of California to execute a compact based
10   on those terms before the end of the legislative session, and to simply step away from the
11   matter entirely.
12   II.   THE TORTS BY ROBERT ROSETTE AGAINST WILLIAMS & COCHRANE
13         A. Background on Robert Rosette
14         126. Robert Rosette is an Indian law attorney who, according to public records, has
15   a history of representing individual persons or factions within tribes while purporting to
16   represent the tribe itself, particularly when a tribe is mired in internal fighting regarding
17   the control of sometimes massive amounts of gaming revenues that may soon spill over
18   into membership disputes or worse. For example, Robert Rosette and his firm Rosette,
19   LLP represented and possibly still represents some “faction” of the Alturas tribe, who has
20   over $2 million in Revenue Sharing Trust Funds (“RSTF”) frozen on account of a
21   leadership dispute that has spanned more than seven years and frayed government-to-
22   government relations with the United States. See Alturas Indian Rancheria v. Calif.
23   Gambling Control Comm’n, No. 11-02070, Dkt. No. 9 (E.D. Cal. Aug. 9, 2011); see also
24   Alturas Indian Rancheria v. Salazar, 2010 U.S. Dist. LEXIS 113083 (E.D. Cal. Oct. 18,
25   2010) (detailing the background of the intra-tribal dispute). Similarly, according to
26   numerous adverse federal court opinions, Robert Rosette and his firm have represented a
27   four-person faction of a supposedly five-member tribe known as the California Valley
28   Miwok Tribe, the quartet of which has tried to disenroll the other member and block the
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 1   enrollment of upwards of two hundred and fifty other Indians as they fight to get the
 2   CGCC to release $15.0 million in frozen RSTF funds to themselves alone. See, e.g.,
 3   Calif. Valley Miwok Tribe v. Jewell, 5 F. Supp. 3d 86 (D.D.C. 2013); see also California
 4   Gambling Control Commission, Revenue Sharing Trust Fund Report (RSTF) of Distribu-
 5   tion of Funds to Eligible Recipient Indian Tribes for the Quarter Ended December 31,
 6   2017 at p. 12, available at http://www.cgcc.ca.gov/documents/rstfi/2017/14_RSTF_
 7   Distrib_65th_CommStaffReport.pdf (last visited Jan. 26, 2018) (detailing the total
 8   amount of frozen RSTF funds and interest held by the CGCC on behalf of the California
 9   Valley Miwok Tribe).
10         127. These intra-tribal battles over accessing withheld revenue sharing allocations
11   pale in comparison to the fights that have erupted at tribes with immensely profitable
12   casino operations that have Robert Rosette lurking around in some capacity. As to that, a
13   Fresno Bee article from 2012 indicates that Robert Rosette represented some part of the
14   Tribal Council for the Picayune Rancheria of Chukchansi Indians – the tribe that operates
15   the 1,800-machine Chukchansi Gold Resort & Casino that is situated between Fresno and
16   Yosemite. See Chukchansi fight partly over disenrollments, Fresno Bee, Feb. 26, 2012.
17   According to the Fresno Bee article, after the Tribal Council represented by Robert
18   Rosette lost a majority of seats at a December 2011 election, it held on to power by
19   disqualifying one of the election winners and then disenrolling large numbers of tribal
20   members, which one of the challengers vying for a seat on the Tribal Council thought
21   would taint the vote of any re-election since “[t]hey no longer have the same people who
22   voted in December.” Id. Other news reports from the region indicate that at least some
23   tribal members were concerned that the Tribal Council represented by Robert Rosette
24   was misappropriating casino revenues and failing to file audits with the National Indian
25   Gaming Commission (who threatened to shut down the casino because of this), and this
26   led a group of twenty tribal members armed with bullet-proof vests and guns to storm the
27   casino in an attempt to take over the facility. See, e.g., Gunmen storm Chukchansi Gold
28   Resort & Casino in Madera County, KFSN-TV, Oct. 9, 2014, available at http://abc7.
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 1   com/news/gunmen-storm-chukchansi-casino-in-madera-county/344900/ (last visited July
 2   3, 2017); Chukchansi Gold Casino remains closed following armed confrontation,
 3   KFSN-TV, Oct. 10, 2014, available at http://abc30.com/news/chukchansi-gold-casino-
 4   remains-closed-following-armed-confrontation/345334/ (last visited July 3, 2017).
 5   Ultimately, the State of California sought and obtained injunctive relief in federal court to
 6   shut down the Chukchansi Gold Resort & Casino in a suit in which Robert Rosette and a
 7   slew of other attorneys purported to represent the tribe. See California v. Picayune
 8   Rancheria of Chukchansi Indians of Cal., 2014 U.S. Dist. LEXIS 153737 (E.D. Cal.
 9   2014). As a result, the tribe’s casino was shuttered from approximately October 10, 2014
10   to December 31, 2015. See Chukchansi resort and casino holds grand opening ceremony
11   Friday, FRESNO BEE, Jan. 14, 2016, available at http://www.fresnobee.com/news/local/
12   article54783505.html (last visited July 3, 2016). An attorney employed by Rosette, LLP
13   who still appears on the firm website indicated to the Fresno Bee shortly after the district
14   judge issued its initial temporary restraining order that the Chukchansi Gold Resort &
15   Casino generated more than $100,000,000 a year in net win (see Chukchansi casino
16   hearing one for the history books, FRESNO BEE, Oct. 15, 2014, available at http://www.
17   fresnobee.com/news/local/news-columns-blogs/city-beat/article19526154.html (last visi-
18   ted July 3, 2016)), meaning that the nearly fifteen-month closure likely cost the tribe at
19   least $120,000,000 in gaming revenues. Nevertheless, the disenrollments reignited just
20   months after Picayune was able to convince the federal and state regulatory authorities to
21   allow the casino to reopen. See Chukchansi starting disenrollment for some founding
22   families’ members, FRESNO BEE, July 30, 2016, available at http://www.fresnobee.com/
23   news/local/article92839572.html (last visited July 3, 2016).
24         128. A situation like the one at Picayune should be unique in the annals of Indian
25   gaming, but a similar event happened almost contemporaneously at another tribe that
26   Robert Rosette claimed to represent. According to a special agent with the California
27   Bureau of Narcotic Enforcement named Eric Linch, two factions were vying for control
28   of the Paskenta Band of Nomlaki Indians, the tribe who operates the 840-machine
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 1   Rolling Hills casino that is located just off Interstate 5 due west of Chico, California. See
 2   California v. Paskenta Band of Nomlaki Indians, No. 14-01449, Dkt. No. 3-4, ¶ 4 (E.D.
 3   Cal. June 17, 2014) (“Paskenta”). According to Special Agent Linch, a “significant
 4   number of Paskenta tribal members recently were disenrolled from the Tribe, including a
 5   majority of the Paskenta tribal council.” Id. As a result of the action, “there was a new
 6   majority on the tribal council, the new majority was in charge of operating the Casino,
 7   and the disenrolled members of the tribal council were escorted off tribal property.” Id. at
 8   ¶ 5. The attorney for the “faction” responsible for allegedly wresting control of the Tribal
 9   Council and instituting these disenrollments was none other than Robert Rosette, who
10   defiantly explained to the San Jose Mercury News that the “tribe followed proper proced-
11   ure when removing the members.” Northern California tribe in tense dispute over roll
12   removal, casino, SAN JOSE MERCURY NEWS, June 11, 2014, available at http://www.mer
13   curynews.com/2014/06/11/northern-california-tribe-in-tense-dispute-over-roll-removal-
14   casino/ (last visited July 3, 2017). Nevertheless, the disenrollments spurred those affected
15   to “plan to conduct a hostile takeover of the Casino” using at least “two helicopters”
16   before fifty members of this group ultimately settled upon engaging in a “hand gun[],
17   pepper spray, and baton[]”-laden armed standoff outside the casino with an equal number
18   of agents for the other faction. Id. at ¶¶ 7-14. While the State of California refrained from
19   shutting down the casino in this instance, it did have to obtain injunctive relief in federal
20   court to prevent tribal members or armed personnel in their employ from bringing fire-
21   arms within one hundred yards of the Rolling Hills Casino. See Paskenta, No. 14-01449,
22   Dkt Nos. 18 & 30 (E.D. Cal. Jun. 18, 2014 & July 7, 2014) (orders granting the State a
23   temporary restraining order and a preliminary injunction, respectively).
24         129. The questionable ways in which Robert Rosette seemingly tries to obtain
25   tribal clients has caused him trouble in the past. For instance, the Twenty-Nine Palms
26   Band of Mission Indians brought a civil action against a number of individuals including
27   Robert Rosette, claiming the tribe’s general counsel Gary Kovall had an arrangement
28   with Robert Rosette whereby he would refer work to him in exchange for a kickback that
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 1   Mr. Rosette would pay from an artificially-inflated fee that he would charge the tribe.21
 2   The allegations in the complaint ultimately led the United States Attorney’s Office to
 3   obtain a grand jury indictment for Mr. Kovall, who in turn pled guilty to conspiracy to
 4   commit federal programs bribery under 18 U.S.C. § 371. See United States v. Kovall, 857
 5   F.3d 1060, 1063 (9th Cir. 2017). Approximately eight months after the grand jury indict-
 6   ed Mr. Kovall, Robert Rosette entered into a settlement with Twenty-Nine Palms, the
 7   terms of which are apparently confidential.22 23
 8         130. Claims of improper billing practices by Robert Rosette continued after the
 9   Twenty-Nine Palms incident. For example, on April 21, 2011, the Havasupai Tribal
10   Council sent a letter to Robert Rosette to inform him that his firm had “submitted
11   invoices without supporting documents” and “the Tribal Council ha[d] passed a motion to
12   initiate an investigation of your firm’s business with us.”24 The Havasupai Tribal Council
13   indicated that Robert Rosette’s firm at the time – Rosette & Associates, PC – was
14   “instructed not to conduct any more work or act on our behalf” and to expect “no further
15   payment” until “the investigation [was] completed.”
16         131. Representational questions aside, issues of improper conduct also affect the
17
           21
18            A true and correct copy of the February 3, 2010 “First Amended Complaint” in
     Twenty-Nine Palms Band of Mission Indians of Cal. v. Edwards, Kovall, Rosette, et al.,
19
     No. 30-2009 00311045 (Orange County Sup. Ct. Feb. 3, 2010) is attached hereto as
20   Exhibit 20.
           22
               A true and correct copy of the March 24, 2012 “Order Granting Rosette
21
     Defendants’ Motion for Determination of Good Faith Settlement” in Twenty-Nine Palms
22   Band of Mission Indians of Cal. v. Edwards, Kovall, Rosette, et al., No. 30-2009
23
     00311045 (Orange County Sup. Ct. Feb. 3, 2010) is attached hereto as Exhibit 21.
           23
              A true and correct copy of the March 24, 2012 “Order Granting Motion of the
24   Rosette Defendants to Permanently Seal Confidential Portions of their Motion for
25
     Determination of Good Faith Settlement” in Twenty-Nine Palms Band of Mission Indians
     of Cal. v. Edwards, Kovall, Rosette, et al., No. 30-2009 00311045 (Orange County Sup.
26   Ct. Feb. 3, 2010) is attached hereto as Exhibit 22.
           24
27
              A true and correct copy of the April 21, 2011 letter from Edmond Tilousi, the
     Tribal Vice-Chairman for the Havasupai Tribal Council, to Robert Rosette is attached
28   hereto as Exhibit 23.
                                               50          Case No.: 17-CV-01436 GPC MDD
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 1   decision-making of some of the tribes Robert Rosette is known to represent. For instance,
 2   Robert Rosette and his firm have represented the Habematolel Pomo of Upper Lake
 3   (“Upper Lake”) since before 2010 – a tribe whose subordinate pay day lending bus-
 4   inesses were recently sued by the Consumer Financial Protection Bureau in federal court
 5   for deceiving customers by “offer[ing] loans with annual percentage rates of between
 6   approximately 440% and 950%,” but “not disclos[ing] the annual percentage rate of the
 7   loans in advertising or when customer service representatives answer questions over the
 8   phone.” Consumer Fin. Prot. Bureau v. Golden Valley Lending, Inc., et al., No. 17-3155,
 9   Dkt. No. 1, ¶ 49 & p. 9 (N.D. Ill. Apr. 27, 2017) (“Golden Valley”).
10            132. Not only that, but Robert Rosette also represents multiple tribal clients who
11   have entered into significant commercial contracts that they subsequently breached
12   without making any meaningful payments. As an example of this, the fifteen-member La
13   Posta Band of Diegueno Mission Indians secured a $23 million loan from third-party
14   lenders that was ultimately bought by the Arizona-based Yavapai-Apache Nation in order
15   to construct a gaming facility on its reservation, which is right alongside Interstate 8
16   about sixty miles east of downtown San Diego. See Yavapai-Apache Nation v. La Posta
17   Band of Diegueno Mission Indians, 2017 Cal. App. Unpub. LEXIS 4430 (4th Dist. June
18   28, 2017). Not only did La Posta default on the loan, but it “never made any payments
19   under the Loan Agreement.” Id. at *8. The Yavapai-Apache Nation ultimately sued La
20   Posta in San Diego Superior Court and the California Court of Appeal just recently
21   affirmed the trial court’s judgment awarding Yavapai-Apache $48,893,407.97 in dama-
22   ges on its breach of contract claim. Id. at *2. The attorney representing La Posta in this
23   litigation is Robert Rosette (see id. at *1), who, on information and belief, was also the
24   attorney advising the tribe when it elected to completely default on its contractual obliga-
25   tions.
26            133. The fact pattern in Yavapai-Apache closely mirrors that in another case in-
27   volving Robert Rosette, wherein he defended another San Diego area tribe known as the
28   Iipay Nation of Santa Ysabel in a suit by the Yavapai-Apache to recover “$36 million-
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 1   plus” that Santa Ysabel had allegedly failed to pay under a loan agreement that enabled
 2   the tribe to construct its gaming facility. See Yavapai-Apache Nation v. Iipay Nation of
 3   Santa Ysabel, 201 Cal. App. 4th 190, 203 (4th Dist. 2011). Based on information and
 4   belief, Williams & Cochrane also believes that Robert Rosette advised San Pasqual when
 5   it elected to default on its contractual obligations, just as he seemingly did with La Posta.
 6         B. Robert Rosette’s Beginning and End at Pauma
 7         134. Despite these allegations of questionable representations and dubious
 8   contracts, Robert Rosette actually started out providing legal representation to Pauma in a
 9   forthright manner. Like many tribes in Southern California, the political structure of
10   Pauma resembles a true democracy in which the governing body of the tribe is the
11   General Council, or “all adult members [of the Tribe] twenty-one (21) years of age or
12   older.”25 The General Council is in charge of making decision, which a four-member
13   Tribal Council then has the administrative power to carry out. See Ex. 24 at § 3. Among
14   the many enumerated powers reserved for the General Council is the “power[ ] and
15   responsibilit[y]” to “employ legal counsel.” See id. at § 6(A)(1).
16         135. As is well documented in the court filings in its prior compact suit with the
17   State of California, Pauma executed an amendment to its original compact with the State
18   of California in 2004. See, e.g., Pauma, 813 F.3d at 1161. One requirement of the now
19   rescinded 2004 Amendment was that Pauma commence negotiations with San Diego
20   County for an intergovernmental agreement (“MOU”) before beginning construction on
21   any gaming-related project that the tribe intended to conduct under the 2004 Amendment.
22   See California Gambling Control Commission, Amendment to Tribal-State Compact
23   between the State of California and the Pauma Band of Luiseno Mission Indians of the
24   Pauma & Yuima Reservation § 10.8.8, available at http://www.cgcc.ca.gov/documents/
25   compacts/amended_compacts/paumascanned.pdf (last visited July 4, 2017). To offset any
26   potential harms of the gaming project in the local area, the ultimate MOU was supposed
27         25
            A true and correct copy of the June 28, 1968 “Articles of Association of the
28   Pauma Band of Mission Indians” is attached hereto as Exhibit 24.
                                            52           Case No.: 17-CV-01436 GPC MDD
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 1   to include provisions “relating to compensation for[:] law enforcement, fire protection,
 2   emergency medical services and any other public services to be provided by the County
 3   to the Tribe for the purposes of the Tribe’s Gaming Operation as a consequence of the
 4   Project,” a gambling addiction program, and the general mitigation of any adverse “effect
 5   on public safety attributable to the Project.” Id.
 6           136. On or about May 15, 2007, Robert Rosette executed a contract with Pauma to
 7   “assist in negotiating an MOU with the County of San Diego” after the General Council
 8   of the tribe had voted to hire him for that specific purpose.26 A year-and-a-half later, on
 9   or about August 6, 2008, Pauma executed a MOU with San Diego County that Robert
10   Rosette negotiated, which, as explained in the prior compact suit, required the tribe to
11   make annual payments of $400,000 for sheriff’s protection, $200,000 for a gambling
12   addiction program, $40,000 for the prosecution of casino related crimes, and some of the
13   upwards of $38 million in road improvement expenditures the tribe committed itself to
14   under the intergovernmental agreement. See Pauma Band of Luiseno Mission Indians of
15   Pauma & Yuima Reservation v. California, No. 14-56104, Dkt. No. 29-1, p.89 (9th Cir.
16   Apr. 13, 2015). What’s more, these expenditures were in addition to the $7,750,000 in
17   annual revenue sharing that Pauma was already bound to pay the State of California for
18   the right to operate 1,050 machines under the 2004 Amendment. See Pauma, 813 F.3d at
19   1162.
20           137. Despite being burdened with a very costly MOU, during the ensuing year the
21   Pauma General Council voted to retain Rosette & Associates again in order to resolve the
22   tribe’s dispute with the State of California regarding the legality and enforceability of the
23   2004 Amendment. The attorney who presented the idea of Rosette & Associates doing
24   the compact litigation work to the General Council was Cheryl Williams.
25           138. Approximately three to four months before this presentation, during February
26   and March 2010, Robert Rosette hired two attorneys by the names of Cheryl Williams
27           26
             A true and correct copy of the May 24, 2007 “Attorney Services Agreement”
28   between Pauma and Rosette & Associates, PC is attached hereto as Exhibit 25.
                                           53           Case No.: 17-CV-01436 GPC MDD
                              FIRST AMENDED COMPLAINT
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 1   and Kevin Cochrane in anticipation of litigating the Pauma case against the State of
 2   California – with Ms. Williams coming from the class action law firm of Milberg LLP
 3   (f/k/a Milberg Weiss LLP and Milberg Weiss Bershad & Schulman LLP) and Mr.
 4   Cochrane having a background working for an inter-tribal circuit-style court that served
 5   upwards of twenty tribes in the Southern California area, including Pauma. As to that,
 6   Robert Rosette had testified during his October 26, 2010 deposition in the Pauma v.
 7   Harrah’s case about his lack of litigation experience (both federal or state) and conse-
 8   quent habit of simply delegating this work wholesale to subordinate attorneys whether he
 9   had to hire them or they were already onboard at his firm:
10         Q. All right. And during that period of time [when you were a partner at a
           different firm before starting your own firm], were you actively in litigation
11
           also as a –
12
           A. From time to time I either assigned litigation to attorneys who have a
13         knack for doing that. You know, very rarely I’ll make the court appearances
           or head the litigation. I try to stay out of court. I like to – I like the business
14
           transactions and I like to try to keep my clients out of litigation, but, you
15         know, sometimes you can’t avoid it.
16         Q. The silver lining in every cloud. Some people have to be involved in it.
           So did you have any major litigation, what you would describe as major
17         litigation, in which you were actually functioning as a litigator during
18         your… years [at the prior firm]?
19         A. Yeah, there were a few cases, I guess, I was involved in. I can’t really
           remember the captions or the names. I can remember the issues and the
20         tribes.
21         Q. Just generally, what were the tribes?
22         A. Well, Santa Rosa Rancheria, I was involved in the – CD Architects sued
           the tribe. And that was an arbitration, actually. I was involved in that piece.
23
           At the La Posta tribe here I was the lead attorney against the County of San
24         Diego with regard to mitigation of off-reservation impacts.
25         Q. Who is that on behalf of?
26         A. The La Posta Band of Mission Indians. It was a good result for the tribe,
           bad result for San Diego County.
27
           Q. What year was that?
28
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 1         A. That was in 2005. I was involved with an election issue, the application
 2         of state law with regard to contributions. That was with the Santa Rosa
           Rancheria. But like I said, I tried to avoid litigation mostly and would just –
 3         you know, I’ve always hired litigators that I could delegate and assign work
 4         to.

 5         139. In keeping with this, although Robert Rosette claims to have developed “the

 6   strategy [and] ideas behind the litigation,” Cheryl Williams and Kevin Cochrane were

 7   responsible for doing all of the litigation work for Rosette & Associates during the

 8   formative stages of the Pauma case – from drafting the initial complaint to appearing on

 9   the district court conference calls in the aftermath of the issuance of the preliminary

10   injunction order. Again, the deposition testimony by Robert Rosette in the Pauma v.

11   Harrah’s case confirms as much at multiple points, as he even acknowledges that he had

12   employees do the actual legal work on Pauma’s compact litigation, like Cheryl Williams:

13
           Q. Now, in terms of the litigation, the drafting and filing of the complaint
           and the arguing, did you do all that yourself up to the time you were
14         removed from the case?
15         A. No, I – I have employees that work for me that conduct research, draft,
           make court appearances, so on and so forth.
16
           Q. All right. So outside of being sort of the lead strategist, did you may any
17
           appearances or become an attorney or record at all?
18         A. I was an attorney of record. There was only one appearance that was
19         actually showing up, the oral argument for the preliminary injunction. And I
           had a conflict that day.
20
           Q. Who argued that case from your firm?
21
           A. Cheryl Williams.
22
           140. Concerns about the ethical practices at Rosette & Associates led Cheryl
23
     Williams and Kevin Cochrane to leave Rosette & Associates during the month after the
24
     issuance of the injunction order in the Pauma case – merely fourteen or so months after
25
     they both had joined the firm. See Pauma, No. 09-01955, Dkt. No. 44 (S.D. Cal. Apr. 12,
26
     2010). The civil action brought by Twenty-Nine Palms against Robert Rosette had been
27
     pending for the better part of a year with rumors of federal indictments forthcoming (see
28
                                          55      Case No.: 17-CV-01436 GPC MDD
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 1   Twenty-Nine Palms Band of Mission Indians of Cal. v. Edwards, Kovall, Rosette, et al.,
 2   No. 30-2009 00311045, Dkt. No. 1 (Orange County Sup. Ct. Oct. 13, 2009)), and Mr.
 3   Rosette had also begun taking a position with another one of his clients that Cheryl
 4   Williams and Kevin Cochrane felt was irreconcilable with his representation of Pauma.
 5   As to that, Robert Rosette had negotiated a compact for Upper Lake with the State of
 6   California in 2009 that required the tribe to pay 15% of its net win in order to operate 750
 7   machines.27 And yet, at the same time this partially-executed compact was awaiting state
 8   and federal approvals and Robert Rosette was positing that the revenue sharing fees were
 9   legal, Cheryl Williams and Kevin Cochrane were conversely arguing in the Pauma case
10   while working for Rosette & Associates that a 10-15% revenue sharing fee constituted an
11   illegal tax that necessarily required the voidance of a compact. Nevertheless, before leav-
12   ing, Cheryl Williams and Kevin Cochrane tried to sidestep the ethical and representation-
13   al issues by proposing, on or about April 28, 2010, to remain affiliated with Rosette &
14   Associates through a separate litigation-oriented “of counsel” entity that would be far re-
15   moved from the day-to-day entanglements in which the firm found itself mired – a propo-
16   sal that Robert Rosette quickly rejected. 141. As for the Upper Lake compact, after the
17   Assistant Secretary for Indian Af-fairs refused to approve the agreement on account of it
18   “impos[ing] a tax, fee, charge, or other assessment on a tribally-owned gaming facility in
19   violation of IGRA,”28 Robert Rosette rushed to meet with the newly-elected Governor
20   Brown and negotiated a replace-ment compact for Upper Lake that once again included a
21   15% revenue sharing fee for 750 devices, only this time the fee escalated up to that
22   point.29
23
           27
24            A true and correct copy of excerpts of the 2009 “Tribal State Compact between
25
     the State of California and the Habematolel Pomo of Upper Lake” is attached hereto as
     Exhibit 26.
           28
26            A true and correct copy of the August 17, 2010 letter from Assistant Secretary –
27
     Indian Affairs Larry Echo Hawk to Upper Lake Chairperson Sherry Treppa is attached
     hereto as Exhibit 27.
28         29
              A true and correct copy of excerpts of the March 17, 2011 “Tribal State Compact
                                              56          Case No.: 17-CV-01436 GPC MDD
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 1         142. This second Upper Lake compact was roundly denounced by gaming tribes
 2   throughout California, who felt that Governor Brown took advantage of a tribe that was
 3   willing to “cut… a quick deal” and now had a template that his office could and would
 4   impose in all subsequent compact negotiations. When the attorney who litigated the sem-
 5   inal Rincon Band of Luiseno Mission Indians of Rincon Reservation v. Schwarzenegger,
 6   602 F.3d 1019 (9th Cir. 2010) (concluding that “[t]he State’s demand for 10-15% of…
 7   net win… is simply an impermissible demand for the payment of a tax by the tribe.”),
 8   sent out a scathing mass e-mail that claimed the revenue sharing structure of the new
 9   Upper Lake compact was nothing more than “a tax… a tax… a tax,” Robert Rosette fired
10   back, explaining that “[i]t is completely unreasonable to expect Indian Tribes to pay little
11   or nothing in exchange for compacts.”30
12         143. Meanwhile in the Pauma suit, the departure of Cheryl Williams and Kevin
13   Cochrane from Rosette & Associates meant that Robert Rosette and his firm were first
14   tasked with opposing a motion for stay by the State of California that asked the Ninth
15   Circuit to halt the injunction order for the duration of the interlocutory appeal – a motion
16   that the Ninth Circuit would soon thereafter grant. See Pauma, No. 10-55713, Dkt. Nos.
17   15 & 39 (9th Cir. June 11, 2010 & July 28, 2010).
18         144. Just two days after Rosette & Associates filed its opposition brief, on Sunday,
19   June 13, 2010, the Pauma General Council convened for a meeting and voted to terminate
20   Rosette & Associate’s contract and to replace the firm with Williams & Cochrane.
21         C. Robert Rosette’s Tortious Interference with Williams & Cochrane’s Con-
              tract with Pauma (Part One)
22
           145. After assuming the representation, Williams & Cochrane was able to get the
23
     injunction order back into effect after the State of California made overtures threatening
24
     to terminate Pauma’s compact rights altogether. See Pauma, No. 10-55713, Dkt. No. 55
25

26   between the State of California and the Habematolel Pomo of Upper Lake” is attached
27
     hereto as Exhibit 28.
           30
              A true and correct copy of a March 24, 2011 e-mail from Robert Rosette to Scott
28   Crowell is attached hereto as Exhibit 29.
                                             57          Case No.: 17-CV-01436 GPC MDD
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 1   (9th Cir. Aug. 23, 2010) (order granting Pauma’s emergency motion and reinstating the
 2   injunction).
 3         146. From thereon, Williams & Cochrane litigated the Pauma case on their own
 4   for the next six-plus years, ultimately convincing Judge Bencivengo to rescind the 2004
 5   Amendment and restitute the $36.2 million in heightened revenue sharing paid under the
 6   agreement on account of a misrepresentation claim that Williams & Cochrane added to
 7   the complaint on September 9, 2011 – a full fifteen months after Robert Rosette was
 8   terminated from the case. See Pauma, No. 09-01955, Dkt. No. 130, pp. 54-58 (S.D. Cal.
 9   Sept. 9, 2011).
10         147. An utter lack of involvement in the case has, nevertheless, not stopped Robert
11   Rosette for taking credit for the outcome in the Pauma litigation for three years now, as
12   his website (and presumably numerous other promotional materials) advertises that “Mr.
13   Rosette also successfully litigated a case saving the Pauma Band of Luiseno Mission
14   Indians over $100 Million in Compact payments allegedly owed to the State of California
15   against then Governor Schwarzenegger.” See Exs. 6, 7.
16         148. This claim that he had litigated the case has even been repeated in a profile of
17   Robert Rosette that was disseminated in both print and electronic form as part of a “25
18   People to Watch in the Gaming Industry” piece by the Global Gaming Business Maga-
19   zine. As to that, this profile for Robert Rosette ends by stating that:
20         Rosette’s litigation experience includes Indian tribal cases involving public
           interest and civil rights. … Rosette also successfully litigated a case saving
21
           the Pauma Band of Luiseno Mission Indians over $100 million in compact
22         payments allegedly owed to the State of California against then-Governor
           Arnold Schwarzenegger.31 32
23
           149. Williams & Cochrane is informed and believes that Robert Rosette has been
24
     making similar claims about his supposed involvement in litigating the Pauma suit in
25
           31
26           A true and correct copy a December 19, 2012 Global Gaming Business
27
     Magazine article entitled “Legal Eagle: Rob Rosette” is attached hereto as Exhibit 30.
          32
             A true and correct copy of the home page of the Global Gaming Business
28   Magazine website as it appeared on January 5, 2013 is attached hereto as Exhibit 31.
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 1   other advertisements, promotional materials, and in both oral and written solicitations
 2   that have been transmitted or otherwise done across State lines, including to Quechan
 3   (see Section II(G), infra).
 4         150. The termination of Robert Rosette from the compact litigation by the Pauma
 5   General Council should have marked the end of his interaction with Williams & Coch-
 6   rane, but the lure of the monies saved by the injunction order brought him back around.
 7   To explain, in an act of prudence, the monies Pauma saved under the injunction order
 8   issued by Judge Burns were placed into a special, set aside account so the tribe would not
 9   find itself in a financial bind if this preliminary remedy (which the Ninth Circuit had
10   already stayed for a brief period of time) was overturned and then vacated en toto.
11         151. Before his termination, on April 29, 2010, Robert Rosette wrote an opinion
12   letter that was not shared with any other attorneys in his firm working on Pauma’s
13   compact litigation in which he opined that the injunction savings “could… be distributed
14   to Pauma’s Tribal Government” even though the General Council had made no such
15   directive.33 Following his removal, Robert Rosette transmitted a June 23, 2010 letter to
16   Pauma’s then-Chairman Christobal Devers in which he acknowledged his termination
17   from the compact litigation, suggested that Williams & Cochrane attorneys were
18   “seek[ing] to have their selfish concerns take precedent [sic] over the best interests of the
19   Tribe” by urging caution with the injunction savings in light of the substandard quality of
20   the opposition brief Mr. Rosette filed before his termination, and stated that “[p]erhaps
21   their issuance of a Legal Opinion allowing the tribe to distribute [the reserved] funds to
22   the General Council will demonstrate the contrary.” Based on information and belief,
23   Williams & Cochrane believes that Robert Rosette was trying to get the injunction sav-
24   ings freed up for his own personal gain, not for the benefit of the Pauma General Council.
25         152. What followed next was a five-month quest to tap into the injunction savings
26   by removing Williams & Cochrane from the picture. At the time, Robert Rosette still had
27         33
             A true and correct copy of the June 23, 2010 letter from Robert Rosette to
28   Christobal Devers, then-Chairman of Pauma, is attached hereto as Exhibit 32.
                                           59            Case No.: 17-CV-01436 GPC MDD
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 1   a powerful ally on the Pauma Tribal Council – then-Chairman Christobal Devers – and
 2   Williams & Cochrane is informed and believes that Mr. Rosette advised Chairman De-
 3   vers both in writing and telephonically to withhold payment of the firm’s invoices in the
 4   hopes that the action would financially devastate the new business and enable Rosette &
 5   Associates to take over the work.
 6         153. As such, even though Williams & Cochrane began working for Pauma almost
 7   immediately after the General Council vote on June 13, 2010, it nevertheless did not
 8   receive its first payment until the morning of October 3, 2010 – just moments before
 9   Williams & Cochrane was set to present to the General Council for the first time on the
10   status of the compact litigation.
11         154. However, before this happened, both Cheryl Williams and Kevin Cochrane
12   met with the Pauma Tribal Council on Friday, August 6, 2010 during which then-
13   Chairman Devers indicated that he would never pay Williams & Cochrane under their
14   contract and suggested that the two attorneys walk away from the representation alto-
15   gether or he would “ruin [their] reputation in Indian Country” – an abnormal statement
16   that is practically verbatim to the one contained within the June 26th letter from putative
17   Quechan President Keeny Escalanti that was actually written by Robert Rosette or an
18   attorney in his employ.
19         155. Based on information and belief, Williams & Cochrane believes that Robert
20   Rosette instructed Pauma’s then-Chairman Christobal Devers both telephonically and
21   electronically in the days leading up to the August 6th meeting to threaten the attorneys
22   from Williams & Cochrane in the hopes that it would get them to abandon their client,
23   allow Mr. Rosette to take over the representation, and precipitate the freeing up of the
24   millions of dollars in injunction savings.
25         D. Robert Rosette’s Tortious Interference with Williams & Cochrane’s Con-
              tract with La Pena Law
26
           156. The aforementioned efforts by Robert Rosette to sever Williams & Coch-
27
     rane’s contractual relationship with Pauma coincided with attempts to accomplish the
28
                                          60      Case No.: 17-CV-01436 GPC MDD
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 1   same elsewhere.
 2         157. In 2010, one of the more successful Indian law attorneys in the State of
 3   California was an individual named Michelle La Pena, who ran a small law firm in her
 4   own name that was located near downtown Sacramento at 2311 Capitol Ave., Sacramen-
 5   to, California 95816. See La Pena Law Corporation, Homepage, available at http://lapena
 6   law.com/ (last visited July 4, 2017). At the time, Michelle La Pena represented a number
 7   of the largest gaming tribes in the State of California, including the Yocha Dehe Wintun
 8   Nation – a tribe that operated the 2,000-machine Cache Creek Casino approximately
 9   thirty miles west of Davis and Woodland, California – and the Shingle Springs Ranch-
10   eria, which about a year-and-a-half earlier opened the 2,000-machine Red Hawk Casino
11   directly off of Interstate 80 about fifteen miles east of Folsom, California.
12         158. The Shingle Springs Rancheria is a tribe that experienced a somewhat similar
13   compact fate as Pauma, in that it sought to obtain gaming device licenses under its origin-
14   al compact, but was told by the CGCC that it would have to execute an amendment in
15   order to increase its device count. Shingle Springs did this and entered into an amend-
16   ment with the State of California on June 30, 2008 that allowed it to increase its machine
17   count in exchange for a staggering General Fund fee of 20% on the first $200 million in
18   net win each year plus another $4,600,000 in annual fees that went into the RSTF. See
19   California Gambling Control Commission, Amendment to the Tribal-State Gaming
20   Compact between the State of California and the Shingle Springs Band of Miwok Indians
21   §§ 4.3.1 & 4.3.2.2, available at http://www.cgcc.ca.gov/documents/compacts/amended_
22   compacts/Shingle_Springs_Compact.pdf (last visited July 4, 2017).
23         159. Knowing that Michelle La Pena served in a general-counsel-like capacity for
24   these tribes and was not an experienced litigator, Kevin Cochrane met with Ms. La Pena
25   at her offices during the second half of July 2010 to discuss whether their firms could
26   work together to solve Shingle Springs’ compact issue.
27         160. The initial meeting was productive, as Williams & Cochrane entered into an
28   of counsel relationship with La Pena Law and was immediately tasked with preparing a
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 1   presentation that Michelle La Pena could pitch to the Shingle Springs Tribal Council in
 2   order to see if it had any interest in fixing the tribe’s amended compact.
 3         161. On or about Wednesday, August 4, 2010, Kevin Cochrane provided Michelle
 4   La Pena with the desired litigation memorandum and supporting materials, which in turn
 5   led her to ask Mr. Cochrane to meet her at her office on the ensuing Wednesday, August
 6   11, 2010.
 7         162. During the August 11th meeting, Michelle La Pena stated that she was rather
 8   impressed with the quality of the Shingle Springs litigation memorandum and asked
 9   Kevin Cochrane to prepare a number of last minute documents for a temporary restrain-
10   ing order hearing that she had to appear at the following morning. After Mr. Cochrane
11   agreed to do this last-minute work, Michelle La Pena explained that she thought the of-
12   counsel arrangement was not enough, and wanted to either absorb or merge with
13   Williams & Cochrane. Michelle La Pena told Kevin Cochrane to take some time to think
14   over the proposal and then provided him with a copy of a litigation memorandum Robert
15   Rosette had recently sent her “explor[ing] the possibility of compact litigation for…
16   Shingle Springs… based on its similarities to the Pauma Band of Mission Indians,” to
17   alert him to the fact that Robert Rosette, who at this point had been terminated from the
18   Pauma compact litigation for almost two months, was representing that he was respon-
19   sible for litigating the Pauma case and was trying to drum up work with Shingle Springs
20   through her on that basis.34
21         163. Based on information and belief, Williams & Cochrane believes that Michelle
22   La Pena spoke with Robert Rosette while vetting Kevin Cochrane and Williams & Coch-
23   rane at some point between Thursday, August 12, 2010 and the morning of Sunday, Aug-
24   ust 15, 2010, and was told by Mr. Rosette that the attorneys of Williams & Cochrane had
25   “stole” his client and would invariably “steal” her clients as well. Williams & Cochrane
26   is further informed and believes that these comments were made by Robert Rosette as
27         34
             A true and correct copy of an August 2, 2010 memorandum from Rosette &
28   Associates, PC to La Pena Law Corporation is attached hereto as Exhibit 33.
                                           62            Case No.: 17-CV-01436 GPC MDD
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 1   part of a strategy to put Williams & Cochrane out of business, months into its existence,
 2   and secure more work and opportunities (like accessing the Pauma injunction savings) for
 3   his own firm.
 4         164. At 11:25 a.m. on the morning of Sunday, August 15, 2010, just four days
 5   after suggesting that Williams & Cochrane merge with or be acquired by her firm, Mi-
 6   chelle La Pena e-mailed Kevin Cochrane and explained that she was ending the of coun-
 7   sel arrangement altogether, and “apologize[d]” if the decision “comes as a surprise, as I
 8   really like you and think you have a great career ahead of you.”35 Though stating that the
 9   quality of work prepared by Williams & Cochrane was “quite stellar,” Michelle La Pena
10   went on to explain for the first time that “[t]here are issues with confidentiality and con-
11   flicts that I do not believe we can overcome with your firm.”
12         165. With that, Michelle La Pena terminated all communication with Williams &
13   Cochrane. In other words, the August 15th e-mail from Michelle La Pena to Kevin Coch-
14   rane marks the last communication that Ms. La Pena has ever had – whether electronic-
15   ally, telephonically, or in person – with either Mr. Cochrane or Cheryl Williams.
16         E. Robert Rosette’s Tortious Interference with Williams & Cochrane’s Con-
              tract with Pauma (Part Two)
17
           166. After the La Pena incident, Cheryl Williams and Kevin Cochrane long feared
18
     that Robert Rosette had become emboldened and would try to interfere with their other
19
     contracts, especially with respect to Pauma’s compact litigation since the amount of set-
20
     aside monies saved by the injunction order grew as time went on.
21
           167. Unfortunately, this situation came to pass during the summer of 2011. On
22
     August 4, 2011, the counsel of record for the State of California in the compact litigation
23
     – Deputy Attorney General T. Michelle Laird – called Cheryl Williams and in a rather
24
     audibly uncomfortable manner explained that, after she “thought about it for a few days,”
25
     she felt her ethical duties required her to disclose that Robert Rosette and his firm had set
26

27         35
            A true and correct copy of an August 15, 2010 e-mail from Michelle La Pena to
28   Kevin Cochrane is attached hereto as Exhibit 34.
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                               FIRST AMENDED COMPLAINT
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 1   up a meeting with the Office of the Governor’s then-compact negotiator (i.e., Jacob
 2   Appelsmith) for August 18, 2011, with the intention of settling “the federal [compact]
 3   case.” See, e.g., Pauma, No. 09-01955, Dkt. Nos. 118-2, 123-1 (S.D. Cal. Aug. 22, 2011).
 4         168. At the time, Williams & Cochrane had no idea how this meeting was set up,
 5   and the State of California was neither willing to disclose that information nor cancel the
 6   August 18th settlement meeting. In light of this situation, Williams & Cochrane filed a
 7   motion for protective order on August 15, 2011, asking the district court to direct the
 8   State’s negotiator (who was a private attorney and not a public official) to communicate
 9   through proper channels when dealing with matters related to Pauma’s compact or the
10   pending litigation. See Pauma, No. 09-01955, Dkt. No. 118 (S.D. Cal. Aug. 15, 2011).
11         169. The actual communications between Rosette, LLP and the State’s negotiator
12   were not before the district court as part of Pauma’s motion for protective order, but have
13   been included as an exhibit to this complaint. See Ex. 1. The exchange started with
14   Richard Armstrong – a senior of-counsel attorney at Rosette, LLP who is typically deeply
15   involved in Robert Rosette’s schemes and appears to be an active participant in the Que-
16   chan situation (see ¶ 120) – sending an e-mail to Mr. Appelsmith on July 26, 2011 ex-
17   plaining that the Pauma “Tribal Council respectfully requests a meeting with the Gov-
18   ernor’s office at your earliest convenience to discuss compact related matters.” See Ex. 1.
19   As is the case with every communication between Rosette, LLP and the State’s negotiator
20   detailed below, not a single person affiliated with Pauma – including all four of the Tribal
21   Councilmembers – was carbon copied or otherwise included on this e-mail.
22         170. The following morning, Jacob Appelsmith replied to Richard Armstrong and
23   asked whether the desired meeting would involve “settlement discussion in the lawsuit”
24   or instead “seek[ ] to amend or renegotiate the compact.” See Ex. 1. After presenting
25   these two options, Jacob Appelsmith suggested that “[i]t would seem to make more sense
26   to have a settlement discussion since the lawsuit is about the compact, but I leave that up
27   to you.” See id.
28         171. Richard Armstrong responded by e-mail at 2:00 p.m. that afternoon, stating
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 1   “[t]he tribe indeed wants to meet without their attorneys present in order to establish a
 2   better government to government relationship with the goal of settling the pending
 3   lawsuit with a new compact.” See Ex. 1.
 4         172. A mere ten minutes later, and before Jacob Appelsmith could respond, Robert
 5   Rosette sent a follow-up e-mail to Mr. Appelsmith, explaining that his firm was “not
 6   engaged as legal counsel on the litigation,” Pauma had not hired him to do the work, but
 7   he nevertheless wanted to set up a settlement process that would not involve the tribe’s
 8   attorneys of record but would involve him and his firm after an initial meeting between
 9   the parties:
10         Jacob,
11         I believe only the first meeting is without lawyers. Obviously thereafter we
           will need to be involved. The good news is that the Tribe wants to pull us in,
12
           and as you know, we are not engaged as legal counsel on the litigation. The
13         Tribe expressed to me a desire to settle the lawsuit through compact
           negotiations. I think they want to meet with you to understand this process
14
           first.
15         Thanks,
16         - Rob.
17   See Ex. 1.
18         173. In response to hearing that an attorney who admittedly had not been hired by
19   a tribe was nevertheless interested in settling a federal lawsuit behind the backs of the
20   tribe’s counsel of record, Jacob Appelsmith replied that he wanted to go forward with the
21   settlement negotiation and to do so without other attorneys present:
22         I would like to meet with the Tribe and to do so as a settlement negotiation,
           and I assume there will be no lawyers present (except myself, which I can’t
23
           avoid).
24
     See Ex. 1.
25
           174. Yet, the filing of the motion for protective order caused all those involved to
26
     try and cover their tracks. Jacob Appelsmith transmitted a letter to Pauma postponing the
27
     planned August 18, 2011 settlement negotiation (see Pauma, No. 09-01955, Dkt. No.
28
                                         65      Case No.: 17-CV-01436 GPC MDD
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 1   123-2, p. 6 (S.D. Cal. Aug. 22, 2011)), and Robert Rosette began to send e-mails to select
 2   members of the Pauma Tribal Council in the hopes of absolving himself of any wrong-
 3   doing.
 4            175. As to that, on August 23, 2011, Robert Rosette sent an e-mail that was
 5   addressed to the Pauma Tribal Council as a whole but excluded the tribe’s then-Chairman
 6   Randall Majel from the recipient list.36 The purpose of the e-mail was to transmit two
 7   pre-prepared letters that Robert Rosette wanted one of the Pauma Tribal Councilmembers
 8   to sign at a meeting later in the day. The first letter was one prepared for the signature of
 9   Pauma’s then-Secretary/Treasurer by Robert Rosette explaining that Mr. Rosette’s
10   actions were appropriately authorized and that the tribe would “not hold [Mr. Rosette’s]
11   firm liable for any unauthorized actions with the State of California, because no such
12   actions were taken.”37 In pertinent part, this letter drafted by Robert Rosette for the ben-
13   efit of Robert Rosette states:
14            This letter is to make clear that your firm’s action with respect to scheduling
              a meeting with the Governor’s Office, and any communications related
15
              thereto, were all done at the express directive of the Tribal Council. You
16            notified every Tribal Council member of your actions and your
              communications with the Governor’s Office at every stage during this
17
              process. We do not and will not hold your firm liable for any unauthorized
18            actions with the State of California, because no such actions were taken. It is
              not the intention of the Tribal Council that any recently filed briefs may have
19
              indicated the contrary.
20
     See Ex. 36.
21
              176. The second letter attached to Robert Rosette’s August 23rd e-mail was a simi-
22
     lar one intended for the signature of Pauma’s Secretary/Treasurer that was instead addres-
23

24
              36
25
              A true and correct copy of an August 23, 2011 e-mail from Robert Rosette to
     various members of the Pauma Tribal Council is attached hereto as Exhibit 35.
           37
26            A true and correct copy of the draft August 23, 2011 letter purportedly from
27
     Pauma’s then-Secretary/Treasurer Bennae Calac to Robert Rosette, which was prepared
     by Robert Rosette and attached to the aforementioned August 23rd e-mail, is attached
28   hereto as Exhibit 36.
                                            66           Case No.: 17-CV-01436 GPC MDD
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 1   sed to the State’s negotiator Jacob Appelsmith.38 As with the first one, this letter again
 2   contains a disclaimer that the actions taken by Robert Rosette were done at the “express
 3   directive of the Tribal Council” and that “Rosette, LLP notified every Tribal Council
 4   member of his actions and his communications with the Governor’s Office at every stage
 5   during this process.”
 6         177. Based on information and belief, Williams & Cochrane believes that Pauma’s
 7   then-Secretary/Treasurer would not sign the two letters prepared by Robert Rosette that
 8   sought to absolve Mr. Rosette of any wrongdoing, which in turn led Mr. Rosette to pres-
 9   sure Pauma’s then-Chairman Randall Majel (whom he had omitted from the earlier com-
10   munications) telephonically over the course of the next twenty days to sign a watered-
11   down version of the initial letter.
12         178. When the motion for protective order finally came on for hearing in the Pau-
13   ma case on May 18, 2012, Judge Bencivengo took issue with Robert Rosette even though
14   she did not have the benefit of any of the e-mails discussed above. In pertinent part,
15   Judge Bencivengo stated:
16         Well, I have a different issue with Mr. Rosette, who is not here today I
           believe[,] as to whether or not he should be out purporting that he represents
17
           your client when it’s not clear to me that he actually has that authority based
18         on some of the declarations that were provided.
19   See Pauma, No. 09-01955, Dkt. No. 182, 19:1-5 (S.D. Cal. May 23, 2012).
20         179. Ultimately, Judge Bencivengo directed the State of California to interact with
21   Pauma’s counsel of record and to agree upon “protocol to control settlement discussions
22   in this matter” (see Pauma, No. 09-01955, Dkt. No. 183 (S.D. Cal. May 23, 2012)),
23   though she refrained from doing anything about Mr. Rosette since, as was mentioned
24   above, he was not formally part of the proceeding.
25
           38
26            A true and correct copy of the draft August 23, 2011 letter purportedly from
27
     Pauma’s then-Secretary/Treasurer Bennae Calac to Jacob Appelsmith, which was
     prepared by Robert Rosette and attached to the aforementioned August 23rd e-mail, is
28   attached hereto as Exhibit 37.
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 1         F. Robert Rosette’s Tortious Interference with Williams & Cochrane’s Con-
 2            tract with Pauma (Part Three)

 3
           180. The motion for protective order process put an end to any direct interference

 4
     from Robert Rosette in the compact litigation, but the conclusion of the suit in September

 5
     2016 led him to resurface.

 6
           181. As mentioned earlier, the final remedies in Pauma’s compact litigation were

 7
     rescission of the 2004 Amendment and restitution of roughly $36.3 million in overpay-

 8
     ments that the tribe made to the State of California while operating under the agreement.

 9
     The rescission remedy meant that Pauma went back to the 1999 Compact – an agreement

10
     that has a quickly-approaching initial expiration date of December 31, 2020.

11
           182. After acquiring the aforementioned remedies in its compact litigation, the

12
     Pauma General Council tasked Williams & Cochrane with wrapping up its dispute with

13
     the State of California by negotiating or litigating for a successor agreement to the 1999

14
     Compact.

15
           183.

16

17
                                                         39
18
                                                              Based on information and belief,

19
     Williams & Cochrane believes that Robert Rosette was intending to propose taking over

20
     all the legal work done by Williams & Cochrane – both compact and otherwise – for a

21
     nominal sum in the hopes of convincing some segment of the Pauma Tribal Council to

22
     set up an online payday lending enterprise along the lines of the ones he started for the

23
     Picayune Rancheria of Chukchansi Indians a few years earlier. See Section IV, infra.

24
           184. What is worse, with that overture going nowhere, Williams & Cochrane is

25
     informed and believes that Robert Rosette is now attempting to sneak back into Pauma

26
     without either the Tribal Council or General Council’s consent or even awareness by

27         39
                A true and correct copy of a
28                                               is attached hereto as Exhibit 38.
                                           68         Case No.: 17-CV-01436 GPC MDD
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 1   surreptitiously working for the new general manager of the tribe’s subordinate gaming
 2   facility (i.e., Michael Olujic) with whom Mr. Rosette has a preexisting relationship. See
 3   Facebook, Profile for Michael Olujic, available at https://www.facebook.com/profile.
 4   php?id=100011493673519 (last visited July 5, 2017) (listing Robert Rosette as one of
 5   Michael Olujic’s “friends”). Such an arrangement is extremely dangerous for Pauma
 6   since it may provide Robert Rosette with access to the funds that remain from the provis-
 7   ional and final remedies the tribe obtained in its prior compact suit against the State of
 8   California.
 9         G. Robert Rosette’s Tortious Interference with Williams & Cochrane’s Con-
              tract with Quechan
10
           185. Though Robert Rosette resurfaced at Pauma in November 2016, Williams &
11
     Cochrane is informed and believes that he did not appear at Quechan until the first few
12
     months of this year – long after the execution of the Attorney-Client Fee Agreement.
13
           186. Quechan’s government is similar in structure to most other tribes in Southern
14
     California, in that it has a Tribal Council that is responsive to a General Council with
15
     whom it meets on regular intervals.40 With that said, Quechan does vest some additional
16
     authority in its Tribal Council on account of its larger-than-average membership. Where-
17
     as Pauma and most Southern California tribes leave decisions regarding the retention of
18
     legal counsel up to the General Council, Quechan gives the Tribal Council a say in the
19
     process so long as it “protect[s] and advance[s]… the rights of the Tribe and its mem-
20
     bers.” See Ex. 39 at § 6(d). The relevant section of the Quechan Constitution states in
21
     pertinent part:
22
           Section 6. The Tribal Council shall have the power:
23
           (d)     To employ legal counsel for the protection and advancement of the
24                 rights of the Tribe and its members[.]
25   See Ex. 39 at § 6(d).
26
           40
27
             A true and correct copy of the November 18, 1974 “Constitution and By-Laws
     of the Quechan Tribe of the Fort Yuma Reservation California” is attached hereto as
28   Exhibit 39. See Art. III of the Bylaws.
                                             69       Case No.: 17-CV-01436 GPC MDD
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 1         187. Pursuant to this grant of authority, the Quechan Tribal Council hired Williams
 2   & Cochrane to solve its compact dispute with the State of California, and also tasked the
 3   primary attorney with its longstanding general counsel (i.e., Thane Sommerville with the
 4   Seattle-based firm of Morisset, Schlosser, Jozwiak & Somerville) to handle negotiations
 5   with Governor Doug Ducey’s office for a compact that would govern class III gaming on
 6   the small portion of the reservation that falls within the geographical boundaries of the
 7   State of Arizona. See, e.g., Quechan Indian Tribe v. United States, No. 02-01096 JAH
 8   MDD (S.D. Cal. filed on June 7, 2002) (listing the Morisset firm as counsel of record for
 9   Quechan); see also Section IV, infra.
10         188. Over the past year, Governor Ducey’s office has engaged in joint negotiations
11   with the tribes in the State of Arizona in the hopes of creating a model compact that all
12   the tribes would accept.
13         189. Robert Rosette has been involved in these discussions on behalf of the Tonto
14   Apache tribe (a/k/a the Tonto Apache Tribe of Arizona in the Federal Register), a small
15   tribe in Payson, Arizona, whom he recently convinced to start a payday lending business
16   similar to the one he started at Upper Lake that was sued in federal court by the Consum-
17   er Financial Protection Bureau for deceiving customers.
18         190. Though Governor Ducey has taken a very strong stance against payday lend-
19   ing, on information and belief, Robert Rosette decided to drum up extra compact work by
20   visiting many of the rural tribes in the State of Arizona and soliciting their business
21   (whether represented by legal counsel or not) by promising he could get them involved in
22   the payday lending and medical marijuana fields if they retained him.
23         191. In the course of these solicitations, Williams & Cochrane is informed and
24   believes that Robert Rosette met with a putative Councilmember of Quechan named
25   Mark William “Willie” White II (who himself is ether involved, or interested in getting
26   involved, in the marijuana industry through a company called Sovereign Hempire) at one
27   of the joint negotiation meetings that took place during the spring of 2017. With that said,
28   the relationship between Robert Rosette and putative Councilmember Willie White ex-
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 1   tends back further in time; as to that, while politicking for one of the Councilmember po-
 2   sitions in advance of Quechan’s general election of 2016, Mr. White informed the Gen-
 3   eral Council in or around December 2016 that he had an attorney “friend” who could get
 4   the tribe involved in the online payday lending industry if he were elected to office.
 5         192. Based on further information and belief, Williams & Cochrane also believes
 6   that, at or around the time of this meeting, putative Quechan Councilmember Willie
 7   White told Robert Rosette about Williams & Cochrane’s representation of his tribe in
 8   California compact negotiations and Mr. Rosette in a series of oral, written, and
 9   telephonic communications informed putative Councilmember Willie White and subse-
10   quently putative President Keeny Escalanti that, as advertised on his website, he was ac-
11   tually responsible for litigating the Pauma case and should take over the tribe’s represen-
12   tation in the negotiations from Williams & Cochrane. Williams & Cochrane is further
13   informed and believes that Robert Rosette offered to replace Williams & Cochrane at a
14   significantly discounted rate, which he was able to do by positioning himself to take a
15   large percentage of the revenues from the payday lending business that he is trying to sell
16   to the tribe in a deal on which he is the attorney for both of the participants in the trans-
17   action. Moreover, Williams & Cochrane is further informed and believes that Robert Ro-
18   sette was able to persuade the putative Councilmembers to go along with his plan in part
19   by offering to give them a portion of the revenues he would receive from the payday
20   lending enterprise under the table a la Mr. Rosette’s alleged arrangement with Mr. Kovall
21   at 29 Palms.
22         193. Based on further information and belief, Williams & Cochrane also believes
23   that, at or around the time of this meeting, Robert Rosette instructed putative Council-
24   member Willie White and putative President Keeny Escalanti to breach the Attorney-
25   Client Fee Agreement by withholding payment under the contract – the exact same thing
26   that Mr. Rosette had previously advised Pauma’s then-Chairman Christobal Devers to do
27   in 2011. Based on further information and belief, Williams & Cochrane also believes the
28   putative Quechan Councilmembers who were involved with Robert Rosette followed his
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 1   directive and withheld payment to Williams & Cochrane for approximately three-and-a-
 2   half months – finally only remitting the overdue payments contemporaneous with the
 3   transmission of the supposed June 26th termination letter from putative Quechan Presi-
 4   dent Keeny Esclanti to Williams & Cochrane.
 5         194. However, Williams & Cochrane is further informed and believes that, unlike
 6   his interference at Pauma in 2011 where he sought to cause an immediate severing of the
 7   tribe’s contractual relationship with the firm, Robert Rosette realized that the complex
 8   and delicate negotiations between Quechan and the Office of the Governor were outside
 9   of his competence, despite this public attestations to the contrary, so he simply instructed
10   putative President Keeny Escalanti to use Williams & Cochrane up until the terms of a
11   final compact had been agreed upon in principle, at which point putative President Keeny
12   Escalanti would terminate the firm to try and avoid paying the contingency fee (whether
13   or not he was empowered to do so, and whether or not the other Tribal Councilmembers
14   even knew about this action) and then hand the representation to Mr. Rosette so he could
15   take the credit for the work. Not only that, but Williams & Cochrane is further informed
16   and believes that Robert Rosette plans to pitch the Quechan compact that “he” suppos-
17   edly negotiated to his general manager friend at Pauma’s gaming facility with the intent
18   of interfering yet again with Williams & Cochrane’s contractual relations with the tribe,
19   in large part so he can try and set-up a self-serving, sham payday lending business at that
20   tribe as well.
21         195. Yet, as Quechan or some contingent of its government had this plan in place,
22   the tribe was nevertheless acting like it was carrying out the terms of the Attorney-Client
23   Fee Agreement by, amongst other things,
24

25

26

27

28
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 9         196. Nevertheless, as previously mentioned, putative Quechan President Keeny
10   Escalanti sent Williams & Cochrane a Rosette-drafted termination letter on June 26, 2017
11   that contained an unusual and nearly identical threat to the one Robert Rosette instructed
12   Pauma’s then-Chairman Christobal Devers to make in 2011 – “We strongly advise you
13   against pressing your luck further out of concern for the reputation of your firm in Indian
14   County and in the State of California.”
15         197. If not for Robert Rosette’s interference in the matter, Quechan would have
16   signed the compact Williams & Cochrane had negotiated with the State of California on
17   or about June 30, 2017 – approximately three days after the transmission of putative Que-
18   chan President Keeny Escalanti’s June 26th termination letter.
19         198. The State legislature would have then ratified the agreement on or about Sep-
20   tember 15, 2017 (as it has never rejected a Governor Brown negotiated compact), and the
21   Secretary of the Interior would have approved the compact roughly forty-five days later
22   when it published its notice of approval in the Federal Register. See, e.g., 25 U.S.C. §
23   2710(d)(8)(C) (explaining the Assistant Secretary shall make a decision on the legality of
24   the compact no later than “45 days after the date on which the compact is submitted”).
25         199. Thus, if not for Robert Rosette’s fraudulent and otherwise tortious interfer-
26   ence in this matter, Williams & Cochrane would have received monthly flat fees of
27   $50,000 for at least June, July, August, September, and October 2017, and a contingency
28   fee of approximately $5,959,916.10,
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 1

 2          Given this, the amount of actual contract damages caused by Robert Rosette inter-
 3   fering in this matter is equal to approximately $6,209,916.10.
 4   III.   THE CULMINATION OF THE BREACH AND TORTIOUS INTERFERENCE WITH THE
            ATTORNEY-CLIENT FEE AGREEMENT: QUECHAN USES ROBERT ROSETTE TO
 5
            EXECUTE THE COMPACT WILLIAMS & COCHRANE NEGOTIATED
 6
            200. With the 2017 legislative session nearing a close, Robert Rosette issued a
 7
     press release on September 5, 2017 – which he contemporaneously uploaded to his firm’s
 8
     website – to announce that “Governor Edmund G. Brown and the Fort Yuma Quechan
 9
     Indian Tribe… have signed a new Tribal-State Gaming Compact” that will “reduce the
10
     Tribe’s revenue sharing obligations by approximately four million dollars ($4,000,000)
11
     per year, and simultaneously increase the Tribe’s ability to generate revenues through its
12
     gaming operations by providing the right to operate additional gaming facilities and
13
     gaming devices.”41 After reciting the benefits of the new compact, the press release, as it
14
     appears both on and off the Rosette, LLP website, directs those hoping to obtain “more
15
     information [about the compact to] contact: Robert Rosette” at either “(480) 889-8990”
16
     or “rosette@ rosettelaw.com.”
17
            201. The following day, on September 6, 2017, the Office of the Governor posted
18
     the executed compact on its website, which reveals that putative Quechan President
19
     Keeny Escalanti signed the agreement over a week earlier on Monday, August 28, 2017,
20
     and Governor Edmund G. Brown, Jr., countersigned the compact three days later on Aug-
21
     ust 31, 2017.42
22

23          41
               True and correct copies of both the generally-disseminated September 5, 2017
24   press release entitled “Governor Brown and The Fort Yuma Quechan Indian Tribe Sign
25
     New Tribal-State Gaming Compact” and the substantively-identical September 1, 2017
     “press release” that was placed on the Rosette, LLP website are attached hereto as one
26   combined Exhibit 40.
            42
27
               A true and correct copy of the August 31, 2017 “Tribal-State Compact between
     the State of California and the Quechan Tribe of the Fort Yuma Indian Reservation” is
28   attached hereto as Exhibit 41.
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 1          202. The core material terms of this executed compact are one and the same with
 2   those negotiated by Williams & Cochrane up through the draft compact it sent to the
 3   State of California on June 21, 2017. For instance, the executed compact still eliminates
 4   all non-regulatory revenue sharing on Quechan’s preexisting 1,100 machines, turning
 5   what was a General Fund fee of ten percent of net win that typically ranged from $4.4
 6   million to $5.2 million per year into an annual SDF payment of roughly $435,707.40. See
 7   Ex. 41 at § 4.3. In addition, the final compact also contains the new gaming rights Will-
 8   iams & Cochrane negotiated for Quechan, from the increase in the machine limit from
 9   1,100 to 1,600, to the right to operate three Gaming Facilities instead of one. See Ex. 41
10   at §§ 4.1(a), 4.2.
11          203. Moreover, the terms of the executed compact do not shy away from disclosing
12   the massive amount of money that Quechan will save every year as a result of the agree-
13   ment Williams & Cochrane negotiated, with both the Recitals and Section 4.8 containing
14   language along the lines of:
15          This Compact reduces the Tribe’s revenue sharing obligations by approxi-
            mately four million dollars ($4,000,000) per year, and simultaneously in-
16
            creases the Tribe’s ability to generate revenues through its Gaming
17          Operation by providing the right to operate additional Gaming Facilities and
            Gaming Devices.
18
     See Ex. 41 at Recitals & § 4.8.
19
            204. What the terms of the executed compact further show is that the State of Cali-
20
     fornia did not give Quechan any new concessions as a result of Robert Rosette finishing
21
     the tribe’s representation, and in fact actually clawed back on some of the ancillary
22
     benefits it had previously agreed to when negotiating with Williams & Cochrane,
23

24

25

26

27
                                                                         This is not the end of
28
                                         75      Case No.: 17-CV-01436 GPC MDD
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 1   the “claw backs” by the State, however.
 2         205. The reason Quechan did not immediately execute the compact after putative
 3   President Keeny Escalanti removed Williams & Cochrane from the representation seems
 4   to be that the Office of the Governor changed its negotiation position following the firm
 5   switch, suddenly demanding that Quechan pay back all the revenue sharing payments that
 6   the tribe missed under the 2007 Amendment.
 7         206. After two months of eleventh-hour negotiations on this issue, the State of Cal-
 8   ifornia apparently relented somewhat and agreed to execute the compact with Quechan so
 9   long as the tribe paid back roughly half of the amount it had failed to pay under the 2007
10   Amendment from July 2016 onward (i.e., $2 million), which the State memorialized by
11   inserting the following new section into the compact:
12         Sec. 4.8. Revenue Sharing Obligations Owing Under the 2006 Amend-
           ment.
13
           This Compact reduces the Tribe’s revenue sharing obligations by
14
           approximately four million dollars ($4,000,000) per year, and
15         simultaneously increases the Tribe’s ability to generate revenues through its
           Gaming Operation by providing the right to operate additional Gaming
16
           Facilities and Gaming Devices. In consideration of these immediate and
17         lasting benefits, the Tribe agrees to satisfy its outstanding payment
           obligations to the State under the 2006 Amendment, which obligations are
18
           ongoing and total approximately four million dollars ($4,000,000), exclusive
19         of interest, as of the execution date of this Compact, by making a reduced
           total payment of two million dollars ($2,000,000) to the State. The Tribe
20
           shall remit the payment required by this section over a period not to exceed
21         six years by paying four (4) equal quarterly installments in accordance with
           the provisions of section 5.2, subdivision (b). Any failure to remit any
22
           portion of the payments due under this section is subject to the provisions of
23         section 4.6, subdivisions (e) and (f). The parties agree that the reduction in
           the Tribe’s outstanding payment obligations under the 2006 Amendment
24
           constitutes a meaningful concession by the State in good faith and that
25         payment in full of the reduced amount by the Tribe in accordance with this
           section shall satisfy any past, present, or future claim the parties may have as
26
           to each other arising from the 2006 Amendment.
27
           207. As previously mentioned, repayment of past-due fees under the 2007 Amend-
28
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 1   ment was simply a non-issue for the Office of the Governor at the end of June 2017 when
 2   Mr. Dhillon and Ms. Drake were working with Williams & Cochrane on finalizing the
 3   terms of a compact that Quechan could sign just days later. Thus, allowing Williams &
 4   Cochrane to finish the compact work would have provided Quechan with $2,000,000 in
 5   immediate savings (which the tribe could have used to pay some of its legal bills) along
 6   with a slew of additional long-lasting benefits of even greater financial value,
 7

 8

 9
10

11         208. Despite these losses, putative Quechan President Keeny Escalanti was eager
12   to tout the benefits of the compact when he subsequently testified before the Senate Com-
13   mittee on Indian Affairs on October 4, 2017 about the tribe’s experience gaming under
14   IGRA. See United States Senate Committee on Indian Affairs, Testimony of Keeny Esca-
15   lanti, Sr. for the Oversight Hearing on “Doubling Down on Indian Gaming: Examining
16   New Issues and Opportunities for Success in the Next 30 Years” (Oct. 4, 2017), available
17   at    https://www.indian.senate.gov/sites/default/files/10.04.17      Keeny      Escalanti
18   Testimony.pdf (last visited Feb. 26, 2018).
19         209. The remarks by putative Quechan President Keeny Escalanti actually touched
20   upon the negotiations for both the California and Arizona compacts, the latter of which
21   the tribe had started nearly a year prior in November 2016. See, e.g., Dan Nowicki, Gov.
22   Ducey strikes deal to reopen Arizona tribal gaming compacts, ARIZONA REPUBLIC, Nov.
23   21, 2016, available at https://www.azcentral.com/story/news/politics/arizona/2016/11/21/
24   gov-doug-ducey-strikes-deal-reopen-arizona-tribal-gaming-compacts/94228690/           (last
25   visited Feb. 26, 2018). Though acknowledging that Quechan had not finished negotiating
26   the Arizona compact as of that date – something it still has not done as of the filing date
27   for this First Amended Complaint – putative President Keeny Escalanti nevertheless
28   ruefully expressed hope that a compact would get done at some point in the future, stating
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 1   “[t]he tribe [was] currently in the process of negotiating a new compact with State [sic] of
 2   Arizona, and is hopeful that Arizona will continue to recognize and appreciate the bene-
 3   ficial impact gaming revenues have on local rural communities.”
 4         210. What little putative Quechan President Keeny Escalanti had to say about the
 5   status of the slow-going Arizona compact negotiations contrasted with his in-depth testi-
 6   mony about the tribe’s rocky history of gaming in California and the benefits conferred
 7   by the new agreement that “Governor Brown’s administration worked tirelessly” to cre-
 8   ate that sought to turn the page on this turbulent past:
 9         To alleviate the financial hardship that we experienced under the 2006
           Amendment, our Tribe recently negotiated a new Tribal-State Compact with
10
           Governor Edmund G. Brown (“2017 Compact”). Governor Brown’s
11         administration worked tirelessly to finalize our new compact, allowing the
           parties to reach an agreement in August 2017, in time for the California
12
           Legislature to ratify the compact before the end of the year’s legislative
13         session. The Tribe commends and is grateful for the hard work exhibited by
           Governor Brown and his administration. We are pleased with the terms of
14
           our new compact, as it allows for an expansion of gaming devices while
15         offering up more favorable revenue-sharing provisions for the Tribe that will
           allow it to improve its financial status and augment services that we can
16
           provide its membership.
17
     IV.   DETAILS CONCERNING ROBERT ROSETTE’S ONLINE PAYDAY LOAN EMPIRE AND
18         THE EVENTS AT QUECHAN SUBSEQUENT TO THE FILING OF THIS ACTION

19         211. The law firm owned by Robert Rosette – Rosette, LLP – is one of the largest
20   in the federal Indian law field from a size perspective, with five offices, twenty-plus at-
21   torneys, and many millions of dollars in basic operational expenses.
22         212. Despite this, the law firm has a tendency to charge bargain-basement or even
23   nominal sums to perform legal tasks, even if they are time-intensive and require the work
24   of multiple attorneys. As an example of this, the declaration filed on behalf of putative
25   Quechan President Keeny Escalanti earlier in this case alleges that Robert Rosette agreed
26   to take over Quechan’s negotiations for both the California and Arizona compacts for a
27   flat fee of $10,000 a month. See Dkt. No. 29-2, ¶ 11.
28         213. The imbalance between this revenue stream and the multi-millions in annual
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 1   built-in overhead should raise legitimate questions about the business model for Rosette,
 2   LLP and the continued viability of the law firm. However, the reason Robert Rosette is
 3   able to charge these reduced sums is because actual legal work is often simply a means to
 4   an end, enabling Mr. Rosette to get into a tribe and make his real money through usually-
 5   discreet business transactions, like the internet-based payday lending schemes that he
 6   tries to sell to tribes.43
 7          214. Even with respect to these operations, what Robert Rosette will typically do is
 8   superficially charge a tribe a nominal fee in order to get the business up and running from
 9   a legal perspective. For instance, the contract Robert Rosette seemingly executed with the
10   Lac Courte Oreilles Band of Ojibwe Indians (“LCO”) contained a remuneration provision
11   requiring the tribe to pay $50,000 up front and then $10,000 – once again – for each of
12   the first “twenty (20) months beginning from the first month of the on-line lending oper-
13   ation launch to the public.”44
14          215. In order to get these operations off the ground once he has successfully come
15   in to a tribe either directly (by agreeing to start a payday loan business) or indirectly (by
16
            43
                Much of the substance for the allegations in this section derives from informa-
17
     tion publicly-disclosed by members of tribes for whom Robert Rosette started online
18   payday lending operations (see, e.g., LCO Today: A news and editorial blog covering the
     Lac Courte Oreilles Band of Ojibwe Indians in Hayward, Wisconsin, available at
19
     http://lcotoday.blogspot.com/ (last visited Feb. 21, 2018)), or from allegations in one of
20   the many lawsuits filed against such entities, including the action by the Consumer
     Financial Protection Bureau against the numerous payday loan businesses Mr. Rosette
21
     started for the Upper Lake tribe. See Golden Valley, No. 17-03155, Dkt. No. 1 (N.D. Ill.
22   filed on Apr. 27, 2017); see also Williams v. Big Picture Loans, No. 17-00461, Dkt. No. 1
23
     (E.D. Va. filed on June 22, 2017); Pennachietti v. Mansfield, No. 17-02582, Dkt. No. 1
     (E.D. Pa. filed on June 8, 2017); Finn v. Great Plains Lending, LLC, No. 16-00415, Dkt.
24   No. 1 (W.D. Okla. filed on Apr. 26, 2016); Decker v. RS Financial Services, LLC, No.
25
     14-00242, Dkt. No. 1 (W.D. Okla. Mar. 13, 2014). Thus, the traditional allegation-based
     disclaimer of “based on information and belief” will yield in this section to direct cita-
26   tions to the foregoing materials when appropriate.
             44
27
                A true and correct copy of an image from the LCO Today website that claims to
     be an excerpt of the attorney-client fee agreement between Rosette LLP and LCO is
28   attached hereto as Exhibit 42.
                                               79           Case No.: 17-CV-01436 GPC MDD
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 1   performing some other legal task), one of the first things that Robert Rosette will seek to
 2   do is remove any legal oversight that may try and curb the operations of the forthcoming
 3   payday loan business. For instance, this happened at the Tonto Apache tribe, where the
 4   emergence of Mr. Rosette and his law firm coincided with the termination of at least one
 5   tribal judge and the sudden departure of the tribe’s longstanding general counsel Glenn
 6   Feldman – the same Glenn Feldman who argued and won the landmark Cabazon case
 7   before the Supreme Court. See Cabazon, 480 U.S. at 204 (indicating “Glenn M. Feldman
 8   argued the cause for appellees,” the Cabazon and Morongo Bands of Mission Indians).
 9         216. The jettisoning of outside attorneys then provides the necessary breathing
10   room so Robert Rosette can create the legal infrastructure for a tribe to begin offering
11   payday lending. For instance, Mr. Rosette did this for the Lac Vieux Desert Band of Lake
12   Superior Chippewa Indians (“LVD”) by drafting its “Tribal Consumer Financial Services
13   Regulatory Code,” an allegation proven true, in part, by the fact that the document
14   properties for the PDF of the regulatory code on the tribal website identifies the author of
15   the document as a Rosette, LLP partner by the name of Karrie S. Wichtman.45 46 This
16   regulatory code explains that the LVD Tribal Council is thereby creating a “Tribal
17   Financial Services Regulatory Authority” that is responsible for “implementation of the
18   Code and regulations of the Tribe relating to consumer financial services activities and
19   associated requirements.” In lieu of creating a truly independent regulatory body along
20   the lines of what has arisen under IGRA with tribal gaming commissions, the regulatory
21   code instead suggests that the LVD Tribal Council has virtually total control over this
22   entity, even going so far as to provide it with the power to hire and fire the manager who
23         45
                A true and correct copy of excerpts of the Lake Vieux Desert Band of Lake
24   Superior Chippewa Indians’ “Tribal Consumer Financial Services Regulatory Code” is
25
     attached hereto as Exhibit 43. See Lake Vieux Desert Band of Lake Superior Chippewa
     Indians, Tribal Consumer Financial Services Regulatory Code, available at http://www.
26   lvdtribal.com/pdf/2014-10-31-Tribal-Consumer-Financial-Services-Regulatory-Code.pdf
27
     (last visited Feb. 21, 2018).
            46
               A true and correct copy of the document properties for the PDF of the foregoing
28   “Tribal Consumer Financial Services Regulatory Code” is attached hereto as Exhibit 44.
                                               80         Case No.: 17-CV-01436 GPC MDD
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 1   oversees the day-to-day operations of the Authority.
 2         217. An equal amount of tribal-council control exists on the operational side of the
 3   business as well. With the regulatory infrastructure in place, Robert Rosette then turns his
 4   attention to creating a structural hierarchy through which the tribe can engage in payday
 5   lending. At the top of this structure is typically a shell company that acts as a parent to a
 6   number of subordinate corporate entities that perform some particularized task, one of
 7   which being offering “payday” loans (or “installment” loans or whatever the en vogue
 8   term is for usurious, short-term loans) over the internet. As was the case with the regula-
 9   tory side, the basic operational agreement for the specific tribal corporation that engages
10   in online payday lending explains that a manager who serves at the whim of a board of
11   directors shall run the day-to-day operations of the entity.47 The chain of command has
12   the manager responding to a board of directors which is in turn responsive to the Tribal
13   Council – this governing body, after all, retains the power to appoint such board members
14   by choosing from either enrolled members of the tribe (i.e., a Tribal Councilmember or
15   someone affiliated with him) or outsiders with “substantial business, financial or industry
16   experience” (i.e., a Rosette, LLP attorney or someone affiliated with him).
17         218. Consolidating control over the regulatory and operational components of the
18   payday lending businesses at the Tribal Council level then allows Robert Rosette to cre-
19   ate a wall of separation between the entities and the tribe at large so the inner workings of
20   these enterprises are shrouded in mystery. In fact, the information disclosed by the tribal-
21   member reporter behind the LCO Today website details how the persons running the
22   online payday lending venture at LCO insisted on using an accounting firm separate and
23   a apart from the one relied upon by the tribe, and also refused to disclose basic financial
24   information about the entity to inquisitive tribal members, claiming such information is
25   “proprietary” in nature.
26
           47
27
              A true and copy of images from the LCO Today website that claim to be
     excerpts of the “Operating Agreement of Lac Courte Oreilles Financial Services, LLC” is
28   attached hereto as Exhibit 45.
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 1         219. Shortly after creating this business structure whereby the online payday
 2   lending business is responsive to the Tribal Council but not the tribe at large, allegations
 3   began to swirl around LCO that the payday lending entity had not been conducting audits
 4   and, furthermore, the Tribal Council had also been misusing monies, including roughly
 5   $800,000 in federal grant funds that was earmarked for the remediation of fifty-plus
 6   mold-infested homes on the reservation. See Duffy alleges gross mismanagement of funds
 7   for tribe, BARRON NEWS-SHIELD, June 21, 2017, available at http://www.news-
 8   shield.com/news/free_news/article_a1616b1c-5681-11e7-9b03-3778827028c0.html (last
 9   visited Feb. 21, 2017). Ultimately, one-hundred and thirteen (113) members of the tribe
10   petitioned their local United States House representative Sean Duffy to issue a formal
11   request that the Department of the Interior – in connection with other responsible federal
12   agencies – conduct an “independent forensic audit of all accounts, department and
13   agencies of or related to tribal activities.”48 After touring the reservation and seeing the
14   contaminated homes firsthand, Representative Duffy issued the public request on October
15   6, 2016, though he explained nearly a year later, on June 21, 2017, that the LCO Tribal
16   Council had failed to comply with the audit ultimately requested by the federal govern-
17   ment or even “provide[] [him] with a single document showing that the [federal grant
18   funds] were expended properly.”
19         220. The cloud of secrecy nevertheless enables Robert Rosette to set up the online
20   payday lending enterprise via a transaction he brokers in which the tribe essentially buys
21   a non-branded franchise from a company that sells a prepackaged payday loan business.
22         221. The resultant business operates along the lines of one of the ones created for
23   LCO – Blue Trust Loans – where an individual can log on to a website and obtain a
24   payday or “installment” loan of up to a set dollar amount which he then repays in regular
25   intervals over a certain and often convoluted period of time. One of the reasons discern-
26
           48
27
              A true and correct copy of an October 6, 2016 letter from Representative Sean P.
     Duffy to then-U.S. Department of the Interior Secretary Sally Jewel, amongst others, is
28   attached hereto as Exhibit 46.
                                             82           Case No.: 17-CV-01436 GPC MDD
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 1   ing the life of the loan is difficult is because the information available on the website to a
 2   prospective borrow only identifies the “fee [the borrower will pay] per $100 borrowed
 3   per pay period,” not the amount of principle and interest-based fees that Blue Trust Loans
 4   will deduct per each pay period or the effective annual percentage rate (“APR”) for the
 5   arrangement. See Blue Trust Loans, FAQ – What Will my Loan Cost?, available at
 6   https://www.bluetrustloans.com/faq.aspx (last visited Feb. 21, 2018). In reality, omitting
 7   this straightforward financial information from the website enables Blue Trust Loans to
 8   avoid disclosing to prospective borrowers that the ultimate APR on an obtained loan
 9   could be in the realm of 800% or higher.
10         222. To date, Robert Rosette has, on information and belief, created well in excess
11   of thirty distinct payday loan enterprises at more than a dozen tribes, including the fol-
12   lowing:
13         a.   Golden Valley Lending (Habematolel Pomo of Upper Lake)
14         b.   Mountain Summit Financial (Habematolel Pomo of Upper Lake)
15         c.   Silver Cloud Financial (Habematolel Pomo of Upper Lake)
16         d.   Arrow One Lending (Iipay Nation of Santa Ysabel)
17         e.   Sierra Lending (Iipay Nation of Santa Ysabel)
18         f.   Tall Grass Finance (Iipay Nation of Santa Ysabel)
19         g.   123 Wages (Kashia Band of Pomo Indians of the Stewarts Point Rancheria)
20         h.   ABC Wages (Kashia Band of Pomo Indians of the Stewarts Point Rancheria)
21         i.   Geyser Lending (Kashia Band of Pomo Indians of the Stewarts Point Ranch-
22              eria)
23         j.   InboxLoan (Kashia Band of Pomo Indians of the Stewarts Point Rancheria)
24         k.   netPDL (Kashia Band of Pomo Indians of the Stewarts Point Rancheria)
25         l.   Oxford Funding (Kashia Band of Pomo Indians of the Stewarts Point Ranch-
26              eria)
27         m. PDLNow (Kashia Band of Pomo Indians of the Stewarts Point Rancheria)
28         n.   PDY Services (Kashia Band of Pomo Indians of the Stewarts Point Rancheria)
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 1       o.    QXL Online (Kashia Band of Pomo Indians of the Stewarts Point Rancheria)
 2       p.    ReadySetGo Finance (Kashia Band of Pomo Indians of the Stewarts Point
 3             Rancheria)
 4       q.    Harvest Moon Loans (La Posta Band of Diegueno Mission Indians)
 5       r.    Blue Trust Loans (Lac Court Oreilles Band of Ojibwe Indians)
 6       s.    Ladder Credit (Lac Court Oreilles Band of Ojibwe Indians)
 7       t.    ChoiceLease (Lac Court Oreilles Band of Ojibwe Indians)
 8       u.    Bright Star Cash (Lac du Flambeau Band of Lake Superior Chippewa Indians)
 9       v.    Lend Green (Lac du Flambeau Band of Lake Superior Chippewa Indians)
10       w. Radiant Cash (Lac du Flambeau Band of Lake Superior Chippewa Indians)
11       x.    Sky Trail Cash (Lac du Flambeau Band of Lake Superior Chippewa Indians)
12       y.    Big Picture Loans (Lac Vieux Desert Band of Lake Superior Chippewa Indi-
13             ans)
14       z.    American Web Loan (Otoe-Missouria Tribe of Indians)
15       aa. Great Plains Lending (Otoe-Missouria Tribe of Indians)
16       bb. Blue King Loans (Picayune Rancheria of Chukchansi Indians)
17       cc. Advance Me Today (Rosebud Sioux Tribe)
18       dd. First Pay Loans (Rosebud Sioux Tribe)
19       ee. MyQuickWallet (Rosebud Sioux Tribe)
20       ff.   Q Credit (Rosebud Sioux Tribe)
21       gg. ZocaLoans (Rosebud Sioux Tribe)
22       hh. Blue Pine Lending (Sokaogon Chippewa Community of Mole Lake)
23       ii.   Green Pine Lending (Sokaogon Chippewa Community of Mole Lake)
24       jj.   Red Pine Lending (Sokaogon Chippewa Community of Mole Lake)
25       kk. White Pine Lending (Sokaogon Chippewa Community of Mole Lake)
26       ll.   MaxLend (Three Affiliated Tribes of the Fort Berthold Reservation)
27       mm. MaxLendLoan (Three Affiliated Tribes of the Fort Berthold Reservation)
28       nn. Comet Loans (Tonto Apache Tribe)
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 1           223. Though the Consumer Financial Protection Bureau and a spate of plaintiff’s
 2   attorneys have brought suit against these payday lending entities, the threat of any result-
 3   ant enforcement actions or adverse judgments, respectively, does not serve as an effective
 4   deterrent to the practices of these entities because Robert Rosette can simply replicate the
 5   existing entity under a different name at the same tribe or at one of the five-hundred-plus
 6   other federally-recognized Indian tribes in the United States that he does not yet repre-
 7   sent.
 8           224. As for the method of creation for these lending enterprises, the information
 9   on the LCO Today website indicates that LCO entered into a transaction with a company
10   headquartered in the United States Virgin Islands called Cane Bay Partners – who in turn
11   has business affiliates in extraterritorial locales like Belize – whereby Cane Bay offered
12   to sell the tribe an ownership interest in the lending operation it planned to create. The
13   size of the stake turned upon the amount of money LCO planned on investing, with
14   $1,000,000 buying a 2% interest in the business and $3,000,000 buying 5%. Ultimately,
15   the option chosen by LCO, according to LCO Today, was to invest $1,000,000 for a 2%
16   stake in the payday lending operation.
17           225. At least in the gaming context, the United States Congress tried to ensure that
18   the operating tribe would be the primary beneficiary of any gaming facility by capping
19   the fee demanded by a management company at 30%, and the special rate of 40% only in
20   the event “the Chairman [of the National Indian Gaming Commission] is satisfied that the
21   capital investment required, and income projections, for such tribal gaming activity
22   require the additional fee requested by the [manager under the contract submitted by the]
23   Indian tribe.” See 25 U.S.C. § 2711(c)(1) & (2).
24           226. Yet, one can get an idea about the practical effect of the 98%/2% revenue split
25   in the LCO-Cane Bay partnership by looking at the financial performance of other pay-
26   day lending entities set up by Robert Rosette. As to that, the original complaint filed by
27   the Consumer Financial Protection Bureau against the payday lending entities operated
28   by Upper Lake indicates that between “August and December 2013… Golden Valley and
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 1   Silver Cloud [i.e., Upper Lake’s lending entities] paid [its business partners] approxi-
 2   mately $35.8 million” while they “distributed approximately $536,000 to accounts held
 3   by the Habematolel Pomo Tribe.” Golden Valley, Dkt. No. 1, ¶¶ 91-92 (N.D. Ill. Apr. 27,
 4   2017). Put in layman’s terms, these figures mean that for every $70 that went to the out-
 5   side business partners in the payday-lending arrangement, the tribe received just $1.
 6         227. This sort of inordinate disparity in profits from presumably “tribal” enter-
 7   prises has become a lightning rod in the federal court system and quite the talking point
 8   for Robert Rosette. As to that, at a recent conference entitled “Wiring the Rez: Innovative
 9   Strategies for Business Development Via E-Commerce” that took place in Phoenix,
10   Arizona on February 1st and 2nd of this year, Robert Rosette made a presentation on the
11   first day of the conference in which he effectively acknowledged that the payday lending
12   enterprises he set up were not true arms of the tribe under federal law, but pointed blame
13   for this shortcoming at the test used by the federal judiciary rather than the structure of
14   the created businesses. See, e.g., White v. Univ. of Cal., 765 F.3d 1010, 1025 (9th Cir.
15   2014) (citing Break-through Mgmt. Group., Inc. v. Chukchansi Gold Casino and Resort,
16   629 F.3d 1173, 1187 (10th Cir. 2010)). To help make this point, one slide of the presenta-
17   tion questioned the fifth and final prong of the arm-of-the-tribe test that looks at “the fin-
18   ancial relationship between the tribe and the entities [at issue]” by positing the question
19   of whether a financial arrangement that resulted in the tribe getting 3% of gross profits
20   was really such a bad thing.49 The answer to this question first came from a general per-
21   spective, with Robert Rosette explaining the entire notion that money generated by tribal
22   business entities should flow back to the tribal government for use in providing services
23   to members was fundamentally flawed:
24         The next thing you hear is, well, not all the money made by these businesses
           go back to the tribal government. And that’s a big problem because what
25
           company does not allow for reinvestment back into the company, research
26         and development, capital expenditures, you know. All of these companies
27         49
             A true and correct copy of an excerpt from a February 1, 2018 presentation by
28   Robert Rosette at the “Wiring the Rez” conference is attached hereto as Exhibit 47.
                                             86           Case No.: 17-CV-01436 GPC MDD
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 1         should not be expected to put every penny that they make – whether it’s e-
 2         commerce or patents or anything else – back to the tribal treasury so they
           can be spent for government purposes. That is a great concept – it is what we
 3         do – but it is unreasonable to now hold tribes to this new standard that every
 4         penny it makes has to go to some form of government purpose.

 5   After that, the specific question of the tribe receiving only 3% of gross profits was ad-

 6   dressed, with Robert Rosette assuming dual roles in a mock dialogue, first posing com-

 7   ments by a judge lampooning the idea that an enterprise could be truly tribal in nature if

 8   the overwhelming majority of the revenues go elsewhere, and then providing his re-

 9   sponse:

10
           The tribes are only making 3% gross approximately, [shifting to talk from
           his perspective] because they like to use gross numbers when talking about
11         Indians in business. [Shifting back] They’re making approximately 3% of
12         gross profit. That’s awful. Who is making the other 97%? And how much do
           your third parties make? …
13
           [Shifting again to talk from his perspective] Since when did these questions
14         become the litmus test for determining whether you are the arm of a tribe?
           …
15
           It has never been about how much a tribe makes nor should it be. If a tribe
16
           starts a business or pursues an opportunity in this new economy, and they’re
17         good at it and make money, you don’t look at how much they make versus
           everyone else, you look at the decision making of the tribe that put them in
18
           the position to make that profit. …
19         [I know a lot of casinos in rural areas where] [e]veryone is making money
20         but the tribe. [Why is that not a rent-a-tribe scheme?] Why, because we have
           always been able to articulate this test that it doesn’t come down to these
21         notions of who’s making what and how much and this is suspicious. Okay.
22         So we shouldn’t allow judges or anybody to go down that road today.
23         228. On information and belief, one of the reasons Robert Rosette does not want a

24   federal judge looking into the financial arrangements involving his online payday loan

25   enterprises is because a significant portion of the 97% gross that ostensibly goes to

26   outside partners in reality goes back to Mr. Rosette (on top of the superficial $10,000 a

27   month fee he charges the tribe on the front end for the legal work) and, to a lesser extent,

28   his allies on the Tribal Council.
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 1         229. An additional issue Robert Rosette made sure to discuss during his presenta-
 2   tion was differentiating his payday lending model from the one used by Scott Tucker, an
 3   individual who, along with his attorney, was sentenced to nearly seventeen years in pris-
 4   on a month earlier for repeatedly violating RICO by, in part, forming sham relationships
 5   with Indian tribes through which he could run personal payday loan businesses that tried
 6   to evade state usury laws and even the Truth in Lending Act, 15 U.S.C. § 1601 et seq. See
 7   United States v. Tucker, et al., No. 16-00091, Dkt. No. 322 (S.D.N.Y. Jan. 5, 2018)
 8   (criminal judgment against Tucker listing fourteen counts of conviction). As articulated
 9   by Robert Rosette, the primary difference seemed to be that the Rosette model involves
10   the tribe making the loans pursuant to its own laws, presumably using the seed money it
11   pays to its partner in order to buy into the venture.
12         230. This business model that thrives on furtiveness and the personal enrichment of
13   a select few versus the whole has exacerbated if not outright caused internal problems at
14   some of the operating tribes. Along with LCO, an example of this is the aforementioned
15   Picayune Rancheria of Chukchansi Indians, one of the first tribes to commence operating
16   a Rosette payday lending enterprise and one that, on information and belief, also sub-
17   sequently bought back the shell of the business from Robert Rosette for $2,000,000 as his
18   allies on the Tribal Council were about to lose their seats in the wake of the federal gov-
19   ernment shutting down the tribe’s immensely-profitable casino for fifteen months.
20         231. A number of telltale signs of trouble that typically accompany the formation
21   of a Rosette payday lending businesses have become evident at Quechan over the course
22   of the past year.
23         232. Offering artificially and unsustainably low billing rates. As mentioned, tribes
24   that become targets for payday lending often receive proposals from Robert Rosette that
25   include some nominal charge that likely will not even cover the payroll expenses
26   involved in performing the work. This was the case at LCO where Robert Rosette offered
27   to set up a payday lending business for $50,000 up front plus $10,000 a month for the
28   first twenty months the business was operational. This same seemingly-arbitrary figure of
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 1   $10,000 per month is purportedly also at the heart of his Quechan contract, with putative
 2   Quechan President Keeny Escalanti and putative Councilmember Willie White acknowl-
 3   edging that Robert Rosette took over the work (or whatever work remained, if any) on
 4   both the California and Arizona compact negotiations for a flat fee of $10,000 per month.
 5   See, e.g., Dkt. No. 29-2, ¶ 15 (S.D. Cal. Feb. 9, 2018).
 6         233. Displacing the existing legal counsel. The declarations filed earlier in this suit
 7   by putative Quechan President Keeny Escalanti and putative Councilmember Willie
 8   White both acknowledge that they were so satisfied with Robert Rosette’s work in getting
 9   the State to sign the California compact following the termination of Williams & Coch-
10   rane (i.e., having to suddenly pay $2,000,000 to the State, losing the mandatory renego-
11   tiation provision, losing the four-year deferral on the State’s minimum wage law, etc.)
12   that they then had his firm “Rosette LLP [take] over the general counsel job [the]
13   Morisset [law firm] had been doing in providing general legal services for Quechan on an
14   hourly fee basis.” See, e.g., Dkt. No. 29-2, ¶ 20 (S.D. Cal. Feb. 9, 2018). Like the
15   situation with Glenn Feldman at the Tonto Apache Tribe, the law firm of Morisset,
16   Schlosser, Jozwiak & Somerville – and in particular the attorney Thane Somerville – had
17   been acting as the general counsel for the tribe for a considerable number of years if not
18   decades. See Quechan Indian Tribe v. United States, No. 02-01096 JAH MDD (S.D. Cal.
19   filed on June 7, 2002) (listing the Morisset firm as counsel of record for Quechan);
20   Quechan Tribe of Fort Yuma Indian Reservation v. U.S. Dep’t of Interior, No. 10-02241
21   LAB BGS (S.D. Cal. filed on Oct. 29, 2010) (same); Quechan Tribe of Fort Yuma Indian
22   Reservation v. U.S. Dep’t of Interior, No. 12-01167 GPC PCL (S.D. Cal. filed on May
23   14, 2012) (same).
24         234. Hiding pertinent legal actions. All of the material actions related to the hiring
25   of Robert Rosette were hidden from the Quechan General Council. For instance, the
26   general membership of the tribe had no idea about the circumstances of Williams &
27   Cochrane’s departure or the existence of the present lawsuit until, on information and
28   belief, various case filings were leaked in late 2017 and word spread around the tribe. In
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 1   response to the dissemination of this information, some or all of the Quechan Tribal
 2   Council posted a notice on the door of the tribal administrative office late in the afternoon
 3   of Friday, December 29, 2017 informing the tribe about the pending lawsuit and how the
 4   Tribal Council “retained the law firm WilmerHale LLP to represent the Tribe in the
 5   matter” and “[was] evaluating whether it has claims [of its own it can raise] against the
 6   law firm [of Williams & Cochrane].” On top of which, the first time the Quechan Tribal
 7   Council publicly disclosed to its membership either the termination of its longstanding
 8   general counsel Morisset or the resolution hiring Robert Rosette to do the California and
 9   Arizona compact negotiations was in the declarations putative Quechan President Keeny
10   Escalanti and putative Councilmember Willie White filed in this Court on February 9,
11   2018. See, e.g., Dkt. No. 29-2, ¶ 20 & Ex. A (S.D. Cal. Feb. 9, 2018). This latter resolu-
12   tion that putative Quechan President Keeny Escalanti purports to have signed at a special
13   meeting on June 26, 2017 is the same one that – on information and belief – Robert Ro-
14   sette was unable to provide to Senior Assistant Attorney General Sara Drake when she re-
15   quested to see it during a phone conversation just a few days later on either June 28, 2017
16   or June 29, 2017. Along with these long-withheld documents, on information and belief,
17   the Quechan Tribal Council is also refusing to provide the general membership with the
18   other relevant legal documents involved in the factual background of this matter– i.e., the
19   resolution terminating Morisset, the resolution hiring Rosette, LLP for general counsel
20   work, the resolution hiring WilmerHale, and all the corresponding contracts – at least as
21   of the filing date of this amended complaint.
22         235. Tightening the Tribal Council’s grip on power. As information about the
23   pending lawsuit became public, the general membership of Quechan initiated a two-tiered
24   recall process to try and remove six of the seven persons serving on the Tribal Council
25   from office. The first recall election occurred on Friday, December 29, 2017 and involved
26   putative Councilmember Willie White and one other officer.50 The second recall election
27         50
            A true and correct copy of a January 12, 2018 Yuma Sun article inaptly entitled
28   “Quechan council members survive recall effort” is attached hereto as Exhibit 48.
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 1   took place on Wednesday, January 17, 2018, and focused upon putative President Keeny
 2   Escalanti and three other officers.51 The results of the recall saw an overwhelming
 3   majority of Quechan voters elect to remove both putative President Keeny Escalanti and
 4   putative Councilmember Willie White from office, with the final vote tallies being 147-
 5   80 and 209-102, respectively. For comparison sake, the two-hundred and nine votes to
 6   remove putative Councilmember Willie White is more than the total votes any candidate
 7   received during the Quechan general election of 2015. Not to mention, the one-hundred
 8   and forty-seven votes in favor of removing putative Quechan President Keeny Escalanti
 9   is more than the total votes he received during the same general election that saw him
10   come in a distant second to President Mike Jackson. Nevertheless, the impacted Quechan
11   Tribal Councilmembers devised a plan to remain in office with the assistance of Robert
12   Rosette, ultimately refusing to step down on the basis that the votes were invalid because
13   “the total number of voters did not meet the minimum set by the tribe’s constitution.”
14         236. Newly emerging financial issues. This entrenchment in power has come on
15   the heels of the Quechan Tribal Council stopping per capita payments to the general
16   membership of the tribe, claiming that the California and Arizona casinos together are not
17   making a profit which thereby eliminates any obligation to make such payments under
18   the “Revenue Allocation Plan” approved by the National Indian Gaming Commission. It
19   is worth noting that this argument that the two casinos currently operated by Quechan are
20   suddenly unprofitable is being made despite the fact that the net income for the facilities
21   over the last eighteen months includes an additional $6-plus million – according to the
22   rate reduction memorialized in the terms of the new compact – that the tribe would have
23   normally paid the State of California as revenue sharing under its 2007 Amendment. On
24   information and belief, the cessation of per capita payments during a time of peak income
25   has raised concerns amongst the Quechan general membership that the Tribal Council
26   may be misusing the tribe’s funds.
27         51
             A true and correct copy of a January 26, 2018 Yuma Sun article entitled “Results
28   of Quechan Tribe’s recall vote thrown out” is attached hereto as Exhibit 49.
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 1   V.      THE TANGLED, PRE-EXISTING RELATIONSHIP BETWEEN ROSETTE, LLP AND
 2           WILMERHALE

 3
             237. Following the service of the complaint in this case, the two general groups of

 4
     defendants hired separate law firms, giving off the appearance that each is represented by

 5
     independent counsel. On the one hand, the Rosette defendants retained O’Melveny &

 6
     Myers while, on the other, Quechan and the putative Councilmembers went with Wilmer-

 7
     Hale.

 8
             238. Yet, the putative Quechan Councilmembers’ choice of law firms may not be

 9
     as innocuous as it first seems. Every year the publication U.S. News & World Report re-

10
     leases “best of” lists for various service industries. One such list covers the best lawyers

11
     and law firms in the United States. WilmerHale was one of the law firms considered for

12
     inclusion in the list for the current year 2017-18, and ultimately ended up ranking as the

13
     law firm of the year in intellectual property litigation and also placing in the top three

14
     tiers in a number of other practice areas. The detailed information about the firm that is

15
     part of WilmerHale’s profile on the U.S. News website includes “client comments,” one

16
     of which was submitted by a “Rob Rosette” of “Rosette, LLP” and discloses

17
             I worked as co-counsel with WilmerHale. This law firm consists of true
             professionals. They provided excellent advice with regard to every project I
18           had the pleasure of working on with them, and they work well with co-
19
             counsel.
     See U.S. NEWS & WORLD REPORT, Best Law Firms Rankings: Wilmer Cutler Pickering
20
     Hale and Dorr LLP – Client Comments, available at https://bestlawfirms.usnews.com/
21
     profile/wilmer-cutler-pickering-hale-and-dorr-llp/client-comments/20955      (last   visited
22
     Feb. 25, 2018).
23
             239. This statement about Rosette, LLP and WilmerHale being co-counsel in the
24
     past is accurate, as the two firms have so far unsuccessfully represented the Eastern Sho-
25
     shone Tribe in a suit in which the United States Court of Appeals for the Tenth Circuit
26
     held that the U.S. Congress diminished the size of the tribe’s Wind River Reservation.
27
     See Wyoming v. U.S. EPA, 875 F.3d 505 (10th Cir. 2017); see also Pet. for Writ of Cert.,
28
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 1   Eastern Shoshone Tribe v. Wyoming, Nos. 17-1164, 17-1159 (U.S. Feb. 16, 2018) (listing
 2   Rosette, LLP and WilmerHale as co-counsel), available at https://www.supremecourt.
 3   gov/search.aspx?filename=/docket/docketfiles/html/public/17-1164.html (last visited Feb.
 4   23, 2018).
 5         240. The Eastern Shoshone lawsuit is but one project on which Rosette, LLP and
 6   WilmerHale have teamed up as co-counsel. As mentioned earlier, Robert Rosette has a
 7   longstanding involvement in the internal dispute affecting the California Valley Miwok
 8   Tribe, representing a four-person faction of the five-person tribe as he seeks to get the
 9   CGCC to release some $15 million in frozen RSTF funding to his faction alone while si-
10   multaneously blocking the enrollment of hundreds of displaced Indians. See, e.g., Califor-
11   nia Valley Miwok Tribe, Homepage, available at http://californiavalleymiwok.us/ (last
12   visited Feb. 25, 2018) (presenting the Homepage for this particular four-person faction of
13   the California Valley Miwok Tribe).
14         241. The $1.1 million in annual RSTF funding that the CGCC cut off more than a
15   decade ago was the principal means of support for the “tribe” (i.e., the four-person fac-
16   tion now represented by Robert Rosette), as is evidenced by the fact that the four-person
17   faction faced recurrent eviction proceedings from 2009 to 2103 at their Stockton, Califor-
18   nia mansion that was masquerading as a tribal administrative office because they simply
19   lacked the funds to make the mortgage payment without the influx of RSTF monies. See
20   California Valley Miwok Tribe, No Sale at Auction Tribe Fears Future Eviction (Oct. 22,
21   2013), available at http://californiavalleymiwok.us/index.php/no-sale-at-auction-tribe-
22   fears-future-eviction/ (last visited Feb. 25, 2018). In light of this and other information,
23   Williams & Cochrane believes that Robert Rosette has a contingency fee arrangement
24   with the four-person faction he represents that involves receiving a significant percentage
25   (i.e., 30-40%) of the frozen RSTF funds once the CGCC releases those monies.
26         242. The distribution of those RSTF monies largely turns upon whether the tribe is
27   organized and has a recognized governing body – questions that have split the various
28   and usually exceedingly-deferential Assistant Secretaries of Indian Affairs over the years.
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 1   The most recent decision on the issue was released by the final Assistant Secretary ap-
 2   pointed by President Barack Obama – Kevin Washburn – on December 30, 2015, and
 3   concludes the “that the Tribe’s membership is more than five people,” and the Indians
 4   long denied membership by Rosette’s four-person faction “must be given opportunity to
 5   take part in the reorganization of CVMT.” See Cal. Valley Miwok Tribe v. Jewel, No. 16-
 6   01345, Dkt. No. 33-1, Ex. 19 at pp. 160-66 (E.D. Cal. Sept. 9, 2016).
 7         243. Concluding the December 30, 2015 decision letter is a distribution list that
 8   details the physical addresses for the attorneys representing each side in the faction
 9   dispute. See Cal. Valley Miwok Tribe, Dkt. No. 33-1, p. 167 (E.D. Cal. Sept. 9, 2016).
10   The firms listed under the heading of “Representing Silvia Burley” (i.e., the leader of the
11   four-person faction that has blocked the reorganization of the tribe) are “Rosette, LLP”
12   and “Wilmer Cutler Pickering Hale and Dorr.” Id. Although this decision letter came out
13   at the end of 2015, WilmerHale appears to have continued its representation of the four-
14   person faction since that time, as the “department and services” page on the faction’s
15   website lists “WilmerHale” beneath “Rosette, LLP” in the section identifying the fac-
16   tion’s current “Legal Representation.” See California Valley Miwok Tribe, Departments
17   & Services, available at http://californiavalleymiwok.us/index.php/ departments/ (last
18   visited Feb. 25, 2018).
19         244. Returning to the financial issue, the inability of the four-person Burley faction
20   to pay its property bill let alone Rosette, LLP means that, on information and belief,
21   WilmerHale’s compensation for its work on these matters comes from Robert Rosette
22   either in the form of rolling payments as the work was performed, a share of his contin-
23   gency fee if and when the RSTF monies are released, or promises of future money and/or
24   work should the Burley faction manage to stay in power if and when these interminable
25   issues finally resolve.
26         245. The true relationship between Rosette, LLP and WilmerHale is a subject the
27   attorneys with Williams & Cochrane tried to comprehend during recent conversations
28   with opposing counsel. On January 20, 2018, the lead attorney in this suit for Wilmer-
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 1   Hale Christopher Casamassima sent the attorneys for Williams & Cochrane a letter
 2   questioning their past compliance with the California Rules of Professional Conduct and
 3   demanding that they promptly turn over Quechan’s entire case file even though the com-
 4   pact project officially concluded some six weeks prior when the Principal Deputy Assist-
 5   ant Secretary for Indian Affairs approved the compact and transmitted notice of his ap-
 6   proval to the Federal Register. See Indian Gaming; Tribal-State Class III Gaming Com-
 7   pacts Taking Effect in the State of California, 83 Fed. Reg. 3015-16 (Jan. 22, 2018) (indi-
 8   cating the compact was approved on December 15, 2017). This “entire case file” request
 9   did not simply request those materials reasonably related to the representation, but in-
10   stead asked for “all time sheets or time records,” “all… computer records,” and “all cor-
11   respondence,” amongst other things.
12         246. This request came on the heels of the Yuma Sun publishing the two articles
13   attached hereto as Exhibits 48 and 49 that explain five of seven putative Quechan Tribal
14   Councilmembers were recalled from office during December 2017 and January 2018,
15   including the two personally represented by WilmerHale in this suit. This political up-
16   heaval led Cheryl Williams to respond to Mr. Casamassima by explaining that she was
17   willing to discuss the client-file issue, but she first needed something “confirming your
18   representation of the Quechan tribe” and not just Mssrs. Escalanti and White, “such as a
19   fee agreement between your firm and the Tribe.”
20         247. The reply letter Mr. Casamassima sent on January 29, 2018 dodged the
21   request to prove up WilmerHale’s representation of Quechan by simply contending that
22   “[n]o Tribal Council members have been recalled and there are no legitimate questions as
23   to their authority to act on the Tribe’s behalf.”
24         248. The inability of WilmerHale to produce any evidence substantiating its repre-
25   sentation of Quechan raised serious doubts in the minds of Cheryl Williams and Kevin
26   Cochrane about the actual arrangement for this international law firm both financially and
27   otherwise, especially in light of the fact that Quechan had supposedly hired a law firm
28   that could easily charge in excess of $6 million to try and avoid a $6 million contractual
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 1   liability.
 2          249. As to that, a cursory search of the federal dockets reveals that WilmerHale has
 3   litigated at least a handful of federal civil cases since the turn of the century in which
 4   accrued attorneys’ fees were in excess of $6 million, including one in this district known
 5   as Qualcomm v. Broadcom that saw WilmerHale seek $6,054,609.50 in attorneys’ fees
 6   after two years of litigation. See Qualcomm Inc. v. Broadcom Corp., No. 05-01958 B
 7   BLM, Dkt. No. 617-1, p. 18 (S.D. Cal. Aug. 31, 2017); see also, e.g., Rosie D. v. Patrick,
 8   No. 01-30199, Dkt. No. 383-2, p. 2 (D. Mass. Dec. 18, 2007) (indicating WilmerHale
 9   generated $6,182,353.50 in billables).
10          250. The motion for attorneys’ fees in Qualcomm v. Broadcom was based upon a
11   2005 fee schedule that had the senior partners assigned to the case charging between
12   $435 and $790 per hour, and associates $310 per hour. See Qualcomm Inc. v. Broadcom
13   Corp., Dkt. No. 617-2, p. 22 (S.D. Cal. Aug. 31, 2007). However, a declaration that
14   WilmerHale filed in connection with a motion for attorneys’ fees in a federal bankruptcy
15   action just two-and-a-half years ago shows that the hourly rates of its attorneys have
16   increased substantially since the Qualcomm era. See In re Corporate Resources Services,
17   No. 15-11546, Dkt. No. 70-1 (Bankr. D. Del. July 31, 2015). As to that, the average
18   hourly rate for a partner assigned to the recent In re Corporate Resources Services matter
19   increased from the $435-$790 range in Qualcomm to $780-$1,510. Id. Likewise, asso-
20   ciates that billed out at $310 per hour ten years earlier were now coming in between $450
21   and $805 an hour. Id.
22          251. Even during the era of the lower hourly rates, the fees WilmerHale charged
23   during litigation produced total bills that soared past $6 million. As an example, Wilmer-
24   Hale was responsible for defending the former Chief Financial Officer of McAfee in “a
25   single defendant criminal action without parallel civil litigation and its attendant discov-
26   ery fees and expenses,” a task that – according to a subsequent fraud suit filed by McAfee
27   – seemingly required the involvement of “16 partners, 34 associate attorneys, 10 legal
28   assistants and 49 staff personnel.” McAfee v. Wilmer, Cutler, Pickering, Hale and Dorr,
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 1   L.L.P., No. 08-00160, Dkt. No. 19, ¶¶ 6-7 (E.D. Tex. June 26, 2008). The ultimate
 2   outcome of this rather zealous representation was a criminal conviction for the client and
 3   an alleged billing “bonanza” for WillmerHale that involved more than $12 million in fees
 4   and $200,000 “in expenses for luxury hotel rooms, limousines and charges for room ser-
 5   vice and bar tabs.” Id. at ¶¶ 5-6, 8.
 6          252. The sort of fee totals seen in cases like McAfee, Qualcomm, and others when
 7   combined with the preexisting relationship with Rosette, LLP logically suggest that Wil-
 8   merHale is, in fact, being paid by Robert Rosette so this latter individual can try and con-
 9   trol the entire defense of the present lawsuit for his own benefit.
10                                    FIRST CLAIM FOR RELIEF
11                                        [Breach of Contract]
12     [By Williams & Cochrane and Against Quechan Tribe of the Fort Yuma Indian
                                     Reservation]
13
            253. Williams & Cochrane incorporates by reference the preceding general allega-
14
     tions as if set forth in full.
15
            254. A claim for a breach of contract requires the existence of an enforceable
16
     contract, the plaintiff’s performance under the contract, the defendant’s breach of the
17
     agreement, and damages to the plaintiff resulting from the breach. See, e.g., Hickcox-
18
     Huffman v. US Airways, Inc., 855 F.3d 1057, 1062 (9th Cir. 2017) (citing, e.g., Reichert
19
     v. Gen. Ins. Co. of Am., 68 Cal. 2d 822 (1968) (en banc)). Under California law, the terms
20
     of a contract may contain an implied in fact agreement that limits the ability of one
21
     contracting party to fire the other for good cause or for another reason based upon the
22
     conduct of the parties, with the terms of such implied agreement standing on “equal
23
     footing with express terms.” See, e.g., Foley v. Interactive Data Corp., 47 Cal. 3d 654,
24
     677-678 (1988) (citing, e.g., Restatement (Second) of Contracts §§ 4, 19 (1981)).
25
            255. Quechan and Williams & Cochrane executed the Attorney-Client Fee
26
     Agreement on September 29, 2016 after arms-length negotiation and the tribe consulted
27
     with an independent attorney. The terms of the contract state that Williams & Cochrane
28
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 1   would provide legal services to Quechan pertaining to “reducing [the tribe’s] payments
 2   under its tribal/State gaming compact with the State of California and seeking return of
 3   payments made under such agreement.” In return for these services, Quechan agreed to
 4   pay Williams & Cochrane a monthly flat fee of $50,000 and a 15% contingency fee on
 5   the roughly $39,732,774 in heightened revenue sharing that Quechan paid to the State of
 6   California under its 2007 Amendment if the firm was able to obtain a “credit, offset, or
 7   other reduction in future compact payments to the State in a successor compact (whether
 8   new of amended) as a result of” said past payments. The Attorney-Client Fee Agreement
 9   also explains that if Quechan discharges Williams & Cochrane before the contingency fee
10   attaches, the tribe will still have to pay the full contingency fee if it has become “entitled”
11   to the aforementioned “credit, offset, or other reduction in future compact payments” that
12   serves as the basis for the fee. See Merriam-Webster, Definition of Entitle, available at
13   https://www.merriam-webster.com/dictionary/entitle (last visited July 15, 2017) (defining
14   “entitle” as “to furnish with proper grounds for seeking or claiming something”). Even if
15   this is not the case, the Attorney-Client Fee Agreement still requires Quechan to pay the
16   firm a “reasonable fee for the legal services provided in lieu of the contingency fee” that
17   will be determined on the basis of a list of factors that first looks at “[t]he amount of the
18   fee in proportion to the value of the services performed.”
19         256. Williams & Cochrane performed under the Attorney-Client Fee Agreement
20   from the execution date of the contract to June 27, 2017, by which point it had reached an
21   agreement in principle with the State of California and was finalizing the terms of a
22   twenty-five year gaming compact that would eliminate at least $112 million in revenue
23   sharing fees vis-à-vis the 2007 Amendment and provide Quechan with ability to generate
24   another $660 million in additional gaming revenue as a result of new machine rights.
25         257. Yet, just three days before Quechan was tentatively set to sign the final
26   compact, putative President Keeny Escalanti caused a letter to be e-mailed to Williams &
27   Cochrane in which he stated that the firm had been terminated and the tribe would “not
28   pay any contingency fee or ‘reasonable fee for the legal services provided in lieu’
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 1   thereof” as required by the terms of the Attorney-Client Fee Agreement. Between this
 2   and a second letter dated June 30, 2017, putative Quechan President Keeny Escalanti
 3   directed Williams & Cochrane to turn over the final draft of the compact to an attorney
 4   by the name of Robert Rosette so he could wind up the negotiations and have the tribe
 5   sign the compact Williams & Cochrane had negotiated without delay. To make it
 6   abundantly clear that Quechan would not pay any contingency or substitute fee under the
 7   Attorney-Client Fee Agreement, putative Quechan President included a threat in his June
 8   26th termination letter, telling Williams & Cochrane that he “strongly advise[s] you
 9   against pressing your luck further out of concern for the reputation of your firm in Indian
10   Country and in the State of California.”
11         258. In addition to violating the express terms of the Attorney-Client Fee
12   Agreement, putative Quechan President Keeny Escalanti also breached an implied in fact
13   agreement that stands on “equal footing” with the express terms of the agreement, which
14   ensured that the tribe would not terminate the firm during the conclusion of the time-
15   sensitive negotiations. This implied in fact agreement is evidenced, in part, by the course
16   of conduct between the parties, as the point persons for both the Tribal Council and the
17   Quechan Casino Resort told Cheryl Williams in the weeks leading up to the transmission
18   of putative President Keeny Escalanti’s June 26th termination letter
19
20

21

22

23

24         259. Quechan’s breach of both the express and implied terms of the Attorney-
25   Client Fee Agreement has caused Williams & Cochrane to suffer contract damages and
26   injuries totaling at least $6,209,916.10, which the district judge or a jury can resolve in
27   accordance with the Prayer for Relief, infra.
28   ///
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                                FIRST AMENDED COMPLAINT
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 1                                    SECOND CLAIM FOR RELIEF
 2              [Breach of the Implied Covenant of Good Faith and Fair Dealing]
 3     [By Williams & Cochrane and Against Quechan Tribe of the Fort Yuma Indian
                                     Reservation]
 4
            260. Williams & Cochrane incorporates by reference the preceding general allega-
 5
     tions as if set forth in full.
 6
            261. The implied covenant of good faith and fair dealing imposes basic duties that
 7
     inhere in all contracts. See, e.g., Talden Inv. Co. v. Comerica Mortg. Corp., 1990 U.S.
 8
     Dist. LEXIS 19951, *47 (N.D. Cal. 1990) (citing Restatement (Second) of Contracts § 205
 9
     (1981)). The duty of good faith and fair dealing requires that a party to a contract not act
10
     in an opportunistic or bad faith way that will deprive the other party of the benefits of the
11
     agreement. See, e.g., Mitchell v. Exhibition Food, Inc., 184 Cal. App. 3d 1033, 1043
12
     (1986); 23 Richard A. Lord, Williston on Contracts § 63:22 (4th ed. 2002). The term
13
     “bad faith” is what courts consider an “excluder phrase” that is “without general meaning
14
     (or meanings) of its own and serves to exclude a wide range of heterogeneous forms of
15
     bad faith,” or conduct that generally involves unfair dealing. Price v. Wells Fargo Bank,
16
     213 Cal. App. 3d 465, 479 (1st Dist. 1989) (citing Foley, 47 Cal. 3d at 697). While “a
17
     complete catalogue of types of bad faith is impossible” (see Restatement (Second) of
18
     Contracts § 205 cmt. d (1981)), judicial decisions have long recognized that conduct that
19
     seeks to evade the spirit of the bargain is a basic form of bad faith. See id. This principle
20
     means, amongst other things, that “where a contract confers on one party a discretionary
21
     power affecting the rights of the other, a duty is imposed to exercise that discretion in
22
     good faith and in accordance with fair dealing.” Okun v. Morton, 203 Cal. App. 3d 805,
23
     820 (2d Dist. 1988) (quoting Cal. Lettuce Growers v. Union Sugar Co., 45 Cal. 2d 474,
24
     484 (1955)).
25
            262. Quechan and Williams & Cochrane executed the Attorney-Client Fee Agree-
26
     ment as is discussed in the First Claim for Relief, supra.
27
            263. The Attorney-Client Fee Agreement explains that Quechan “may discharge
28
                                               100     Case No.: 17-CV-01436 GPC MDD
                                      FIRST AMENDED COMPLAINT
 Case 3:17-cv-01436-RSH-DEB Document 39 Filed 03/02/18 PageID.3076 Page 102 of 122



 1   [Williams & Cochrane] at any time,” but it will still have to pay the contingency fee if the
 2   tribe has become “entitled” to a “credit, offset, or other reduction in future compact
 3   payments to the State in a successor compact (whether new of amended) as a result of” its
 4   past, excess payments under the 2007 Amendment. See Merriam-Webster, Definition of
 5   Entitle, available at https://www.merriam-webster.com/dictionary/entitle (last visited
 6   July 15, 2017) (defining “entitle” as “to furnish with proper grounds for seeking or
 7   claiming something”). Even if this is not the case, the Attorney-Client Fee Agreement
 8   still requires Quechan to pay the firm a “reasonable fee for the legal services provided in
 9   lieu of the contingency fee” that will be determined on the basis of a list of factors that
10   first looks at “[t]he amount of the fee in proportion to the value of the services
11   performed.”
12         264. However, in this case, putative Quechan President Keeny Escalanti caused to
13   be transmitted to Williams & Cochrane a letter on July 27, 2017 that terminated the firm
14   just three days before the end of the negotiations and the planned execution date for the
15   resultant compact, explaining that the tribe would “not pay any contingency fee or
16   ‘reasonable fee for the legal services provided in lieu’ thereof.” Despite this, putative
17   Quechan President demanded that Williams & Cochrane turn over the latest draft
18   compact to Robert Rosette using threats of legal action so this substitute attorney could
19   simply step in as the attorney of record and have the tribe sign the compact that Williams
20   & Cochrane negotiated. This course of conduct is a blatant evasion of the spirit of the
21   bargain, especially when a court takes into account that the point persons for both the
22   Tribal Council and Quechan Casino Resort had informed Cheryl Williams in the weeks
23   leading up to the transmission of the June 26th termination letter that the General Council
24   had directed the Tribal Council to sign whatever compact Williams & Cochrane negoti-
25   ated with the State of California by the end of the month so the agreement would obtain
26   the necessary State approvals during the current legislative session (and also end the
27   specter of the CGCC taking adverse action against the tribe), and the Tribal Council
28   intended to honor this directive.
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                                 FIRST AMENDED COMPLAINT
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 1          265. Quechan’s breach of the implied covenant of good faith and fair dealing that
 2   inheres in the Attorney-Client Fee Agreement has caused Williams & Cochrane to suffer
 3   contract damages and injuries totaling at least $6,209,916.10, which the district judge or a
 4   jury can resolve in accordance with the Prayer for Relief, infra.
 5                                    THIRD CLAIM FOR RELIEF
 6                                        [Promissory Estoppel]
 7   [By Williams & Cochrane and Against the Quechan Tribe of the Fort Yuma Indian
                                    Reservation]
 8
            266. Williams & Cochrane incorporates by reference the preceding general allega-
 9
     tions as if set forth in full.
10
            267. The doctrine of promissory estoppel explains that “[a] promise which the
11
     promisor should reasonably expect to induce action or forbearance on the part of the
12
     promise or a third person and which does induce such action or forbearance is binding if
13
     injustice can be avoided only by enforcement of the promise.” Sheppard v. Morgan
14
     Keegan & Co., 218 Cal. App. 3d 61, 67 (1st Dist. 1990) (citing, e.g., Restatement
15
     (Second) of Contracts § 90(1) (1981)). A claim for promissory estoppel under California
16
     law generally requires that a plaintiff show “(1) a clear and unambiguous promise; (2)
17
     reliance by the party to whom the promise is made; (3) reliance that is reasonable and
18
     foreseeable; and (4) the party asserting the estoppel must be injured by his or her
19
     reliance.” Temple v. Bank of Am., N.A., 2015 U.S. Dist. LEXIS 77207, *10 (N.D. Cal.
20
     2015) (citing Boon Rawd Trading, Int’l Co. v. Paleewong Trading Co., 688 F. Supp. 2d
21
     940, 953 (N.D. Cal. 2010)). The California courts explain that promissory estoppel can
22
     apply in the contract context, with the promise being one that is either independent of the
23
     contract or implicit in the terms of the agreement whether through the implied covenant
24
     of good faith and fair dealing or otherwise. See, e.g., Morgan Keegan & Co., 218 Cal.
25
     App. 3d at 67.
26
            268. During the spring of 2017, Quechan made a series of promises to Williams &
27
     Cochrane after the firm caused the CGCC to stand down from bringing an enforcement
28
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                                      FIRST AMENDED COMPLAINT
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 1   action against the tribe that could have resulted in the termination of the tribe’s compact
 2   rights or the loss of millions (if not tens of millions) of dollars in gaming revenues, thus
 3   buying a window of time during which the tribe could execute a compact with the State
 4   of California before the delinquent payments once again became an issue for the
 5   Commission. First, shortly after Williams & Cochrane transmitted its final response letter
 6   to the CGCC on April 21, 2017, the General Manager for Quechan Casino Resort Charles
 7   Montague called Cheryl Williams and explained that the Tribal Council had re-voted on
 8   how to handle the compact dispute and once again decided to resolve it via negotiations
 9   using her firm. Subsequent to this, on or about June 6, 2017, the Quechan General
10   Council met for its monthly tribal meeting and directed the Tribal Council to execute
11   whatever compact Williams & Cochrane negotiated with the State of California during
12   the remainder of the month so it would obtain the necessary State approvals during the
13   current legislative session and thereby end the specter of the CGCC taking adverse action
14   against the tribe. Then, in the wake of this meeting, the point persons for both the
15   Quechan Tribal Council (i.e., putative Vice President Virgil Smith) and Quechan Casino
16   Resort (i.e., General Manager Charles Montague) spoke with Cheryl Williams and
17   informed her that the Tribal Council intended to execute the compact Williams &
18   Cochrane negotiated with the State of California during the month in accordance with the
19   directive of the General Council. Yet, despite these promises, putative Quechan President
20   Keeny Escalanti caused to be sent to Williams & Cochrane a termination letter on June
21   27, 2017, just three days before the Tribal Council was scheduled to sign the compact, so
22   the tribe could obtain the compact the firm had negotiated without having to pay for it in
23   accordance with the terms of the Attorney-Client Fee Agreement.
24         269. Williams & Cochrane relied on the promises made by Quechan through
25   putative Vice President Virgil Smith and Quechan Casino Resort General Manager
26   Charles Montague by working to wrap up the negotiations up until the point the putative
27   President Keeny Escalanti’s June 26th termination letter was transmitted to this firm.
28         270. Williams & Cochrane’s reliance on these promises was both reasonable and
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 1   foreseeable because each party to a contract has an inherent duty to carry out the terms of
 2   the agreement in good faith. Not to mention, through these promises, Quechan conveyed
 3   that the tribe was unified about how to resolve the dispute and planned to do so in
 4   accordance with the original plan as decided by the Tribal Council in December 2016.
 5   Williams & Cochrane’s reliance should have also been foreseeable to Quechan given the
 6   firm’s zealous advocacy of the tribe since the outset of the representation, and its
 7   determination to provide the Tribal Council with a compact to sign by or about June 30,
 8   2017 so the agreement would obtain the necessary State approvals during the current
 9   legislative session and thereby end the specter of the CGCC taking adverse action against
10   the tribe.
11          271. Quechan’s failure to honor the aforementioned promises has caused Williams
12   & Cochrane to suffer contract damages and injuries totaling at least $6,209,916.10, which
13   the district judge or a jury can resolve in accordance with the Prayer for Relief, infra.
14                                    FOURTH CLAIM FOR RELIEF
15    [False Advertising in Violation of the Lanham Act – Robert Rosette’s Litigation of
                           the Pauma Suit (15 U.S.C. § 1051 et seq.)]
16
      [By Williams & Cochrane and Against Robert Rosette; Rosette & Associates, PC;
17
                                  and Rosette, LLP]
18          272. Williams & Cochrane incorporates by reference the preceding general allega-
19   tions as if set forth in full.
20          273. The Lanham Act provides in relevant part that:
21          (1) Any person who, on or in connection with any goods or services, or any
22          container for goods, uses in commerce any… false or misleading description
            of fact, or false or misleading representation of fact, which –
23
            […]
24
            (B) in commercial advertising or promotion, misrepresents the nature,
25          characteristics, qualities, or geographic origin of his or another person’s
            goods, services, or commercial activities, shall be liable in a civil action by
26
            any person who believes that he or she is likely to be damaged by such act.
27
     15 U.S.C. § 1125(a). Thus, a claim for false advertising under the Lanham Act requires a
28
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                                      FIRST AMENDED COMPLAINT
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 1   plaintiff to show five things akin to: “(1) a false statement of fact by the defendant in a
 2   commercial advertisement about its own or another’s product; (2) the statement actually
 3   deceived or has the tendency to deceive a substantial segment of its audience; (3) the
 4   deception is material, in that it is likely to influence the purchasing decision; (4) the
 5   defendant caused its false statement to enter interstate commerce; and (5) the plaintiff has
 6   been or is likely to be injured as a result of the false statement, either by direct diversion
 7   of sales from itself to defendant or by a lessening of the goodwill associated with its
 8   products.” Skydive Ariz., Inc. v. Quattrocchi, 673 F.3d 1105, 1110 (9th Cir. 2012).
 9         274. Robert Rosette has a literally false representation of fact on the website for his
10   firm Rosette, LLP (of which Rosette & Associates, PC is a general partner), which
11   advertises to the general public and all potential clients in the Indian law field that “Mr.
12   Rosette… successfully litigated a case saving the Pauma Band of Luiseno Mission
13   Indians over $100 Million in Compact payments allegedly owed to the State of California
14   against then Governor Schwarzenegger.” This statement is unequivocally false, though,
15   given that the attorneys for Williams & Cochrane (i.e., Cheryl Williams and Kevin
16   Cochrane) were counsel of record in that matter from June 2010 till the conclusion of the
17   case in September 2016, and responsible for upholding the preliminary injunction,
18   rescinding the tribe’s 2004 Amendment on the basis of a claim they added to the
19   complaint in September 2011, and obtaining $36.3 million as restitution for the excess
20   payments the tribe made to the State of California under its amendment. In fact,
21   according to his own deposition testimony, Robert Rosette admits that he only had the
22   case for forty-five days, during which time he filed one substantive brief that resulted in
23   the Ninth Circuit overturning the preliminary injunction Cheryl Williams and Kevin
24   Cochrane had obtained the tribe, thus leaving the tribe with no interim or final remedies
25   as a result of his short-lived representation in the case. Not only that, but Robert Rosette’s
26   deposition testimony also reveals that Mr. Rosette did not even know what was
27   happening in the Pauma case as of October 2010 – a mere four months after his
28   termination, eleven months before Williams & Cochrane added the claim to the
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                             FIRST AMENDED COMPLAINT
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 1   complaint on which Pauma would ultimately prevail, and almost six years before the case
 2   would finally conclude.
 3          275. This website advertisement by Robert Rosette (and assuredly other similar
 4   statements transmitted via e-mail or the regular mail) about his involvement in the Pauma
 5   litigation appears to have actually deceived Quechan President Keeny Escalanti and
 6   putative Councilmember Willie White, as they concocted a scheme to have Mr. Rosette
 7   (i.e., the one other attorney who was supposedly responsible for litigating the case on
 8   which their dispute was, in part, based) replace Williams & Cochrane right on the cusp of
 9   the negotiations concluding. Moreover, this advertisement would also deceive most other
10   tribal leaders not affiliated with Pauma in the normal course because the attorney
11   information for the Pauma suit is largely hidden behind the paywalls for the federal
12   government-run PACER pay site, and Robert Rosette is capable of producing early court
13   filings to substantiate his supposed claim given that his firm represented Pauma during an
14   approximately nine month period at the outset of the case, from the filing of the com-
15   plaint on September 4, 2009 to approximately June 13, 2010.
16          276. Robert Rosette also caused this literally false statement of fact to enter
17   interstate commerce by putting it on his website and keeping it there for three years now.
18          277. The abovenamed Rosette defendants’ violation of the Lanham Act has caused
19   Williams & Cochrane to suffer contract damages and injuries totaling at least
20   $6,209,916.10, which the district judge or a jury can resolve in accordance with the
21   Prayer for Relief, infra.
22                                    FIFTH CLAIM FOR RELIEF
23   [False Advertising in Violation of the Lanham Act – Robert Rosette’s Negotiation of
                       the Quechan Compact (15 U.S.C. § 1051 et seq.)]
24
      [By Williams & Cochrane and Against Robert Rosette; Rosette & Associates, PC;
25
                                  and Rosette, LLP]
26          278. Williams & Cochrane incorporates by reference the preceding general allega-
27   tions as if set forth in full.
28
                                               106     Case No.: 17-CV-01436 GPC MDD
                                      FIRST AMENDED COMPLAINT
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 1         279. The Lanham Act provides in relevant part that:
 2         (1) Any person who, on or in connection with any goods or services, or any
           container for goods, uses in commerce any… false or misleading description
 3
           of fact, or false or misleading representation of fact, which –
 4
           […]
 5         (B) in commercial advertising or promotion, misrepresents the nature,
 6         characteristics, qualities, or geographic origin of his or another person’s
           goods, services, or commercial activities, shall be liable in a civil action by
 7         any person who believes that he or she is likely to be damaged by such act.
 8   15 U.S.C. § 1125(a). Thus, a claim for false advertising under the Lanham Act requires a
 9   plaintiff to show five things akin to: “(1) a false statement of fact by the defendant in a
10   commercial advertisement about its own or another’s product; (2) the statement actually
11   deceived or has the tendency to deceive a substantial segment of its audience; (3) the
12   deception is material, in that it is likely to influence the purchasing decision; (4) the
13   defendant caused its false statement to enter interstate commerce; and (5) the plaintiff has
14   been or is likely to be injured as a result of the false statement, either by direct diversion
15   of sales from itself to defendant or by a lessening of the goodwill associated with its
16   products.” Skydive Ariz., Inc. 673 F.3d at 1110. When looking at the commerciality of the
17   statement in the first prong of the test, “[t]he form of the statement is not dispositive, and
18   courts find statements to be commercial speech even when promulgated outside the tradi-
19   tional advertising campaign.” NTP Marble, Inc. v. AAA Hellenie Marble, Inc., 2012 U.S.
20   Dist. LEXIS 24671, *15-*16 (E.D. Pa. 2012) (quoting Accenture Global Servs. GMBH v.
21   Guidewire Software, Inc., 582 F. Supp. 2d 654, 667 (D. Del. 2008)). Given this, state-
22   ments in press releases can and often do serve as the basis for false advertising claims
23   under the Lanham Act. See, e.g., NTP Marble, Inc. v. AAA Hellenic Marble, Inc., 799 F.
24   Supp. 2d 446, 451 (E.D. Pa. 2011); Mimedx Group, Inc. v. Osiris Therapeutics, Inc.,
25   2017 U.S. Dist. LEXIS 114105, *12-*18 (S.D.N.Y. 2017); Taser Int’l, Inc. v. Stinger Sys.,
26   2012 U.S. Dist. LEXIS 108737, *31-*34 (D. Nev. 2012).
27         280. Robert Rosette has a misleading if not a literally false representation of fact
28
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                                 FIRST AMENDED COMPLAINT
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 1   on the website for his firm Rosette, LLP (of which Rosette & Associates, PC is a general
 2   partner), which advertises to the general public and all potential clients in the Indian law
 3   field through a so-called “press release” that Mr. Rosette is responsible for negotiating
 4   the compact between the State of California and Quechan. This website-based press re-
 5   lease that came out at or around the time that the notice of the execution of the Quechan
 6   compact became public similarly announces the compact, touts the benefits of the agree-
 7   ment (like “reduc[ing] the Tribe’s revenue sharing obligations by approximately four
 8   million dollars… per year, and simultaneously increase[ing] the Tribe’s ability to gener-
 9   ate revenues though its gaming operations by providing the right to operate additional
10   gaming facilities and gaming devices), and then ends by suggesting those wanting more
11   information contact “Robert Rosette” at “(480) 889-8990” or “rosette@rosettelaw.com.”
12   This final statement implies that Robert Rosette is responsible for negotiating the Que-
13   chan compact, which is both literally false and misleading.
14         281. The inclusion of Robert Rosette’s name and professional contact information
15   at the end of the website-based press release would tend to deceive a substantial segment
16   of the audience into believing that the Quechan compact is his work product.
17         282. This false statement of fact is also material in that it is likely to persuade a
18   tribe in need of compact assistance to seek out the services of Robert Rosette, the indi-
19   vidual identified on the press release, rather than the professionals actually responsible
20   for creating the compact and all the attendant benefits that are touted in the press release.
21         283. Robert Rosette also caused this literally misleading statement of fact to enter
22   interstate commerce by generally disseminating the press release through public relations
23   firms and putting it on his website at or around the time that notice of the execution of the
24   Quechan compact became public, and keeping it there from that point until, at least, the
25   filing date of this First Amended Complaint.
26         284. The abovenamed Rosette defendants’ violation of the Lanham Act has caused
27   Williams & Cochrane to suffer damages and injuries in an amount to be proven at trial,
28   which the district judge or a jury can resolve in accordance with the Prayer for Relief,
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                                FIRST AMENDED COMPLAINT
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 1   infra.
 2                                    SIXTH CLAIM FOR RELIEF
 3      [Conducting or Participating in an Enterprise’s Affairs through Racketeering
       Activity in Violation of the Racketeer Influenced and Corrupt Organizations Act
 4
                                    (18 U.S.C. § 1961 et seq.)]
 5
     [By Williams & Cochrane and Against Robert Rosette; Rick Armstrong; Rosette &
 6                Associates, PC; Rosette, LLP; and Does 1 through 100]
 7            285. Williams & Cochrane incorporates by reference the preceding general allega-
 8   tions as if set forth in full.
 9            286. A prima facie RICO case requires that the plaintiff show “(1) conduct (2) of
10   an enterprise (3) through a pattern (4) of racketeering activity.” Avalos v. Baca, 596 F.3d
11   583, 592 (9th Cir. 2010) (citing Miller v. Yokohama Tire Corp., 358 F.3d 616, 620 (9th
12   Cir. 2004)). A “pattern” of racketeering activity requires proof of “at least two [predicate]
13   acts of racketeering activity” within ten years of each other. See 18 U.S.C. § 1961(5). A
14   predicate act of racketeering activity is defined as any act indictable under specified
15   provisions of Title 18 of the United States Code, “and includes the predicate acts of mail
16   [and] wire fraud.” Cochran Firm P.C. v. McMurray, 2014 U.S. Dist. LEXIS 194663, *17
17   (C.D. Cal. 2014) (quoting Turner v. Cook, 362 F.3d 1219, 1229 (9th Cir. 2004)). To
18   allege a violation of mail or wire fraud under 18 U.S.C. §§ 1341 or 1343, a plaintiff must
19   show “(1) there was a scheme to defraud; (2) the defendants used the mail (or wire, radio,
20   or television), in furtherance of the scheme; and (3) the defendants acted with the specific
21   intent to deceive or defraud.” Cochran Firm P.C., 2014 U.S. Dist. LEXIS 194663 at *18-
22   *19 (citing Yokohama Tire Corp., 358 F.3d at 620). In passing RICO, Congress mandated
23   that “the provisions of this title shall be liberally construed to effectuate its remedial
24   purposes.” See Organized Crime Control Act of 1970, Pub. L. No. 91-452, § 904(a), 84
25   Stat. 947 (1970).
26            287. The abovenamed Rosette defendants are individuals and business entities that
27   are associated in fact and have either participated in or conducted an enterprise that has
28   sought to interfere with the contracts of Williams & Cochrane for its own financial gain
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                                      FIRST AMENDED COMPLAINT
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 1   using a pattern of fraudulent conduct done through the mail and the wires.
 2         288. As to this, each of the abovenamed Rosette defendants has engaged in at least
 3   two acts of mail or wire fraud during the last ten-year period, which are detailed in the
 4   General Allegations, supra, and include amongst other things:
 5         (a) using the mail and/or wires on at least one occasion on or around June 23, 2010
 6            to interfere with Williams & Cochrane’s contract with Pauma by suggesting the
 7            tribe’s then-Chairman demand that the firm write a legal opinion freeing up the
 8            monies saved by the injunction in Pauma’s suit against the State of California
 9            for Mr. Rosette and other persons’ benefit;
10         (b) using the mail and/or wires on at least one occasion on or before August 6,
11            2010 to interfere with Williams & Cochrane’s contract with Pauma by
12            instructing the tribe’s then-Chairman to not pay any of the firm’s invoices and
13            to communicate to the firm that he would “ruin [its] reputation in Indian
14            County” if it simply did not walk away from the contract;
15         (c) using the mail and/or wires on at least one occasion between August 12, 2010
16            and August 15, 2010 to interfere with Williams & Cochrane’s contract with La
17            Pena Law Corporation by telling Michelle La Pena that the attorneys for the
18            firm had “stole” his clients and would invariably “steal” her clients as well;
19         (d) using the mail and/or wires on at least four occasions between July 26, 2011
20            and July 28, 2011 to interfere with Williams & Cochrane’s contract with Pauma
21            by trying to covertly settle the tribe’s litigation with the State of California
22            through the State’s negotiator Jacob Appelsmith;
23         (e) using the mail and/or wires on at least two occasions between August 23, 2011
24            and September 12, 2011 in connection with the above to pressure various
25            Pauma Tribal Councilmembers into signing pre-prepared letters absolving
26            Robert Rosette of any wrongdoing in trying to settle the tribe’s compact
27            litigation with the State of California;
28
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                                FIRST AMENDED COMPLAINT
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 1        (f) using the mail and/or wires at least once on or about November 17, 2016 to
 2           interfere with Williams & Cochrane’s contract with Pauma by telling the tribe’s
 3           former Chairman Christobal Devers to relay a message to the current Tribal
 4           Council that he could re-do their compact and would like to discuss the matter
 5           with them free of charge;
 6        (g) using the mail and/or wires at least once during the spring of 2017 to interfere
 7           with Williams & Cochrane’s contract with Quechan by telling the tribe and/or
 8           certain putative Quechan Councilmembers that Robert Rosette was responsible
 9           for litigating the Pauma suit upon which the tribe’s dispute with the State of
10           California was in part based;
11        (h) using the mail and/or wires at least once during the spring of 2017 to interfere
12           with Williams & Cochrane’s contract with Quechan by telling the tribe and/or
13           certain putative Quechan Councilmembers that the firm had failed to “produce
14           better-than-boilerplate terms in your negotiations so far with the State;”
15        (i) Using the mail and/or wires at least once during the spring of 2017 to interfere
16           with Williams & Cochrane’s contract with Quechan by telling the tribe and/or
17           certain putative Quechan Councilmembers to withhold payment of the monthly
18           flat fee from the firm;
19        (j) Using the mail and/or wires at least once during the spring of 2017 to interfere
20           with Williams & Cochrane’s contract with Quechan by telling the tribe and/or
21           certain putative Quechan Councilmembers to scheme to fire the firm at the
22           conclusion of the negotiations, right before the tribe signed the resultant com-
23           pact;
24        (k) Using the mail and/or wires at least once before June 26, 2017 to interfere with
25           Williams & Cochrane’s contract with Quechan by preparing and transmitting
26           the June 26, 2017 termination letter signed by putative Quechan President
27           Keeny Escalanti that informed the firm that the tribe would not comply with the
28           Attorney-Client Fee Agreement and tried to dissuade the firm from taking legal
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 1                action to protect its rights by threatening, “We strongly advise you against
 2                pressing your luck further out of concern for the reputation of your firm in
 3                Indian Country and in the State of California;”
 4         (l) Using the mail and/or wires at least once on or about June 27, 2017 in
 5                connection with the above to demand that Williams & Cochrane turn over work
 6                product of incalculable value so the Rosette defendants could use the firm’s
 7                intellectual property for their own benefit to finish up the Quechan work they
 8                had fraudulently taken away;
 9         (m) Using the mail and/or wires at least once on or about June 30, 2017 to interfere
10                with Williams & Cochrane’s contract with Quechan by preparing and
11                transmitting the June 30, 2017 “demand for cease and desist” that again
12                threatened legal action against the firm, and indicated that such action would be
13                taken if the firm did not turn over its incalculably value work product to Robert
14                Rosette and his firm.
15         289. The aforementioned predicate acts and others evidence a seven-year scheme
16   to defraud Williams & Cochrane – while also trying to defraud the tribes the firm repre-
17   sents – that those involved with Rosette, LLP had the specific intent to carry out, and did
18   carry out.
19         290. The abovenamed Rosette defendants’ violations of the Racketeer Influenced
20   and Corrupt Organizations Act have caused Williams & Cochrane to suffer contract
21   damages and injuries totaling at least $6,209,916.10, which the district judge or a jury can
22   resolve in accordance with the Prayer for Relief, infra.
23                                SEVENTH CLAIM FOR RELIEF
24        [Conspiring to Conduct or Participate in an Enterprise’s Affairs through
         Racketeering Activity in Violation of the Racketeer Influenced and Corrupt
25
                        Organizations Act (18 U.S.C. § 1961 et seq.)]
26
     [By Williams & Cochrane and Against Robert Rosette; Rick Armstrong; Rosette &
27    Associates, PC; Rosette, LLP; Keeny Escalanti, Sr.; Mark William White II; and
                                    Does 1 through 100]
28
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 1          291. Williams & Cochrane incorporates by reference the preceding general allega-
 2   tions as if set forth in full.
 3          292. A RICO conspiracy claim “is governed by traditional concepts of conspiracy
 4   law, and ‘should not require anything beyond that required for a conspiracy to violate any
 5   other crimes.’” NOW v. Scheidler, 897 F. Supp. 1047, 1075 (N.D. Ill. 1995) (quoting
 6   United States v. Neapolitan, 791 F.2d 489, 497 (7th Cir. 1986)). Thus, the target of the
 7   conspiracy provision in the statute “is the agreement to violate RICO’s substantive pro-
 8   visions, not the actual violations themselves.” Id. (quoting Schiffels v. Kemper Fin.
 9   Servs., Inc., 978 F.2d 344, 348 (7th Cir. 1992)). In other words, a conspiracy to violate
10   RICO “may be established by proof of an agreement to commit a substantive violation of
11   RICO.” Rockshore Invs., LLC v. 1 World Found. Ltd., 2016 U.S. Dist. LEXIS 46828, *7
12   (C.D. Cal. 2016) (quoting Oki Semiconductors Co. v. Wells Fargo Bank, 298 F.3d 768,
13   774-75 (9th Cir. 2002)). “It is the mere agreement to violate RICO that [the statute] for-
14   bids; it is not necessary to prove any substantive RICO violations ever occurred as a re-
15   sult of the conspiracy,” Oki Semiconductors, 298 F.3d at 774-75 (citing Aetna Cas. Sur.
16   Co. v. P&B Autobody, 43 F.3d 1546, 1562 (1st Cir. 1994)). The illegal agreement need
17   not be express “so long as its existence can be inferred from the words, actions, or inter-
18   dependence of activities and persons involved.” Id. at 775. Proving a RICO conspiracy
19   means that “[a]ll conspirators are liable for the acts of their co-conspirators.” Id.
20          293. The abovenamed Rosette and Quechan-related defendants are individuals and
21   business entities that are associated in fact and have either conspired to participate in or
22   conduct an enterprise aimed at creating a sham online payday lending business at the
23   tribe in an environment that will avoid detection by the tribe at large.
24          294. As to this, each of the abovenamed defendants has agreed to engage in at least
25   two acts of mail or wire fraud during the last ten-year period, which are detailed in the
26   General Allegations, supra, and include amongst other things:
27          (a) using the mail and/or wires at least once during December 2017 in connection
28              with Willie White communicating to the Quechan General Council that he had
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 1           an attorney “friend” who could get the tribe involved in the online payday len-
 2           ding industry if he were elected to office;
 3        (b) using the mail and/or wires at least once during the spring of 2017 in connect-
 4           ion with putative Quechan Councilmember Willie White meeting with Robert
 5           Rosette at one of the Arizona joint compact negotiation sessions to discuss the
 6           online payday lending scheme;
 7        (c) using the mail and/or wires at least once during the spring of 2017 in connect-
 8           ion with putative Quechan Councilmember Willie White and, this time, putative
 9           President Keeny Escalanti meeting with Robert Rosette to discuss the online
10           payday lending scheme;
11        (d) using the mail and/or wires at least once on or about June 27, 2017 to terminate
12           Williams & Cochrane from the California compact negotiations using the
13           pretense that the firm had “fail[ed] to produce better-than-boilerplate terms in
14           [the] negotiations” and had been “grossly overcompensated [while it] achieved
15           results the Tribe Could have obtained for itself by asking the State for a draft
16           compact;”
17        (e) using the mail and/or wires at least once sometimes after June 27, 2017 to ter-
18           minate Quechan’s longstanding general counsel, the Morisset law firm and hire
19           Robert Rosette and his firm for the position;
20        (f) using the mail and/or wires at least once sometime after June 27, 2017 to ar-
21           range to hide the contract and authorizing resolution for Robert Rosette and his
22           firm so the General Council of the tribe could not veto the agreement;
23        (g) using the mail and/or wires at least once during December 2017 and January
24           2018 to strategize how to keep Quechan’s putative President Keeny Escalanti
25           and putative Councilmember White in power after the General Council recalled
26           the individuals in the aftermath of the service of the complaint in this case;
27        (h) using the mail and/or wires at least once to discontinue per capita payments to
28           the general membership of the tribe upon the basis that California and Arizona
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 1              casinos operated by Quechan are not making a profit, when on information and
 2              belief, those monies and others are instead being used as seed money for a pay-
 3              day lending scheme; and
 4          (i) using the mail and/or wires to take additional actions over the course of the past
 5              year to set up an payday lending enterprise, covertly using, amongst others, the
 6              revenue sharing money Quechan has saved during that time that, on information
 7              and belief, has neither gone to the general membership in the form of per capita
 8              payments nor even been publicly accounted for.
 9          295. The aforementioned predicate acts and others evidence a year-long conspiracy
10   by the named defendants to take the necessary actions to set up a sham payday lending
11   business that would personally enrich those in power rather than the tribe generally;
12          296. The abovenamed Rosette and Quechan-related defendants’ conspiracy to vio-
13   late the Racketeer Influenced and Corrupt Organizations Act has caused Williams &
14   Cochrane to suffer contract damages and injuries totaling at least $6,209,916.10, which
15   the district judge or a jury can resolve in accordance with the Prayer for Relief, infra.
16                                    EIGHTH CLAIM FOR RELIEF
17                               [Negligence/Breach of Fiduciary Duty]
18     [By Named Quechan General Councilmembers on Behalf of Themselves and All
        Others Similarly Situated Against Robert Rosette; Rick Armstrong; Rosette &
19
                   Associates, PC; Rosette, LLP; and Does 1 through 100]
20          297. Williams & Cochrane incorporates by reference the preceding general allega-
21   tions as if set forth in full.
22          298. Pursuant to Federal Rule of Civil Procedure 23, the named Quechan General
23   Councilmembers bring this claim on behalf of themselves and all those similarly situated,
24   who together form a class that is initially defined as follows:
25          Malpractice Class: All persons who are enrolled members of the Quechan
26          Tribe of the Fort Yuma Indian Reservation and who neither served on the
            Tribal Council during June 2017 nor as a director or member of any actual
27          or potential online payday lending business from March 2017 onward.
28
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 1         299. Sufficient justification exists for allowing the Quechan General Councilmem-
 2   bers to proceed as a class, including the following showings under the Federal Rules of
 3   Civil Procedure:
 4         (a) Numerosity (FED. R. CIV. P. 23(a)(1)). On information and belief, the Que-
 5            chan tribe is comprised of more than 3,200 members, which makes the class
 6            members so numerous that joinder is impractical;
 7         (b) Predominance of Common Questions of Law and Fact (FED. R. CIV. P.
 8            23(a)(2)). The entire fact pattern at issue involves one common set of actions
 9            that affected all the members of the Quechan General Council in the same man-
10            ner, which means that common questions of fact and law should not only pre-
11            dominate but control;
12         (c) Typicality (FED. R. CIV. P. 23(a)(3)). The claims of the named Quechan Gen-
13            eral Councilmembers are typical of those of the entire class since each was a
14            member of the entity that Rosette, without authority, represented;
15         (d) Adequacy of Representation (FED. R. CIV. P. 23(a)(4)). Williams & Cochrane
16            is not just adequate, but the best representation for the proposed class since it
17            can effectively identify the ancillary concessions that were altered or removed
18            from the draft compact following its termination from the representation. With,
19            substantial experience in the niche field of compact negotiation and litigation,
20            Williams & Cochrane is also able to effective argue whether Robert Rosette
21            met the appropriate standard of care in finishing the negotiations, and to also
22            deal with side issues that may come up during discovery of these matters. Plus,
23            in addition to being competent to handle the representation, Williams & Coch-
24            rane intends to prosecute the action vigorously and has interests that align with,
25            and are not antagonistic to the class. To that end, Williams & Cochrane is even
26            amenable to structuring the case in such a manner to protect the class’ interests
27            if any actual or perceived conflict exists; and
28         (e) Superiority (FED. R. CIV. P. 23(b)(3)). A class action is the superior method
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 1            for handling claims of this nature for a multitude of reasons, including the sheer
 2            number of members in the tribe, the cost and difficulty of pursuing individual
 3            actions, and the fact that the Tribal Council is unable to press these issues on
 4            the General Council’s behalf since, at a minimum, the President originally acted
 5            in an ultra vires manner, has an alleged financial conflict of interest, and cur-
 6            rently lacks the authority to act since he was recalled in January 2018 but has
 7            since then refused to step down. Further, many class members may be hesitant
 8            to serve as named plaintiffs for fear that Tribal Councilmembers acting in con-
 9            cert with the Rosette defendants may retaliate against them in connection with
10            the provision of tribal government – such as housing, employment, health care,
11            and education– or even the enjoyment of tribal membership status itself.
12         300. Under California law, an attorney has a duty to “protect his [or her] client in
13   every possible way.” FDIC v. O’Melveny & Myers, 969 F.2d 744, 748 (9th Cir. 1992)
14   (citing, e.g., Day v. Rosenthal, 170 Cal. App. 3d 1125, 1143 (1985)). The breach of this
15   fiduciary duty amounts to negligence, and “is not limited to [an attorney’s] failure to use
16   the skill required of lawyers. Rather is a wider obligation to exercise due care to protect a
17   client’s best interests in all ethical ways and in all circumstances.” T & R Foods, Inc. v.
18   Rose, 47 Cal. App. 4th Supp. 1, 8 (Cal. Super. 1996). However, from a basic care per-
19   spective, an attorney can only “fulfil this duty by performing the legal services for which
20   [he] ha[s] been engaged with ‘such skill, prudence, and diligence as lawyers or ordinary
21   skill and capacity commonly possess.’” FDIC, 969 F.2d at 748 (quoting Lucas v. Hamm,
22   56 Cal. 2d 583, 591 (1961)). Despite this, an attorney who “specializes within the pro-
23   fession… must meet the standards of knowledge and skill of such specialists.” Id. (quot-
24   ing Neel v. Magana, Olney, Levy, Cathcart & Gelfand, 6 Cal. 3d 176, 188 (1971)).
25         301. By his own admission, Robert Rosette is an attorney with extensive experi-
26   ence in Indian law – “having represented over three dozen tribes in connection with vari-
27   ious legal disputes at the state and federal level” – and the compact negotiation sub-niche
28   in particular. See, e.g., Dkt. No. 31-2, ¶¶ 5, 7. This First Amended Complaint discusses
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 1   Robert Rosette’s experience negotiating compacts in California with Governor Brown via
 2   the Upper Lake Tribe (see ¶¶ 140-142, supra), and the declaration he filed in support of
 3   his first responsive motion in this case makes no qualms about his negotiation experience
 4   in California and in Arizona, the latter through a coalition of tribes that includes the
 5   Tonto Apache Tribe. See Dkt. No. 31-2, ¶¶ 7-9, 24. Most casual observers, and most cer-
 6   tainly Robert Rosette himself, would consider Mr. Rosette to be an expert in representing
 7   tribes in gaming issues under IGRA.
 8         302. And yet, despite all of these experiences, Robert Rosette has painted a picture
 9   in his previously-filed declaration wherein he “was not familiar with the Quechan Tribe’s
10   legal issues in California, including Quechan’s compact negotiations with California or
11   California’s threatened claims against Quechan” on June 16, 2017, a mere two weeks be-
12   fore the negotiations were set to conclude and just nine days before Mr. Rosette decided
13   to interfere with them. See Dkt. No. 31-2, ¶ 20. Yet, interfere he did, and the entire tenor
14   of the negotiations changed. Suddenly, the issues unbeknownst to Robert Rosette came to
15   life, as the State hoped to back away from the deal it had agreed to, and may have if Wil-
16   liams & Cochrane did not turn over the latest draft compact so the State would have to
17   adhere to the central terms of its deal. Nevertheless, compact negotiations that were days
18   away from concluding ended up reopening, with the State demanding that Quechan cure
19   the revenue sharing payments it declined to pay over the last year. Thus, rather than hav-
20   ing a concluded compact through Williams & Cochrane, Quechan instead ended up with
21   a $2,000,000 liability, the eleventh-hour loss of a slew of ancillary concessions under the
22   compact (i.e., the deferral on the State’s minimum wage law, the reduced fee structure on
23   the additional machines, etc.), and the costs and liabilities that will accompany defending
24   a largescale federal lawsuit. These are many millions of dollars in loses that excuses like
25   “[I take a] practical ‘big picture’ businesslike view [in compact negotiations]” cannot
26   justify. See Dkt. No. 31-2, ¶ 23.
27         303. The abovenamed Rosette defendants’ negligence and breach of fiduciary duty
28   has caused the Quechan General Council to suffer damages and injuries in an amount to
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 1   be proven at trial, which the district judge or a jury can resolve in accordance with the
 2   Prayer for Relief, infra.
 3                                   PRAYER FOR RELIEF
 4         WHEREFORE, Williams & Cochrane prays as follows:
 5         1. That the Court, via the district judge or a jury as the case may be, award contract
 6   damages against the Quechan Tribe of the Fort Yuma Indian Reservation in an amount of
 7   at least $6,209,916.10;
 8         2. That the Court award any other non-monetary remedies (whether equitable or
 9   legal in nature) against Quechan on the contract-based Claims numbered 1 through 3 in
10   order to ensure that Williams & Cochrane is made whole by the tribe’s breach of the
11   Attorney-Client Fee Agreement;
12         3. That the Court award treble damages under the Lanham Act in an amount of at
13   least $18,629,748.30 against the indicated Rosette defendants for the false advertise-
14   ment(s) about the Pauma lawsuit, as well as require the disgorgement of any of the direct
15   or indirect profits that they may have obtained as a result of such advertisement(s);
16         4. That the Court award treble damages under the Lanham Act in an amount to be
17   proven at trial against the indicated Rosette defendants for the false advertisement(s) a-
18   bout the Quechan compact, as well as require the disgorgement of any of the direct or in-
19   direct profits that they may have been obtained as a result of such advertisement(s);
20         5. That the Court award injunctive relief under the Lanham Act against the indica-
21   ted Rosette defendants to ensure that Robert Rosette and his firm no longer advertise in
22   any medium that they are responsible for litigating the Pauma suit or negotiating the
23   Quechan compact;
24         6. That the Court award treble damages under RICO in an amount of at least
25   $18,629,748.30 against the indicated Rosette and putative-Quechan-Councilmember
26   defendants;
27         7. That the Court award pre- and post-judgment interest on any monetary awards at
28   the maximum rate or rates permitted under State law;
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 1         8. That the Court award reasonable attorney fees under RICO, the Lanham Act, or
 2   as otherwise allowed by law or equity;
 3         9. That the Court award Williams & Cochrane its costs of suit under RICO, the
 4   Lanham Act, or as otherwise allowed by law or equity; and
 5         10. That the Court award such other and further legal or equitable relief as it deems
 6   appropriate, as justice requires, or as the law allows.
 7         WHEREFORE, the named Quechan General Councilmembers pray as follows:
 8         11. That the Court certify their claim(s) to proceed as a class action;
 9         12. That the Court, via the district judge or a jury as the case may be, award dama-
10   ges in an amount to be proven at trial against the indicated Rosette defendants for negli-
11   gently handling the conclusion of Quechan’s California compact negotiations;
12         13. That the Court award pre- and post-judgment interest on any monetary awards
13   at the maximum rate or rates permitted under State law;
14         14. That the Court award reasonable attorney fees as allowed by law or equity;
15         15. That the Court award the named Quechan General Councilmembers, as repre-
16   sentatives of a class or individually as the case may be, costs of suit as allowed by law or
17   equity; and
18         17. That the Court award such other and further legal or equitable relief as it deems
19   appropriate, as justice requires, or as the law allows.
20

21         RESPECTFULLY SUBMITTED this 2nd day of March, 2018
22

23
                                                    WILLIAMS & COCHRANE, LLP

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